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Counsel for the Chapter 11 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

  In re:                                                          Chapter 11

  FIRESTAR DIAMOND, INC., et al.                                  No. 18-10509 (SHL)

                  Debtors.                                        (Jointly Administered)

  RICHARD LEVIN, Chapter 11 Trustee of FIRESTAR DIAMOND,
  INC., FANTASY, INC., and OLD AJ, INC. f/k/a A. JAFFE, INC.,

                         Plaintiff,
           v.
                                                                  Adv. Proc. No. 20-1054
  AMI JAVERI (A/K/A AMI MODI); PURVI MEHTA (A/K/A
  PURVI MODI); NEHAL MODI; NEESHAL MODI; CENTRAL
  PARK REAL ESTATE, LLC; CENTRAL PARK SOUTH 50
  PROPERTIES, LLC; TRIDENT TRUST COMPANY (SOUTH
  DAKOTA) INC., solely as Trustee of the ITHACA TRUST; TWIN
  FIELDS INVESTMENTS LTD.; AURAGEM COMPANY LTD.;
  BRILLIANT DIAMONDS LTD.; ETERNAL DIAMONDS
  CORPORATION LTD.; FANCY CREATIONS COMPANY LTD.;
  HAMILTON PRECIOUS TRADERS LTD.; SINO TRADERS LTD.;
  SUNSHINE GEMS LTD.; UNIQUE DIAMOND AND JEWELLERY
  FZC; WORLD DIAMOND DISTRIBUTION FZE; VISTA JEWELRY
  FZE; EMPIRE GEMS FZE; UNIVERSAL FINE JEWELRY FZE;
  DIAGEMS FZC; TRI COLOR GEMS FZE; PACIFIC DIAMONDS
  FZE; HIMALAYAN TRADERS FZE; UNITY TRADING FZE; FINE
  CLASSIC FZE; DG BROTHERS FZE,

                  Defendants.
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       AFFIRMATION OF ANGELA M. ALLEN IN SUPPORT OF REQUEST FOR A
              CERTIFICATE OF DEFAULT AGAINST DEFENDANTS
           TWIN FIELDS INVESTMENTS LTD. AND SINO TRADERS, LTD.

Angela M. Allen affirms, under penalty of perjury, the following:

       1.      I am an attorney at law licensed by the State of Illinois and admitted to practice

before this Court in connection with the above-captioned case and adversary proceeding. I am a

partner in the Chicago office of Jenner & Block LLP, 353 N. Clark Street, Chicago, Illinois, 60654

and am counsel to plaintiff Richard Levin, as Chapter 11 Trustee of Firestar Diamond, Inc., et al.

(the “Trustee” or “Plaintiff”).

       2.      I submit this affirmation in support of the Plaintiff’s request for the issuance of a

certificate of default from the Clerk (the “Clerk”) of the U.S. Bankruptcy Court for the Southern

District of New York (the “Bankruptcy Court”), in accordance with Rule 55(a) of the Federal

Rules of Civil Procedure (the “Federal Rules”), Rule 7055 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rule 7055-1 of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”), against defendants Auragem

Company Ltd. (“Auragem”), Brilliant Diamonds Ltd. (“Brilliant”), Eternal Diamonds

Corporation Ltd. (“Eternal”), Sino Traders, Ltd. (“Sino”), Sunshine Gems Ltd. (“Sunshine”),

Twin Fields Investments Ltd. (“Twin Fields,” and together with Auragem, Brilliant, Eternal, Sino,

and Sunshine, the “Default Judgment Parties”) in the above-captioned adversary proceeding.

       3.      On February 25, 2020, the Trustee commenced this adversary proceeding by filing

a complaint (the “Complaint”) against the above-captioned defendants. (Adv. Dkt. 1.) The

Complaint seeks to recover damages suffered as a result of the Modi family’s nearly decade-long

racketeering conspiracy and to avoid numerous fraudulent transfers of the Debtors’ assets made

to the Defendants, and in his capacity as judgment creditor of certain non-debtor U.S. affiliates

for which the Trustee holds a joint and several judgment (the “U.S. Affiliates”).
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       4.      On April 10, 2020, the Court issued an order setting the Defendants’ deadline to

respond to the Complaint to 60 days after the Trustee effects service of the Complaint and

Summons (“Response Deadline Order”). (Adv. Dkt. 8.)

       5.      On April 22, 2020, the Clerk issued a Second Summons and Notice of Pretrial

Conference in an Adversary Proceedings (the “Summons”). (Adv. Dkt. 9.)

       6.      On April 23, 2020, the Trustee caused service of the Complaint and Summons to

be effected on Twin Fields, to the attention of an officer or general/managing agent, via first-class

mail, postage pre-paid. (Adv. Dkt. 10.)

       7.      Service on Twin Fields was effective under Rule 7004(b)(3) of the Federal Rules of

Bankruptcy Procedure, which authorizes first-class mail service “[u]pon a domestic or foreign

corporation or upon a partnership or other unincorporated association, by mailing a copy of the

summons and complaint to the attention of an officer, a managing or general agent, or to any

other agent authorized by appointment or by law to receive service of process and, if the agent is

one authorized by statute to receive service and the statute so requires, by also mailing a copy to

the defendant.” Fed. R. Bankr. P. 7004(b)(3).

       8.      On May 12, 2020, the Trustee caused service of the Complaint, Summons, and

Response Deadline Order to be effected on Auragem, Brilliant, Eternal, Sino, and Sunshine in

Hong Kong via hand delivery by a Hong Kong judicial officer in accordance with Article 10(b) of

the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents (“Hague

Service Convention”). (Adv. Dkt. 12, 13, 14, 16, 17.).

       9.      Service on Auragem, Brilliant, Eternal, Sino, and Sunshine was effective under

Rule 4(f)(1) of the Federal Rules of Civil Procedure, made applicable in this adversary proceeding

under Rule 7004(a)(1) of the Federal Rules of Bankruptcy Procedure. Rule 4(f)(1) authorizes

service “by any internationally agreed means of service that is reasonably calculated to give

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notice, such as those authorized by the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents. “ Fed. R. Civ. P. 4(f)(1). Hong Kong is a signatory to the Hague Service

Convention.

         10.      True and correct copies of the Summons, Complaint, Response Deadline Order,

and related Affidavits of Service are attached as Exhibit A.

         11.      Twin Fields had until May 27, 2020 to answer or otherwise respond to the

Complaint.

         12.      Auragem, Brilliant, Eternal, Sino, and Sunshine had until July 13, 2020 to answer

or otherwise respond to the Complaint.

         13.      To date, no appearances have been filed on behalf of either Default Judgment

Party.

         14.      By letter dated May 20, 2020 (the “Auragem-Eternal Letter”), Auragem and

Eternal’s joint and several liquidators notified the Trustee that they had “no objection the

complaint” and would not attend the scheduled pretrial conference.

         15.      By letter dated May 26, 2020 (the “Brilliant Letter”), Brilliant’s joint and several

liquidators notified the Trustee that they were in receipt of the Complaint and would not defend

the action, make a submission in this adversary proceeding, or attend the scheduled pretrial

conference. A copy of the letter was filed on the docket by the Clerk of Court on June 10, 2020.

(Adv. Dkt. 30.)

         16.      By letter dated May 26, 2020 (the “Sunshine Letter,” and together with the

Auragem-Eternal Letter and the Brilliant Letter, the “Letters”), Sunshine’s joint and several

liquidators notified the Trustee that they were in receipt of the Complaint and would not defend

the action, make a submission in this adversary proceeding, or attend the scheduled pretrial




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conference. A copy of the letter was filed on the docket by the Clerk of Court on June 15, 2020.

(Adv. Dkt. 31.)

       17.        The Default Judgment Parties have failed to plead or otherwise defend this

adversary proceeding, and other than the above-referenced Letters, the Default Judgment Parties

have failed to respond to the Complaint.

       18.        A copy of the docket maintained by the Clerk evidencing these facts is attached as

Exhibit B.

       19.        There is no indication or reason to believe that any of the Default Judgment Parties

is a minor, mentally incompetent, or in the military service of the United States of America.

       20.        Federal Rule 55(a), made applicable here by Bankruptcy Rule 7055, provides that

a default judgment is warranted “[w]hen a party against whom a judgment for affirmative relief

is sought has failed to plead or otherwise defend as provided by these rules and that fact is made

to appear by affidavit or otherwise, the clerk shall enter the party’s default.” Fed. R. Civ. P. 55(a).

       21.        Local Bankruptcy Rule 7055-1 provides: “A party applying for a certificate of

default from the Clerk pursuant to Bankruptcy Rule 7055 shall submit an affidavit showing that

(i) the party against whom a default is sought is not an infant, in the military, or an incompetent

person, (ii) the party has failed to plead or otherwise defend the action, and (iii) the pleading to

which no response has been made was properly served.” Bankr. S.D.N.Y. Rule 7055-1.

       22.        Here, entry of certificates of default is warranted because Plaintiff has satisfied all

of the criteria of Rule 55(a)—the copies of the Summons, Complaint, Response Deadline Order,

and Certificates of Service, annexed as Exhibit A, establish that proper notice of this Adversary

Proceeding was provided to each of the Default Judgment Parties. Plaintiff has also satisfied all

requirements of Local Rule 7055-1 (see ¶¶ 6-9, 17, 19 above).




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         23.   Accordingly, Plaintiff requests that the Clerk enter a certificate of default, in

accordance with Bankruptcy Rule 7055 and Local Rule 7055-1, against each Default Judgment

Party.


Dated: December 21, 2020
       Chicago, Illinois
                                            By: /s/ Angela M. Allen

                                            Angela Allen (admitted pro hac vice)
                                            Jenner & Block LLP
                                            353 North Clark Street
                                            Chicago, Illinois 60654
                                            (312) 222-9350
                                            aallen@jenner.com

                                            Counsel for the Chapter 11 Trustee




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                                    Exhibit A
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                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Firestar Diamond, Inc. and Fantasy, Inc.                                                 Bankruptcy Case No.:
                                                                                                      18−10509−shl

Richard Levin Chapter 11 Trustee of Firestar Diamond, Inc., Fantasy, Inc., and
Old AJ, Inc. f/k/a A. Jaffe, Inc.
                                                   Plaintiff(s),
                                                                                           Adversary Proceeding No.
−against−                                                                                             20−01054−shl
Ami JaveriA/K/A Ami Modi
Purvi MehtaA/K/A Purvi Modi
Nehal Modi
Neeshal Modi
Central Park Real Estate, LLC
Central Park South 50 Properties, LLC
Trident Trust Company (South Dakota) Inc.solely as Trustee of the Ithaca Trust
Twin Fields Investments Ltd.
Auragem Company Ltd.
Brilliant Diamonds Ltd.
Eternal Diamonds Corporation Ltd.
Fancy Creations Company Ltd.
Hamilton Precious Traders Ltd.
Sino Traders Ltd.
Sunshine Gems Ltd.
Unique Diamond and Jewellery FZC
World Diamond Distribution FZE
Vista Jewelry FZE
Empire Gems FZE
Universal Fine Jewelry FZE
Diagems FZC
Tri Color Gems FZE
Pacific Diamonds FZE
Himalayan Traders FZE
Unity Trading FZE
Fine Classic FZE
DG Brothers FZE
                                                  Defendant(s)
                                     SECOND
                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                             Vincent Edward Lazar
                                                             Jenner & Block LLP
                                                             353 N. Clark Street
                                                             Chicago, IL 60654
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If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 701, One Bowling Green,
Southern District of New York                                    New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 6/23/20 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 4/22/20                                           Vito Genna

                                                         Clerk of the Court

                                                         By: /s/ Carmen Ortiz

                                                         Deputy Clerk
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                     Chapter 11

 FIRESTAR DIAMOND, INC., et al.             No. 18-10509 (SHL)

               Debtors.                     (Jointly Administered)


 RICHARD LEVIN, Chapter 11 Trustee of
 FIRESTAR DIAMOND, INC., FANTASY, INC.,     Adv. Proc. No. _________
 and OLD AJ, INC. f/k/a A. JAFFE, INC.,

                     Plaintiff,

          v.

 AMI JAVERI (A/K/A AMI MODI); PURVI
 MEHTA (A/K/A PURVI MODI); NEHAL
 MODI; NEESHAL MODI; CENTRAL PARK
 REAL ESTATE, LLC; CENTRAL PARK SOUTH
 50 PROPERTIES, LLC; TRIDENT TRUST
 COMPANY (SOUTH DAKOTA) INC., solely as
 Trustee of the ITHACA TRUST; TWIN FIELDS
 INVESTMENTS LTD.; AURAGEM COMPANY
 LTD.; BRILLIANT DIAMONDS LTD.; ETERNAL
 DIAMONDS CORPORATION LTD.; FANCY
 CREATIONS COMPANY LTD.; HAMILTON
 PRECIOUS TRADERS LTD.; SINO TRADERS
 LTD.; SUNSHINE GEMS LTD.; UNIQUE
 DIAMOND AND JEWELLERY FZC; WORLD
 DIAMOND DISTRIBUTION FZE; VISTA
 JEWELRY FZE; EMPIRE GEMS FZE;
 UNIVERSAL FINE JEWELRY FZE; DIAGEMS
 FZC; TRI COLOR GEMS FZE; PACIFIC
 DIAMONDS FZE; HIMALAYAN TRADERS
 FZE; UNITY TRADING FZE; FINE CLASSIC
 FZE; DG BROTHERS FZE,

               Defendants.


 COMPLAINT TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFERS AND
FOR DAMAGES FOR CONSPIRACY TO VIOLATE THE RACKETEERING INFLUENCED
                   CORRUPT ORGANIZATIONS ACT
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       Plaintiff Richard Levin, not individually but solely as chapter 11 trustee (“Trustee” or

“Plaintiff”) for Debtors Firestar Diamond, Inc., Fantasy, Inc., and Old AJ, Inc. f/k/a A. Jaffe, Inc.

(collectively, the “Debtors”) and as holder of a judgment jointly and severally against, and as

assignee of all claims of, Synergies Corporation (“Synergies”), Firestar Group, Inc. (“FGI”),

Firestar Diamond International, Inc. (“FDII”), Nirav Modi, Inc. (“NMI”), and AVD Trading, Inc.

(“AVD”) (collectively, the “U.S. Affiliates,” together with the Debtors, the “U.S. Entities”) for

his Complaint alleges as follows:

                                    NATURE OF THE ACTION

       1.      The Trustee brings this action, consisting of both estate claims and claims assigned

to the Trustee by U.S. affiliates, to recover damages suffered as a result of the Modi family’s nearly

decade-long racketeering conspiracy lasting from at least 2010 to mid-2018 (the “Relevant

Period”). The conspiracy resulted in the diversion of hundreds of millions of dollars of assets for

the benefit of the Modi family members and other conspirators, the collapse of the U.S. Entities,

and the resulting loss of the value of the U.S. Entities’ businesses. Each of the Defendants joined

and supported the Modi family’s racketeering conspiracy as it morphed from bank fraud and

money laundering to obstruction of justice and looting.

       2.      Nirav Modi’s sister, Purvi Mehta, agreed to act as the beneficial owner of

numerous shell companies Nirav Modi used to commit the largest bank fraud in Indian history.

Mehta then personally laundered over $100 million of the ill-gotten proceeds through the Modi

family’s web of shell companies, family trusts, family members, and otherwise-legitimate

businesses—destroying those businesses in the process.

       3.      Nirav Modi’s wife, Ami Javeri, agreed to serve as a partner of the three India-based

the companies in whose name Nirav Modi obtained nearly $3.5 billion in fraudulent loans

(defined below as the LOU Entities). Javeri then managed and facilitated the Modi family’s
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systematic efforts to launder and shield from creditors the proceeds of the fraud, including over

$30 million in real estate.

        4.      Nirav Modi’s brother, Nehal Modi, traveled around the world after exposure of

the fraud destroying evidence, tampering with witnesses, and securing assets from seizure by

government authorities and creditors. Early in these chapter 11 cases before the Trustee’s

appointment, Nehal Modi also enlisted several of his personal friends to loot the U.S. Affiliates’

more than $40 million in inventory and cash so that those funds could not be used to pay the U.S.

Affiliates’ substantial debts to the Debtors.

        5.      Nirav Modi’s other brother, Neeshal Modi, also served as a partner of the three

LOU Entities, as beneficial owner of numerous Shadow Entities and other shell companies, and

as one of the key day-to-day managers of the fraudulent import and export transactions

supporting the bank fraud. Neeshal Modi also personally selected and hired various “dummy”

directors, officers, and other personnel for the web of companies secretly owned by his family.

He also played his part in the family money laundering operation, including by holding a power

of attorney for his sister Purvi Mehta, in whose name the ill-gotten proceeds were held in bank

accounts across the globe.

        6.      The Ithaca Trust, Central Park South 50 Properties, LLC, and Central Park Real

Estate LLC, which together hold the Modi family’s two Manhattan apartments, are nothing more

than contrivances used by the Modi family to shield more than $30 million of their ill-gotten

wealth from creditors.

        7.      Twin Fields Investments Ltd. is the Delaware shell company through which the

Modi family secretly owned and operated Bailey Banks & Biddle retail stores as another front for

its money laundering operations. The Modi family laundered over $80 million through Twin

Fields during the Relevant Period.

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       8.      The remaining Defendants, defined below as Shadow Entities, comprise the

numerous Hong Kong and Dubai-based companies the Modi family secretly owned, yet

represented as independent vendors and customers to banks, auditors, and even this Court.

       9.      The Trustee also seeks to avoid numerous fraudulent transfers of the Debtors’

assets made to the Defendants, and in his capacity as judgment creditor of the U.S. Affiliates,

seeks to avoid fraudulent transfers of the U.S. Affiliates’ assets made to the Defendants.

                                 JURISDICTION AND VENUE

       10.     The United States District Court for this district (the “District Court”) has

jurisdiction over this adversary proceeding under 28 U.S.C. § 1334(b) because this adversary

proceeding arises under title 11 of the United States Code and arises in and is related to these

chapter 11 cases and under 28 U.S.C. § 1331 and 18 U.S.C. § 1964(c) because this adversary

proceeding arises under the laws of the United States, including 18 U.S.C. § 1962, and seeks

recovery for injuries by reason of a violation of 18 U.S.C. § 1962. This Court has authority to hear

this adversary proceeding by reason of the District Court’s referral under 28 U.S.C. § 157(a) and

under General Order M-431 (Amended Standing Order of Reference).

       11.     This adversary proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(H) and

(O) with respect to Counts 7 to 54, which this Court has authority to hear and determine, and is

not a core proceeding with respect to Counts 1 to 6.

       12.     To the extent that this Court does not have authority to determine the claims

asserted in this adversary proceeding and to enter final judgment thereon, the Trustee consents

to the issuance and entry of a final judgment or order by this Court.

       13.     Venue of this adversary proceeding is proper in this district under 28 U.S.C. § 1409.




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                       THE PARTIES & OTHER RELEVANT ENTITIES

I.     The Debtors and Trustee

       14.     Debtor Firestar Diamond, Inc. (f/k/a Firestone, Inc.) (“FDI”) is a privately-held

Delaware corporation, with its principal place of business in New York. While in operation, FDI

principally operated a wholesale jewelry business.

       15.     Debtor Fantasy, Inc. (“Fantasy”) is a privately-held Delaware corporation, with its

principal place of business in New York. While in operation, Fantasy was principally a wholesale

jewelry business. At all relevant times, FDI owned 100% of the equity interests in Fantasy.

       16.     Debtor Old AJ, Inc. (f/k/a A. Jaffe, Inc., f/k/a Sandberg & Sikorski Corp.)

(“Jaffe”) is a privately-held New York corporation, with its principal place of business in New

York. While in operation, Jaffe was principally a wholesale bridal jewelry business.

       17.     Plaintiff Richard Levin is the chapter 11 trustee for the Debtors, duly appointed

under section 1104(a) of the Bankruptcy Code by the United States Trustee for Region 2 on June

14, 2018, whose appointment was approved by this Court by order entered that same day. The

Trustee brings this action, not individually, but solely in his capacity as Trustee.

 II.    The U.S. Affiliates

       18.     FGI, a Delaware corporation, is a holding company that owns approximately 95%

of the equity interests in FDI. Samuel Sandberg owns the remaining approximately 5% of FDI.

       19.     Synergies, a Delaware corporation, is a holding company that owns approximately

95% of the equity interests in Jaffe and 100% of the equity interests in FGI. Samuel Sandberg owns

the remaining approximately 5% of Jaffe.

       20.     FDII, a Delaware corporation, operated primarily as a loose diamond trading

business.




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           21.   NMI, a Delaware corporation, operated Nirav Modi-branded retail boutiques in

New York, Los Angeles, Las Vegas, and Honolulu.

           22.   On January 15, 2020, the Trustee and the U.S. Affiliates entered into a settlement

agreement under which the U.S. Affiliates assigned to the Trustee any and all claims or causes of

action then-owned or subsequently acquired by the U.S. Affiliates and consented to entry of a

judgment jointly and severally against the U.S. Affiliates in the amount of $23,116,505.44. (See

Dkt. 1366.)

           23.   Judgment in that amount was entered on February 18, 2020. (Adv. No. 20-01014;

Dkt. 3.)

III.       The Defendants

           24.   Defendant Ami Javeri (a/k/a Ami Modi) is a New York resident and is Nirav

Modi’s wife.

           25.   Defendant Purvi Mehta (a/k/a Purvi Modi) is a Hong Kong resident and is Nirav

Modi’s sister.

           26.   Defendant Nehal Modi is a Texas resident and is Nirav Modi’s second-youngest

brother.

           27.   Defendant Neeshal Modi is a Belgium resident and is Nirav Modi’s youngest

brother.

           28.   Defendant Trident Trust Company (South Dakota) Inc., solely as trustee of the

Ithaca Trust (“Trident”), is a South Dakota corporation and is the Trustee of The Ithaca Trust.

The Ithaca Trust is an irrevocable trust governed by South Dakota law.

           29.   Defendant Central Park Real Estate LLC (“CPRE”) is a Delaware limited liability

company.




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       30.     Defendant Central Park South 50 Properties LLC (“CPS50”) is a New York limited

liability company.

       31.     Defendant Twin Fields Investments Ltd. (“Twin Fields”) is a Delaware

corporation.

       32.     Defendant Auragem Company Ltd. (“Auragem”) is a Hong Kong company and is

alleged herein to be a Shadow Entity.

       33.     Defendant Brilliant Diamonds Ltd. (“Brilliant”) is a Hong Kong company and is

alleged herein to be a Shadow Entity.

       34.     Defendant Eternal Diamonds Corporation Ltd. (“Eternal”) is a Hong Kong

company and is alleged herein to be a Shadow Entity.

       35.     Defendant Fancy Creations Company Ltd. (“Fancy Creations”) is a Hong Kong

company and is alleged herein to be a Shadow Entity.

       36.     Defendant Hamilton Precious Traders Ltd. (“Hamilton”) is a Hong Kong

company and is alleged herein to be a Shadow Entity.

       37.     Defendant Sino Traders Ltd. (“Sino”) is a Hong Kong company and is alleged

herein to be a Shadow Entity.

       38.     Defendant Sunshine Gems Ltd. (“Sunshine”) is a Hong Kong company and is

alleged herein to be a Shadow Entity.

       39.     Defendant Unique Diamond and Jewellery FZC (“Unique”) is a UAE company

and is alleged herein to be a Shadow Entity.

       40.     Defendant World Diamond Distribution FZE (“World Diamond”) is a UAE

company and is alleged herein to be a Shadow Entity.

       41.     Defendant Vista Jewelry FZE (“Vista”) is a UAE company and is alleged herein to

be a Shadow Entity.

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       42.     Defendant Empire Gems FZE (“Empire”) is a UAE company and is alleged herein

to be a Shadow Entity.

       43.     Defendant Universal Fine Jewelry FZE (“Universal”) is a UAE company and is

alleged herein to be a Shadow Entity.

       44.     Defendant Diagems FZE (“Diagems”) is a UAE company and is alleged herein to

be a Shadow Entity.

       45.     Defendant Tri Color Gems FZE (“Tri Color”) is a UAE company and is alleged

herein to be a Shadow Entity.

       46.     Defendant Pacific Diamonds FZE (“Pacific”) is a UAE company and is alleged

herein to be a Shadow Entity.

       47.     Defendant Himalayan Traders FZE (“Himalayan”) is a UAE company and is

alleged herein to be a Shadow Entity.

       48.     Defendant Unity Trading FZE (“Unity”) is a UAE company and is alleged herein

to be a Shadow Entity.

       49.     Defendant Fine Classic FZE (“Fine Classic”) is a UAE company and is alleged

herein to be a Shadow Entity.

       50.     Defendant DG Brothers FZE (“DG Brothers”) is a UAE company and is alleged

herein to be a Shadow Entity.

                                        BACKGROUND

       51.     Nirav Modi entered the diamond business around 2000 under the name Diamonds

‘R’ Us, an India partnership formed by Modi, Modi’s uncle Mehul Choksi, and Modi’s business

partner Hemant Bhatt.

       52.     In 2004, Nirav Modi founded Firestone International Private Ltd. (“FIL” or “FIPL,”

together with all of its direct and indirect subsidiaries, the “Firestar Entities”), later known as

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Firestar International Private Ltd., and now known as Firestar International Ltd. FIPL operated

as a diamond trading business in India and the parent of the global Firestar corporate umbrella.

Nirav Modi has at all relevant times been the owner of substantially all of the equity interests in

FIPL.

        53.    In 2006, Nirav Modi formed India-based Firestar Diamond International Pvt. Ltd.

(“FDIPL”) as a wholly owned subsidiary of FIPL. FDIPL operated diamond and jewelry

manufacturing operations from factories in India. FDIPL manufactured a substantial portion of

the inventory sold by other Firestar Entities.

        54.    Over time, Nirav Modi expanded the Firestar Entities’ operations to the U.S., Hong

Kong, Dubai, and Europe. Nirav Modi, acting through FIL and its subsidiaries, acquired the

company that became FDI (then known as Firestone, Inc.) in 2005, acquired a 95% interest in Jaffe

(then known as Sandberg & Sikorski Corp.) from Samuel Sandberg and Stanley Sikorski in 2007,

and incorporated Fantasy in 2012. In connection with Nirav Modi’s indirect acquisition of Jaffe,

Samuel Sandberg received an equity interest in FDI.

        55.    The U.S. Entities’ operations were managed and controlled by Nirav Modi’s

cousin, Mihir Bhansali. At all relevant times, Mihir Bhansali served as the sole director and Chief

Executive Officer of FDI and Fantasy, and as the sole director and President of Jaffe. Bhansali also

served as the sole director of each U.S. Affiliate, as well as the Chief Executive Officer of

Synergies, FGI, and NMI. Bhansali also served as a director of FIPL. In the context of both the

Firestar Entities’ legitimate operations and the fraudulent schemes described below, Mihir

Bhansali served as Nirav Modi’s second-in-command.

        56.    Mihir Bhansali’s own top lieutenant, Ajay Gandhi, served as the Chief Financial

Officer of each of the Debtors and U.S. Affiliates for the entirety of the Relevant Period with the




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exception of a brief 3-month departure in 2013. As alleged below, Mihir Bhansali and Ajay Gandhi

managed the fraudulent aspects of Nirav Modi’s U.S. operations.

         57.   The Hong Kong-based Firestar Entities included Firestar Holdings Ltd. (“FHL”),

Firestar Diamond Ltd. (“FDL”), Firestar Jewelry Ltd. (“FJL”) and Nirav Modi Ltd. (“NML”). FHL,

a wholly owned subsidiary of FIPL, had no operations of its own and instead acted as the primary

holding company for the Hong Kong, Dubai, Europe, and eventually U.S.-based Firestar Entities.

         58.   FDL and FJL, both wholly owned subsidiaries of FHL, each operated as a polished

diamond trading business analogous to FDII in New York. FDL and FJL were managed by Aditya

Nanavati, the Head of Asia-Pacific in the global Firestar umbrella. Shyam Wadhwa, FIPL’s vice

president of finance, served as the de facto chief financial officer of the Hong Kong-based Firestar

Entities. Nanavati exercised general oversight over the Hong Kong-based Shadow Entities and

Wadhwa managed their bank accounts and finances.

         59.   NML, a wholly owned subsidiary of FHL, is the principal holding company for

subsidiaries operating Nirav Modi-branded boutiques around the globe, including New York-

based NMI (which operated the U.S. boutiques) and UK-based Nirav Modi Ltd. (“NMLUK”)

(which operated the London boutique). Angelina Ypma (a/k/a Angelina Nguyen) served as

global president of the Nirav Modi brand and as a director of NML and FIPL. Purvi Mehta was

also involved in the operations of NML and its subsidiaries as creative director of the Nirav Modi

brand.

         60.   The Dubai-based Firestar Entities included Firestar Diamond FZE (“FDFZE”),

which operated as a polished diamond trading business, and Firestar Diamond FZCO

(“FDFZCO”), which manufactured jewelry. FHL is the 100% owner of both FDFZE and FDFZCO.

Satyendra Shukla, the Head of Middle East within the global Firestar umbrella, managed

FDFZCO. Kurian Mathews ran FDFZE’s operations as general manager. Saju Poulose managed

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the Dubai-based Firestar Entities’ finances, books and records, and bank accounts as the de facto

chief financial officer. Shukla, Mathews, and Poulose also exercised broad oversight over the

Dubai-based Shadow Entities’ operations and finances.

        61.     Firestar Diamond BVBA (“FDBVBA”), a Belgium company, operated as a rough

diamond trading and manufacturing business. FDBVBA was managed by Nirav Modi’s youngest

brother, Neeshal Modi, in Antwerp, Belgium. Neeshal Modi was also involved with the Dubai

Firestar Entities. Throughout the Relevant Period, FDBVBA traded extensively with Shadow

Entities in Hong Kong and Dubai in furtherance of the fraudulent scheme alleged below.

I.      The Bank Fraud.

        A.      Mechanics of the Bank Fraud

        62.     From no later than 2010 to early 2018, Nirav Modi orchestrated and directed a

scheme to obtain loans, credits, or other funds under false pretenses and without collateral from

numerous banks, including Punjab National Bank (“PNB”), a publicly-owned Indian bank

majority owned by the central government of India (as set forth in more detail below, the “Bank

Fraud”).

        63.     The Bank Fraud involved the fraudulent procurement of buyer’s credit issued

under letters of undertaking (“LOUs”), a financial instrument unique to India designed to

facilitate efficient import transactions.

        64.     When used legitimately, LOUs allow an importer to forego the expense an

importer would otherwise incur by borrowing Indian currency and then converting it to a foreign

currency to pay foreign suppliers. Instead, the importer obtains short-term credit from its bank

in India, secured by invoices for the to-be imported goods. The issuing bank, in turn, enters into

the foreign currency transaction: it requests a foreign branch of another Indian bank to transmit

funds into the issuing bank’s own account (referred to as its nostro—“our”—account) at the

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foreign branch of a third bank to pay the exporter in its local currency. The issuing bank then

repays the intermediary bank and recoups the loan from the importer (or the imported goods

serving as its collateral).

        65.     Since each LOU requires an import transaction, an importer’s LOU borrowing

capacity is tied directly to its import volume—the more imports, the more LOU funding available.

        66.     Nirav Modi and his co-conspirators conspired to take advantage of this feature by

artificially inflating the import volume of Nirav Modi’s India-based companies—most notably

Diamonds ‘R’ Us (“DRUS”), Solar Export (“Solar”), and Stellar Diamond (“Stellar”) (collectively,

the “LOU Entities”)—with sham transactions so as to obtain more and more LOU funding.

        67.     Nirav Modi, Ami Modi, Neeshal Modi, and Mehul Choksi, among others, each

served as partner of each LOU Entity during the Relevant Period.

        68.     In 2016, Neeshal Modi selected and appointed additional “dummy” partners for

the LOU Entities. Neeshal Modi, together with Mihir Bhansali, also selected and hired various

Shadow Entity personnel during the Relevant Period.

        69.     Ami Modi served as a partner of Solar and Stellar and, in 2010, opened bank

accounts Solar and Stellar used to defraud PNB.

        70.     PNB and other banks advanced amounts equal to over $1 billion under LOUs for

the benefit of entities under Modi’s control in connection with imports to India without the

ordinarily-required collateral.

        71.     To carry out this scheme, Nirav Modi and his co-conspirators utilized a web of

shadow entities to engage in fraudulent and fictitious import transactions, including Defendants

Auragem, Brilliant, Eternal, Fancy Creations, Sino, Sunshine, Unique, World Diamond, Vista,

Empire, Universal, Diagems, Tri Color, Pacific, Himalayan, Unity, and Fine Classic (collectively,




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the “Shadow Entities,” together with the Firestar Entities, LOU Entities, and all other entities

controlled by Nirav Modi and his family members, the “Modi-Controlled Entities”).

       72.    Though designed to look like legitimate independent businesses, the Shadow

Entities were no more than shell companies controlled by Modi and his co-conspirators. They

conducted virtually no legitimate business, but instead existed only to further the Bank Fraud by

conducting bogus transactions with the LOU Entities, Firestar Entities, and other Modi-

Controlled Entities and laundering the ill-gotten proceeds.

       73.    The two primary clusters of Shadow Entities operated from Hong Kong and

Dubai. The Hong Kong-based Shadow Entities included Auragem, Brilliant, Eternal, Fancy

Creations, Sino, and Sunshine. The Dubai-based Shadow Entities included Unique, World

Diamond, Vista, Empire, Universal, Diagems, Tri Color, Pacific, Himalayan, and Unity.

       74.    The Shadow Entities were mostly registered at either small, unoccupied offices or

at single, leased desks within shared offices. They had almost identical websites with similar

backgrounds, fonts, contact pages, and language.

       75.    An Indian consultant told Indian authorities that around 2010, Mihir Bhansali

sought assistance setting up two layers of British Virgin Island (“BVI”) holding companies for

the Dubai-based Shadow Entities that would be owned by Purvi Modi and Neeshal Modi.

       76.    The top layer consisted of Madison Capital Private Limited (“Madison”) and

Moore Private Investments Ltd. (“Moore”). Mihir Bhansali completed all of the paperwork

relating to the formation of these two entities. Purvi Mehta and Neeshal Modi were declared the

ultimate beneficial owners of these companies to the BVI authorities.

       77.    Madison and Moore each held 50% of the shares of each of ten second-layer BVI

entities: Global Investing Group Ltd., Xclusive Consultants Ltd., Ashmoore Developments Ltd.,

Beacon Horizon Investments Ltd., Century Group Global Investments Ltd., Pushpin Trading

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Ltd., Royce Group Private Ltd., Integrated Investing Ltd., Panera Assets Inc., and Ideal Star

Consultants Ltd. Mihir Bhansali chose all of these entities’ names. Moore served as the director

of each of these entities. Purvi Mehta and Neeshal Modi were also declared the ultimate beneficial

owners of these companies to the BVI authorities.

         78.    These second-layer BVI entities then served as holding companies for Dubai-based

Shadow Entities Tri Color, Diagems, Empire, Unique, World Diamond, Pacific, Universal; and

Vista.

         79.    Mihir Bhansali maintained a spreadsheet tracking the operational status of the

Dubai-based Shadow Entities.

         80.    The LOU Entities and Shadow Entities traded exclusively or nearly exclusively

with other Modi-Controlled Entities. The following table reflects the extent to which the LOU

Entities traded exclusively with Shadow Entities and Firestar Entities:

                                               Fiscal Year 2012 - 2017
                                                             Purchases from Listed Modi-
                        Sales to Listed Modi-Controlled
                                                              Controlled Entities as % of
         LOU Entity        Entities as % of Gross Sales
                                                               Total Costs of Goods Sold
                         Shadow       Firestar               Shadow     Firestar
                                                   Total                             Total
                         Entities     Entities               Entities   Entities
           DRUS           88.4%        7.5%       95.9%       99.7%      0.4%      100.1%
           Stellar        98.7%        0.5%       99.2%      100.1%      0.3%      100.3%
            Solar         98.9%        0.7%       99.6%       99.9%      0.1%      100.0%

         81.    From around 2013 onward, Nirav Modi and his co-conspirators used the Shadow

Entities as an intermediary between the LOU Entities and Firestar Entities. PNB and other banks

were aware of Nirav Modi’s affiliation with the LOU Entities and the Firestar Entities, but his

affiliation with the Shadow Entities was hidden from the banks.

         82.    The Shadow Entity import and export transactions purported to involve arm’s-

length sales of highly valuable loose diamonds, pearls, gold, silver, and other jewelry. In truth,

these transactions had no legitimate economic purpose and routinely involved goods that (i) did

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not exist, (ii) were never transferred, (iii) were transferred at prices having nothing to do with

market value, but instead based on whatever amounts were necessary to reconcile the Shadow

Entities’ and Firestar Entities’ books and records so as to conceal other transfers made for

illegitimate purposes, or (iv) were transferred in “circular transactions,” in which the same goods

were exported from and re-imported among Modi-Controlled Entities multiple times at varying

and often inflated prices to give the appearance of multiple distinct transactions for the sole

purpose of artificially increasing the entities’ import volume.

        83.      According to statements made by various Firestar Entity and Shadow Entity

employees to Indian authorities:

     (i)      FIL, FDIPL, and other India-based Firestar Entities would export jewelry to
              Shadow Entities in Dubai and Hong Kong, where, at least in some instances,
              the diamonds would be removed and then subsequently re-exported for
              further import and the precious metals melted.

    (ii)      None of jewelry exported from India to the Shadow Entities was ever returned
              as defective, substandard, or otherwise noncompliant, as would be expected
              in the course of an arm’s length vendor-customer relationship.

    (iii)     Orders placed by Shadow Entities frequently lacked the formality, exactness,
              and diligence that ordinarily would be expected of transactions with a bona
              fide third party. For example, V. Suresh Ramnath Naidu, a director of
              Diagems, told Indian authorities that he signed blank invoices, but never
              actually saw any of the diamonds or jewelry.

        84.      Modi-Controlled Entities also obtained additional funding through packing credit

loans, which are short-term working capital loans obtained by vendors to fulfill upcoming orders

of goods. In the context of the Bank Fraud, the India-based Modi-Controlled Entities would obtain

packing credit loans on the basis of purported orders from other Modi-Controlled Entities

overseas. However, packing credit loan proceeds were frequently diverted for other purposes,

including the repayment of outstanding LOUs.




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        85.     Many of the Shadow Entities’ directors were current or former employees of

Firestar Entities. In addition, many Shadow Entity employees were current or former employees

of Firestar Entities.

        86.     The transactions between and among Firestar Entities, LOU Entities, and Shadow

Entities furthered the Bank Fraud by: (1) inflating the Indian entities’ LOU borrowing capacity

by artificially inflating their import volumes for LOUs and export volume for packing credit

loans; (2) facilitating the repayment of some but not all outstanding LOUs and packing credit

loans; (3) laundering the fraudulent proceeds by making them difficult to trace and siphoning

them to Modi and his co-conspirators; and (4) making it difficult for auditors, lenders, and

regulatory bodies to detect the Bank Fraud.

        87.     Transfers for these purposes were concealed in various ways, including: (a) round

trip transactions of gems, jewelry, or funds in which Modi-Controlled Entities transferred assets

amongst themselves without any legitimate economic purpose; (b) buying and selling gems at

inflated or deflated prices; (c) characterizing transfers as loans or loan repayments or advances

against future purchases or returns of such advances; and (d) in some instances, fraudulently

doctoring books and records outright.

        88.     To facilitate the continuing flow of LOUs and to prevent detection, Modi and

others at his direction, including Manish Bosamiya, Subhash Parab, and Miten Pandya, worked

with certain PNB employees, including Gokulnath Shetty, who authorized LOUs without

securing collateral and without properly recording the LOUs in PNB’s records.

        89.     According to a forensic report issued by BDO in December 2019, PNB issued over

1,500 fraudulent LOUs to Modi-Controlled Entities during the Relevant Period involving

approximately $3.5 billion.




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       B. The Debtors’ and U.S. Affiliates’ Role in the Bank Fraud

       90.     Nirav Modi, Mihir Bhansali, Ajay Gandhi, and other co-conspirators funneled

millions of dollars in funds, precious gems, and jewelry through the U.S. Entities and their offices

in furtherance of the Bank Fraud.

       91.     In the early stages of the Bank Fraud scheme, from around 2010 to 2012 when the

LOU Entities were still trading directly with Firestar Entities, the U.S. Entities were directly

involved in import and export transactions underlying fraudulently procured LOUs. For

example, in 2011, FDI and Jaffe were the exporters under and direct beneficiaries of five LOUs

and one LOU, respectively, totaling $10,192,303.

       92.     As an example of the Debtors’ involvement in circular transactions, from August

8, 2011 to September 13, 2011, a period of five weeks, the Debtors exported the same 3.27 carat

Fancy Vivid Yellow Orange Cushion Cut SI1 diamond three times and imported it once to and

from various LOU Entities and Shadow Entities at widely divergent prices.

       93.     Later in 2011, the Debtors engaged in another circular trading of a diamond that

was recorded as a 1.04 carat Fancy Intense Pink Emerald Cut SI2 diamond. The diamond

appeared in the Debtors’ records in three transactions within six weeks of each other and was

valued at a different price each time.

       94.     From around 2013 onward, the Shadow Entities were used as intermediaries

between the Firestar Entities and LOU Entities. PNB and other banks were aware of Nirav Modi’s

affiliation with the Firestar Entities and LOU Entities, but his affiliation with the Shadow Entities

was hidden from them.

       95.       During this period, the Debtors made numerous transfers to Shadow Entities

linked to the repayment of outstanding LOUs so that the Bank Fraud could continue undisturbed.




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          96.    For example, on September 24, 2015, FDI transferred $1,840,969 to Auragem and

$1,400,000 to Fancy Creations. A portion of these funds were used to repay an LOU issued to

DRUS that became due on September 30, 2015.

          97.    As another example, on February 26, 2016, FDI transferred $1,192,106 to Tri Color.

On March 9, 2016, Tri Color transferred $1,647,000 to Solar. That same day, Solar transferred

$2,087,000 to repay an LOU that became due on March 11, 2016.

          98.    Consistent with these examples and others alleged herein, the Debtors’ and U.S.

Affiliates’ Shadow Entity-linked transactions from 2013 onwards were effectuated for purposes

related the Bank Fraud including to: (a) facilitate repayment of LOUs and packing credit loans so

that the Bank Fraud could continue undisturbed; (b) provide Shadow Entities with the goods and

funds the Shadow Entities needed to transact with the LOU Entities; (c) clear the Shadow Entities’,

Firestar Entities’, and LOU Entities’ accounts receivable and accounts payable so as to avert

questions from auditors, lenders, and other third parties; and (d) divert the proceeds of the Bank

Fraud for the benefit of Nirav Modi, Mihir Bhansali, their families and other co-conspirators.

          99.    The U.S. Entities’ records reflect hundreds of millions of dollars in cash transfers

and inventory shipments among the U.S. Entities and Shadow Entities during the Relevant

Period.

          C. Involvement of U.S. Entities’ Directors and Officers in the Bank Fraud

          100.   Certain of U.S. Entities’ directors and officers, including Mihir Bhansali and Ajay

Gandhi, participated in and advanced the Bank Fraud. As described below, Bhansali and Gandhi,

in coordination with Nirav Modi, controlled all aspects of the Debtors’ internal and external

operations and affairs at all relevant times.

          101.   As the ultimate controlling shareholder of all of the Firestar Entities, Nirav Modi,

in coordination with Bhansali and Gandhi, orchestrated and oversaw fraudulent transactions

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among the U.S. Entities, Shadow Entities, and other Modi-Controlled Entities involving hundreds

of millions of dollars in funds and diamonds. These transactions were integral to the Bank Fraud.

       102.    As the sole director of each of the U.S. Entities, and as CEO of FDI, Fantasy,

Synergies, FGI, and NMI, Mihir Bhansali coordinated and directed fraudulent transactions

among the U.S. Entities, Shadow Entities, and other Modi-Controlled Entities involving hundreds

of millions of dollars in funds and diamonds. These transactions were integral to the Bank Fraud.

       103.    As CFO of each of the U.S. Entities, and in coordination with Nirav Modi and

Mihir Bhansali, Ajay Gandhi coordinated and directed fraudulent transactions among the U.S.

Entities, Shadow Entities, and other Modi-Controlled Entities involving hundreds of millions of

dollars in funds and diamonds. These transactions were integral to the Bank Fraud.

       104.    At all relevant times, Ajay Gandhi and Mihir Bhansali controlled the finances of

the Debtors. Each had authority to approve loose diamond transactions among the U.S. Entities

and the Shadow Entities totaling hundreds of millions of dollars. Gandhi and Bhansali were also

each a signatory on each of the U.S. Entities’ bank accounts, and their authorization was required

to effectuate transfers from the U.S. Entities’ accounts.

      i.       Oversight and Control of Shadow Entities and LOU Entities

       105.    Nirav Modi and Mihir Bhansali, with the assistance of other co-conspirators

coordinated and directed the operations of the Shadow Entities and LOU Entities to further the

Bank Fraud. The following are some examples of that activity.

       106.    Mihir Bhansali’s prominent role in orchestrating the Bank Fraud is illustrated by

several spreadsheets recovered from his work computer. Each of these spreadsheets was saved

by Microsoft Excel’s “AutoRecover” feature. Bhansali’s computer did not contain any other

versions of these spreadsheets, suggesting that he deleted them at some point. These spreadsheets

are summarized as follows:

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         (i)    One spreadsheet, last modified on February 16, 2018, tracked millions of
                dollars in payables and receivables as between each of the LOU Entities,
                Firestar Entities, and Shadow Entities.

        (ii)    Another spreadsheet, last modified on February 18, 2018, appears to be a
                step-by-step guide to the mechanics and economics of circular transactions
                between Firstar Entities and Shadow Entities. Another auto-saved version
                of this spreadsheet, saved eleven minutes earlier, contains only a portion
                of the guide, demonstrating that Bhansali himself created the spreadsheet.

        (iii)   Another spreadsheet, created on February 12, 2018 and last modified on
                February 13, 2018, appears to be a “to do” list for various co-conspirators
                after the exposure of the Bank Fraud. The tasks included researching their
                potential criminal liability, “cleaning up” outstanding A/R and A/P
                balances among Firestar Entities and Shadow Entities, and sending the
                Dubai-based Shadow Entities’ computers to Hong Kong.

        (iv)    Another spreadsheet, last modified on January 8, 2018, shows, for the fiscal
                years 2012 through 2017, each LOU Entity’s (a) profits & losses, (b)
                outstanding bank loans, (c) cash flow to trusts benefitting Nirav Modi’s
                family, and (d) volume of transactions with various Shadow Entities and
                Firestar Entities.

       107.     Bhansali personally oversaw the creation of the Shadow Entities and LOU Entities

and the selection of their principals, directors, officers, and employees.

       108.     Bhansali also personally completed employee performance appraisals for

individuals involved in the operations of Shadow Entities and LOU Entities.

       109.     Bhansali’s electronic calendar contained several entries, which, upon information

and belief, refer to his discussions in the course of managing the operations of the LOU Entities

(i.e. Solar, Stellar, and Diamonds R Us), including: (a) a meeting scheduled for April 4, 2016 with

the subject “SSD conversation;” and (b) a meeting scheduled for April 6, 2016 with the subject

“SSD infrastructure,” with an invite to Saju Paulose.

       110.     On January 19, 2010, Ajay Gandhi directed Bhavesh Patel to prepare an aging

report for accounts receivables owed to FDI excluding “affiliates such as . . . Unique”,

demonstrating that Gandhi knew Unique was a related party.



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       111.    On May 27, 2010, Mihir Bhansali directed Aditya Nanivati to make Bhansali,

Nanivati, Purvi Mehta, and Neeshal Modi authorized users of FDL’s Standard Chartered Bank

account. With respect to the physical devises necessary to approve transfers, he instructed

Nanivati to send Purvi Mehta’s device to Hemant Bhatt and Neeshal Modi’s device to Ajay

Gandhi. These devices enabled Bhatt and Gandhi to transfer funds out of FDL’s bank account

even though neither had any role at FDL or any of the other Hong Kong Firestar Entities.

       112.    On September 7, 2011, Kurian Mathews asked for Mihir Bhansali’s approval of fee

quotes from accountants for proposed audits of Auragem and Fancy Creations.

       113.    Mihir Bhansali required at least two of Kurian Mathews, Satyendra Shukla, and

Saju Poulose to be present in Dubai at all times to monitor Shadow Entity operations. On April

27, 2013, Kurian Mathews asked Mihir Bhansali for permission to break this rule so that he could

arrive in Hong Kong early to prepare for an audit of the Hong Kong Shadow Entities. Mathews

explained, “We have to arrange all documents of 4 entities as Fancy’s office which is very far from

the offices of Brilliant and Eternal. After the same we have to check all of the purchases and sales

documents with the book entries to see that correct documents are in place before the

commencement of the audit.” Bhansali replied, “Fine. Go ahead this time.”

       114.    On June 10, 2013, to hide their involvement in the Bank Fraud, Modi’s personal

assistant instructed Gandhi, from her personal email address to Gandhi’s personal email address,

to communicate with her regarding Shadow Entities only on Gmail or Panemail, a program that

automatically deletes messages, rather than on the Firestar Entities’ regular email system.

       115.    On August 6, 2013, Gandhi sent an email to a back-office employee containing

purchase and sales ledgers of four Shadow Entities—Fancy Creations, Brilliant, Eternal, and

Unique—showing these entities’ accounting for transactions with FDI.




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        116.   On April 3, 2017, an India-based consultant emailed Mihir Bhansali a spreadsheet

summarizing sales from various foreign Firestar Entities, including FIPL and FDIPL, to Dubai-

based Shadow Entities, including World Diamond, Universal, Empire, Vista, Unique, and

Diagems. The spreadsheet reflected a total of $770,730,000 in sales of rough stones, polished

stones, and jewelry by various foreign Firestar Entities to these six Shadow Entities during fiscal

year 2015 to 2016, and a total of $454,910,000 in such sales from April 2016 to February 2017.

        117.   On May 5, 2017, Gandhi sent a list of Shadow Entities, and contact information for

each, to Altamash Ansari, a back office employee in India, and stated “Use names from attached

for Eternal, Pacific & Tri Color. (Do not share this pdf with anyone.).”

        118.   On July 1, 2017, FIPL CFO Ravi Gupta emailed Nirav Modi a spreadsheet

containing fictitious biographical profiles for Brilliant, Eternal, Fancy Creations, Empire, Unique,

Universal, Vista, and World Diamond and asked, “Last year someone had created the enclosed

file for top 8 customers[.] Can u let me know who had helped in creation of this? We would like

to do for few more customers like Augragen [sic], Eurostar, Diagem, Saumil, and Pannadium.”

Modi forwarded the email to Mihir Bhansali, who then directed Shyam Wadhwa, Aditya

Nanivati, and Neeshal Modi to create additional fictitious profiles for Shadow Entities in their

respective regions.

        119.   On July 8, 2017, Satyendra Shukla asked for Mihir Bhansali’s input on a proposed

itinerary for FIPL CFO Ravi Gupta’s and FIPL Independent Director Suresh Senapaty’s upcoming

visit to Dubai. The itinerary included multiple meetings with purported “owners” of Shadow

Entities.

        120.   Between July 31, 2017 and August 7, 2017, Satyendra Shukla and Kurian Mathews,

copied Mihir Bhansali on numerous emails concerning the collection of know-your-customer and

know-your-supplier documentation for Shadow Entities Unique, World Diamond, Unity,

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Himalayan, DG Brothers, and Hamilton. Bhansali advised, “Gentlemen – please avoid copying

me on transactional emails. Thank you.”

       121.    On August 19, 2017, a manager of Universal emailed Bhansali enclosing a profile

of three Shadow Entities—Universal, Empire, and Diagems—and asking Bhansali to “review and

advice [sic].” The manager’s email signature stated he was also the General Manager of a Firestar

Entity in Dubai.

       122.    On October 24, 2017, Saju Poulose advised Mihir Bhansali that an independent

director of FIPL had asked about the variance in profit margins between the Firestar Entities’

transactions with Shadow Entity as opposed to other customers. Bhansali instructed Poulose to

warn Aditya Nanivati and Satyendra Shukla so that they could prepare an explanation. Nanavati

then asked Bhansali, “How are we answering this? For me it is simple, some are higher volume

wholesale clients and some are smaller clients/shops. Not sure if that’s the right approach.”

       123.    On April 23, 2018, Ajay Gandhi asked a back-office employee to send him the open

accounts receivable and accounts payable between Jaffe and Empire, Vista, Eternal, Tri Color, and

Universal as of April 22, 2018. Gandhi referred to these parties as “overseas non-affiliates.”

       124.    During the Relevant Period, Nirav Modi, Mihir Bhansali, and Ajay Gandhi

exercised direct oversight and control over numerous transactions between the U.S. Entities and

Shadow Entities, as illustrated by the specific examples described in Appendix A-124.

       125.    Ajay Gandhi regularly advised Nirav Modi, Miten Pandya, Manish Bosamiya,

Amit Magia, and Shyam Wadhwa, concerning wires of funds from the U.S. Entities to India in

furtherance of the Bank Fraud, as illustrated by the specific examples described in Appendix A-

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     iii.       Suspicious Accounting, Finance, and Inventory Management Practices

         126.   Gandhi and Bhansali engaged in and oversaw suspicious accounting, corporate

finance, and inventory management practices for the purpose of furthering and concealing the

Bank Fraud.

         127.   Gandhi and Bhansali maintained two sets of books and records for the U.S.

Entities: “core” financials, which did not include loose diamond and other high-value

transactions outside the normal course of the U.S. Entities’ business, and “regular” financials,

which reflected transactions with Shadow Entities and other Firestar Entities to further the Bank

Fraud.

         128.   Jaffe’s federal tax return for the fiscal year ending March 31, 2012 listed sales of

$9,090,661. However, Jaffe’s sales journal, as well as the Jaffe financial statements originally

provided by Ajay Gandhi to the Examiner, indicates that, during that same time period, Jaffe’s

sales totaled $49,628,873.

         129.   After Gandhi was questioned by the Examiner about the significant difference

between the tax return sales of around $9 million and the “original” financial statements and sales

journal which both reflected $49 million of sales, Gandhi produced a second set of financial

statements, which he called the “core” set. This “core” set reflected sales at $10 million. Gandhi

did not provide any real explanation as to why he maintained two sets of financial statements.

The difference between these financials was primarily loose diamond sales between Jaffe and

various Shadow Entities.

         130.   Bhansali managed the Debtors’ “house accounts,” the accounts in which proceeds

of loose diamond sales were segregated from regular sales accounts for purposes of computing

commissions. Upon information and belief, the difference between the amounts reported in the




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Jaffe’s tax returns versus the amounts reflected in its sales journals primarily relates to such

transactions.

       131.     The secretive nature of the “regular” financials is further demonstrated by the

communications between Nirav Modi, Ajay Gandhi, Mihir Bhansali, and other co-conspirators

described in Appendix A-131.

       132.     Mihir Bhansali and Ajay Gandhi also oversaw and directed the use of different

sales and inventory practices for Debtors’ transactions with Shadow Entities as compared to those

used with retailer customers.

       133.     For example, each diamond or gem received by the Debtors for use in an ordinary

retail transaction would be unpacked, compared to its packing slip, scanned for quality control,

and logged as “ready to ship.”

       134.     These practices were not employed with respect to Shadow Entity-related

transactions. For those transactions, a Shadow Entity or foreign Firestar Entity would often send

bulk shipments of loose diamonds accompanied by email instructions to export them

immediately upon receipt to either another Firestar Entity or a Shadow Entity at specified prices

and quantities. Packing slips and invoices for the subsequent exports often accompanied these

email instructions. Consistent with instructions from overseas Modi-Controlled Entities, these

goods were either immediately re-shipped without being opened or, if they were opened, they

were inventoried in bulk, not individually.

     iv.        Efforts to Manipulate or Deceive Auditors and Lenders

       135.     On numerous occasions, Bhansali and Gandhi sidestepped auditors’ inquiries

concerning the U.S. Entities’ dealings with Shadow Entities by offering farfetched explanations,

feigning ignorance, or, in some cases, ignoring the questions altogether.




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       136.    For example, on July 2, 2010, a banker asked Ajay Gandhi whether FDI and Eternal

were related. Ajay Gandhi forwarded the email to Mihir Bhansali and stated, “I am ignoring that

question but I may not be able to avoid the same.” Bhansali replied, “Speak to Nirav when he is

in NY next week.” The next day, Gandhi told the banker that Nirav Modi’s father, Deepak Modi,

owned Eternal.

       137.    As another example, on June 16, 2011, an HSBC Bank representative asked Ajay

Gandhi why Synergies would be wiring funds to Unique. Gandhi explained that Unique had

loaned funds to Synergies, which loaned the same funds to Twin Fields, and that both loans were

subsequently repaid. The representative then asked, “Unique is affiliated correct? Does Nirav

own it? Is this why there are loans back and forth?” Gandhi replied, “Unique is not an affiliated

company but Nirav has a very good relationship with them.” The representative then asked,

“Why is each company lending to the other?” Gandhi replied, “I am sure there were business

reasons. What is the concern for the bank?”

       138.    As another example, on September 7, 2011, a banker at Standard Chartered Bank

asked Ajay Gandhi, “We understand that Firestar in NY sales [sic] mostly to big retailers in the

US but the recent A/R outstanding shows more concentration on companies such as Unique

Diamond, Empire Gem and SDC Designs. Can we get YTD sales data of 2010 and 2011 of the top

10 accounts for each year on year comparison?” She further stated, “Also, in the AR ageing it

shows Firstar has given Steller [sic] diamonds and Unique diamonds $11m limits each—and

Brilliant, Fancy creations $2m each. We understand that these foreign bills we are not discounting

them, but we’d like to get more background info on these accounts given the size of exposures.”

       139.    On September 12, 2011, Gandhi replied, “Various overseas companies that you

have mentioned are not our customers. We buy unique large diamonds/jewelry pieces from

various vendors in India and sometimes these goods need to be returned, but due to the terms of

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the original sale, the vendors instruct us to ship these goods to another companies [sic], that they

select, who are not located in India. We record these transfers as a reduction to purchases and an

increase to accounts receivable at the original purchase cost of the diamonds/ jewelry.”

       140.    Mihir Bhansali, who was included on the email from Gandhi, forwarded this

response to Modi, stating “Nirav, Please read this email below from SCB last week, and Ajay’s

reply. Just an FYI.” Modi then forwarded the email to the former deputy managing director of

Axis Bank’s corporate banking division, and stated, “As SC is a common bank in India, Antwerp

and NY. It might be a good idea that Ajay and you discuss all responses.”

       141.    As another example, on April 22, 2017, an auditor asked Ajay Gandhi why FDI

had recorded a payable for an invoice issued by Fancy Creations to NMI. Gandhi replied,

“Vendor error.” A few minutes later, apparently deciding that excuse was not sufficient, he

equivocated, “Also to save freight, they ship together as one invoice. Difficult to fight with them.”

       142.    And as yet another example, on April 26, 2017, Ajay Gandhi asked Mihir Bhansali

how he should respond to an auditor’s inquiries into the U.S. Entities’ multi-million-dollar A/R

and A/P balances with Shadow Entities Auragem and Fancy Creations. Bhansali directed Gandhi

to discuss the issue with Shyam Wadhwa and asked when the Shadow Entity balances could be

cleared.

       143.    At least some of the coordination of the various Shadow Entities’ involvement in

manipulating audits, and the Bank Fraud more generally, was conducted through an

operation1@firestardiamond.com (“Operation 1”) email address. The Operation 1 account was

used by Sandeep Mistry and possibly others.

       144.    As part of the audit process, auditors would email parties listed on the audited

company’s accounts receivable and accounts payable records to request written confirmation of

the amounts reflected in the audited company’s books and records. For audits of the U.S. entities,

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which were conducted together, Ajay Gandhi would be copied on the auditor’s emails to Shadow

Entities, which Gandhi would often forward to Operation 1 to ask that Operation 1 cause the

Shadow Entity to provide confirmation the auditors. Specific examples of such emails are

described in Appendix A-144

       145.    The Operation 1 account was also used to orchestrate transfers of funds and jewels

among Firestar Entities and Shadow Entities, as demonstrated by the specific examples described

in Appendix A-145.

       D.      Involvement of Mehul Choksi, Nehal Modi, Neena Sheth, Deepak Sheth, and
               Abhay Javeri, and the Sheth Entities and SDC Entities in the Bank Fraud.

       146.    Mehul Choksi is Nirav Modi’s uncle. Choksi is accused of orchestrating his own

bank fraud scheme through his India-based company Gitanjali Gems Ltd., its U.S.-based

subsidiaries including Gitanjali USA, Samuels Jewelers, Inc. (“Samuels”), Aston Luxury Group

(NY), Diamlink, Inc., Diamlink Jewelry, Inc., Jewelry Marketing Company, Tristar Worldwide

LLC, and Phantom Luxury Group, along with a web of fictitious vendors and customers

analogous to the Shadow Entities.

       147.    Although Nirav Modi’s and Mehul Choksi’s fraud schemes primarily operated in

parallel from a corporate standpoint, members of their family participated on both sides. For

example, Nehal Modi, Nirav Modi’s brother, was in charge of Gitanjali USA, Samuels, and

Diamlink on the Choksi-side and BBB Group on the Modi side. Similarly, Mehul Choksi’s sister

and Nirav Modi’s aunt, Neena Sheth, served as a director of Diamlink.

       148.    Neena Sheth’s husband, Deepak Sheth, (i.e. Nirav Modi’s uncle and Mehul

Choksi’s brother-in-law), owns New York-based Excellent Facets, Inc. and Amadena Investments

Inc. (collectively, the “Sheth Entities”). As alleged below, Deepak Sheth also served as the initial




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Protector and Investment Advisor of the Ithaca Trust and as Manager of CPS50 in connection

with

       149.    Also involved was Ami Modi’s brother and Nirav Modi’s brother-in-law, Abhay

Javeri. Javeri owns SDC Designs, Inc., SDC Designs LLC, Sangam Diamonds Corporation, and

Sangam Diamonds LLC (collectively, the “SDC Entities”). Abhay Javeri also served as Protector

and Investment Advisor of the Ithaca Trust and as Manager of CPS50.

       150.    Deepak Sheth, Neena Sheth, Nehal Modi, Abjay Javeri, and their respective

companies participated in the Bank Fraud throughout the Relevant Period.

       151.    Deepak Sheth and the Sheth Entities participated in direct transactions with

Shadow Entities totaling over $19 million during the Relevant Period.

       152.    For example, in March 2016, Deepak Sheth instructed Mihir Bhansali and Ajay

Gandhi to have NMI bill Excellent Facets $965,000 for a 15.21-carat diamond necklace and a 10.71-

carat diamond ring, but to ship the pieces to Shadow Entity Sunshine in Hong Kong. Sheth

referred to Sunshine as “his customer.”

       153.    Abhay Javeri and the SDC Entities participated in direct transactions with Shadow

Entities involving millions of dollars during the Relevant Period.

       154.    For example, on December 4, 2012, the SDC Entities’ CFO Sridhar Krishnan

advised Ajay Gandhi that Shadow Entity Empire would be wiring $2.7 million to FDII as partial

payment against a July 2012 invoice and instructed Gandhi to use the funds to pay SDC Designs

LLC against another July 2012 invoice. Gandhi forwarded the email to Hemant Bhatt and asked,

“Is this OK once funds are received?” Bhatt replied, “Do not send email. Please call me to confirm

in the morning.”

       155.    As another example, on February 4, 2013, Sridhar Krishnan advised Mihir Bhansali

and Hemant Bhatt over personal email that he had wired $1.4 million from an SDC Entity to

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Shadow Entity Universal and asked Bhatt to wire those funds to Jaffe. On February 6, 2013, Bhatt

confirmed that Universal had received the funds and that Empire had paid US $1,391,570 to Jaffe.

That same day, Jaffe wired $1,391,997 to SDC.

       156.    As another example, on February 11, 2013, Sridhar Krishnan advised Mihir

Bhansali and Hemant Bhatt over personal email that he had wired $1.2 million from SDC Designs

LLC to Shadow Entity Empire and instructed Bhatt to wire those funds to Jaffe and FDI. Jaffe and

FDI then wired the funds to SDC Designs LLC.

       157.    As yet another example, on December 31, 2013, Mihir Bhansali directed Ajay

Gandhi to wire $1.2 million from FDI to Sangam Diamonds Corp. to pay off an invoice issued to

Shadow Entity Fancy Creations. On January 8, 2014, Gandhi forwarded Bhansali’s December 31,

2013 email to Hemant Bhatt, stating “I paid $1.24m on 12/31/13 to Fancy per attached. This funds

never came back hence I will pay $575k today. Please call me if needed.”

       158.    On May 25, 2018, an accountant at Marks Paneth emailed Sridhar Krishnan a

request for information relating to SDC Entities’ customers with outstanding A/R balances more

than 90 days old, including Empire, a Shadow Entity, and Diamlink, a Mehul Choksi-owned

company managed by Neena Sheth and Nehal Modi.

       159.    Sridhar Krishnan could not transfer funds from the SDC Entities’ bank accounts

without Abhay Javeri’s personal authorization. For example, on March 10, 2015, Ajay Gandhi

asked Sridhar Krishnan to provide wire details for potential payments to SDC Designs Inc. and

SDC Designs LLC. Krishnan replied with the bank account information but stated, “Please do not

wire anything this week. Abhay is in Mumbai and no one can approve wires.”

       160.    Moreover, on many occasions, Mihir Bhansali and Ajay Gandhi would

immediately transfer funds received by the U.S. Entities from the Sheth Entities and SDC Entities

to Shadow Entities and Foreign Firestar Entities (including to pay off letters of credit issued to

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Foreign Firestar Entities through HSBC’s L/C Collections service), as they commonly did with

funds received from Shadow Entities and Firestar Entities, but not from bona fide customers.

Specific examples of such transactions are described in Appendix A-153.

       161.    Ajay Gandhi, Saju Poulose, Shyam Wadhwa, and other co-conspirators treated

transactions with the Sheth Entities and SDC Entities as “non-core” as they did with the Shadow

Entity transactions and other transactions linked to the Bank Fraud.

       162.    For example, Ajay Gandhi and Shyam Wadhwa maintained a spreadsheet

summarizing the gross margin for “various divisions” for the 2012 – 2013 fiscal year. The

spreadsheet contained separate columns for “core business” and “large pieces.” The spreadsheet

listed gross sales of $35,035,180 at a 12.03% gross margin for the “core business” column and gross

sales of $17,711,569 at a 5.51% gross margin for the “large pieces” column. The spreadsheet also

contained an itemized list of transactions comprising the $17,711,569 in “larger pieces” sales,

including a total of $7,758,454 in sales to SDC entities, $1,253,254 to Excellent Facets, $1,912,840 to

Pacific, and $3,019,406 to Empire.

       163.    Additional examples illustrating the suspicious accounting practices for

transactions involving SDC Entities and Sheth Entities are described in Appendix A-163.

       164.    Additional suspicious transactions and communications involving the Deepak

Sheth, Neena Sheth, and the Sheth Entities are described in Appendix A-164.

       165.    Additional suspicious transactions and communications involving Abhay Javeri

and the SDC Entities are described in Appendix A-165.

       E.      Laundering of Funds Through Twin Fields and Bailey Banks & Biddle

       166.    Throughout the Relevant Period, tens of millions of dollars in proceeds of the Bank

Fraud were funneled to or through Twin Fields and BBB Group, Inc. (“BBB Group”).




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         167.   On November 4, 2009, Ajay Gandhi, acting on behalf of Synergies, successfully bid

on the intellectual property rights of Bailey Banks & Biddle, an established U.S. jewelry retailer,

at a bankruptcy auction.

         168.   Nirav Modi formed Switzerland-based Diamonds Holdings SA to serve as

Synergies’ nominee to purchase the Bailey Banks & Biddle intellectual property.

         169.   On March 16, 2010, Twin Fields Investments Ltd. (“Twin Fields”) was

incorporated in Delaware. At all relevant times, Purvi Mehta and Deepak Modi indirectly owned

100% of the equity in Twin Fields through two layers of BVI shell companies, including Link High

International (“Link High”).

         170.   On May 13, 2010, BBB Group, Inc., d/b/a as Bailey Banks & Biddle, was

incorporated in Delaware. Twin Fields owned 100% of the equity of BBB Group.

         171.   Diamonds Holdings SA licensed the Bailey Banks & Biddle intellectual property to

Twin Fields, which in turn sublicensed it to BBB Group.

         172.   Mihir Bhansali and Nehal Modi managed and controlled Twin Fields and BBB

Group throughout the Relevant Period as the de jure or de facto directors of Twin Fields and BBB

Group, respectively.

         173.   The law firm that managed registrations for the Bailey Banks & Biddle intellectual

property directed communications to Mihir Bhansali, sent their invoices to Bhansali, and

otherwise treated Bhansali as the representative of Diamond Holdings, Twin Fields, and BBB

Group.

         174.   In 2010, BBB Group opened several retail locations under the Bailey Banks &

Biddle name, which it continued to operate throughout the Relevant Period.

         175.   Between November 2010 and March 2018, approximately $80 million flowed

through Twin Fields. From 2010 to early 2013, Link High was the primary source of funds for the

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Twin Fields’ account, transferring $23,602,660.00. According to Indian authorities, Link High

received millions of dollars of in fraudulent LOU proceeds.

       176.    Between February 2013 and May 2017, Jaffe transferred at least $21,330,000.00 to

Twin Fields. Jaffe maintained relatively small balances in its operating account and did not have

sufficient capital to make large loan payments to Twin Fields. Most of the disbursements from

A. Jaffe to Twin Fields were funded on or around the day of the payments from other sources,

including FDI and known Shadow Entities Pacific Diamonds and Universal Fine Jewelry.

       177.    On or about June 22, 2015, FDI transferred an additional $31,542.28 to Twin Fields.

       178.    Between 2016 and 2017, Shadow Entity Fine Classic, of which Purvi Mehta was the

100% owner, transferred at least $26,864,056.00 to Twin Fields. In an email chain dated January

11, 2017, Mihir Bhansali told Marks Paneth, Twin Fields’s accountant, that Fine Classic was an

overseas company that lent money to Twin Fields to fund BBB Group.

       179.    Between 2011 and 2017, Twin Fields transferred at least $42,748,000 to BBB Group.

BBB Group made no repayments or other transfers to Twin Fields during the Relevant Period.

       180.    The Twin Fields account was closed on February 21, 2018 with a balance of $13,281.

       181.    Mills Menser, the manager of the Bailey Banks & Biddle store in Austin from July

2017 until March 2018, sent Nehal Modi and Mihir Bhansali weekly updates on the businesses’

operations and performance. Bhansali would then pass these updates along to Nirav Modi.

       182.    On May 1, 2018, Mills Menser proposed several options for winding down the

business for Nehal Modi and Mihir Bhansali’s consideration. He concluded by stating he would

“support any decision ownership feels is the best fit for them.”

       183.    Based on, among other things, Purvi Mehta and Deepak Modi’s undisclosed

ownership of Twin Fields through BVI shell companies, the more than $60 million laundered

through Twin Fields from Fine Classic, Link High, and Jaffe, and Mihir Bhansali and Nehal

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Modi’s involvement in its management and operations, it appears that Twin Fields and BBB

Group constituted another front for Nirav Modi and his family’s massive money laundering

efforts.

           F. Detection and Exposure of the Bank Fraud

           184.   In late May 2017, Golkunath Shetty, the PNB employee who approved fraudulent

LOUs for the benefit of Nirav Modi’s companies, retired. In the months leading up to his

retirement, between February and May 2017, Shetty approved nearly 150 new LOUs totaling over

$1 billion to the LOU Entities. These LOUs became due on or around January 25, 2018.

           185.    According to Indian authorities, Nirav Modi and his brother Neeshal Modi fled

India on January 1, 2018, and Ami Modi and Mehul Choksi did so on January 6, 2018 and January

4, 2018, respectively.

           186.   On January 5, 2018, Nirav Modi purchased a London apartment for £7,950,000 in

cash under the name “Richard Beattie” which appears to be an alias or surrogate of Nirav Modi.

Modi was living in this apartment when he was arrested in March 2019. It is was also the

registered office of Diamond Holdings Ltd., a UK company Nirav Modi formed in May 2018.

           187.   On or around January 20, 2018, a representative of one of the LOU Entities asked

PNB to roll-over the 2017 LOU balances into new LOUs. On January 22, 2018, PNB refused to

issue new LOUs without a 100% cash margin deposit, among other requirements. The Modi

representative refused to furnish any margin on the grounds that PNB had never before required

a margin to issue an LOU. PNB immediately began investigating the borrowing practices of the

Modi-Controlled Entities.

           188.   The Bank Fraud has resulted in several investigations and criminal enforcement

actions against Nirav Modi, Mihir Bhansali, and Defendants Ami Modi, Purvi Mehta, Mayank

Mehta, Nehal Modi, Neeshal Modi, and others by Indian governmental authorities, including the

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Central Bureau of Investigation (“CBI”); the Directorate of Enforcement (“ED”); the Income Tax

Department; and the Serious Fraud Investigation Office.

       189.   On January 29, 2018, PNB lodged a criminal complaint against Nirav Modi with

India’s CBI. On February 13, 2018, PNB lodged a complaint against Nirav Modi with India’s ED,

which subsequently attached various movable and immovable properties belonging to Nirav

Modi and various Modi-Controlled Entities.

       190.   On July 3, 2018, PNB filed Application No. 119/2018 in the Debts Recovery

Tribunal No. I at Mumbai (the “Indian Debt Tribunal”) against, inter alia, Nirav Modi and certain

of his family members, each LOU Entity, FIL, and FDIPL.

       191.   In early 2019, Nirav Modi was found living in London under the alias “Edmond

Dantes.”

       192.   On or about March 12, 2019, the Indian government issued an extradition request

to the government of the United Kingdom on the basis of an arrest warrant issued against Nirav

Modi by an Indian court. Modi was arrested in London on or about March 20, 2019 and is

currently incarcerated in London.

       193.   On July 6, 2019, the presiding officer of the Indian Debt Tribunal issued a judgment

against Nirav Modi, Ami Modi, Nehal Modi, Neeshal Modi, Purvi Mehta, the LOU Entities, FIL,

and others based on the following factual findings, among others (capitalized terms in original):

     (i)   Nirav Modi has floated Overseas Companies in Hong Kong and U.A.E. which
           are dummy/shell Companies. The Directors and share-holders of these
           Companies are either ex-employees or employees acting under instructions of
           Nirav Modi.

    (ii)   The Overseas Companies and Hong Kong and Dubai deals with the Firestar
           Group directly or indirectly owned by Nirav Modi who has full control over
           these Companies through the dummy Directors. The Enforcement Directorate
           in its Complaint has recorded that the list of top 8 borrowers and top 8
           suppliers are none else but the ex-employees of Firestar Group and acting and
           implementing the instructions given by Nirav Modi and Mihir Bhansali.

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    (iii)   The fraud has been perpetrated by Nirav Modi in collusion, connivance and
            with the aid and assistance of the group companies i.e. Firestar International
            Limited and Firestar Diamond International Pvt. Ltd. along with their
            affiliates, subsidiaries, Nirav Family Trust, Nirav Modi Family Trust, directors
            and key managerial personnel.

    (iv)    The investigation conducted by the Enforcement Directorate further reveals
            that the dummy Companies were set up in Hong Kong and Dubai along with
            the regular Firestar Group Companies [and] acted as nodes for circular
            transactions to layer and launder money generated by the fraudulent LOUs.

    (v)     [Nirav Modi and his family members] are the mastermind[s] behind the
            perpetration of the fraud. Defendants have laid a complex structure or façade
            involving several layers of partnership Firms, companies and trusts for the
            purposes of perpetrating fraud and to isolate themselves from the liability that
            has arisen from unauthorized LOUs.

    (vi)    All of the aforesaid dates and events reveal the systematic fraud was
            perpetrated by Nirav Modi and moving the US Court for insolvency to avoid
            the liability. Nirav Modi and his accomplishes [sic] have taken prompt steps
            before the US Court to avoid the seizer [sic] and attachment of the properties
            purchased and acquired by Nirav Modi from the proceeds of the fraudulent
            debt.

The Bank Fraud resulted in a total loss to PNB and other banks in excess of $1 billion. As a result

of the Bank Fraud, PNB has asserted claims against each of the Debtors in excess of $1 billion on

the grounds, among others, that a substantial portion of the proceeds of the Bank Fraud were

transferred to or through the Debtors. In addition, the Bank Fraud and its exposure and the

seizure by Indian authorities of Modi-Controlled Entities in India resulted in the collapse of the

Debtors’ businesses and the filing of these chapter 11 cases.




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II.       Criminal Efforts Shortly Before and Following Exposure of the Bank Fraud

          194.    In the weeks leading up to and following exposure of the Bank Fraud in January

2018 when the last LOUs Golkunath Shetty authorized before retiring became due, Nirav Modi,

Mihir Bhansali, Ajay Gandhi, and their co-conspirators shifted their focus to shielding assets from

creditors.

          A. Looting of the Debtors, U.S. Affiliates, and Other Firestar Entities

          195.    Nirav Modi, Mihir Bhansali, Ajay Gandhi, and other co-conspirators diverted

substantial amounts of the Debtors’ cash and inventory to overseas Modi-Controlled Entities in

the weeks leading up to the Debtors’ bankruptcy filing. For example:

        (i)   On or around December 5, 2017, FDI shipped inventory with a declared value
              of $1,632,500.53 to World Diamond.

       (ii)   On January 3, 2018, FDI wired $2,672,389.48 to Pacific. That same day, Jaffe
              wired $530,000 to Pacific. Ajay Gandhi was directly involved in these transfers.

      (iii)   On or around January 23, 2018, FDI shipped 2,319.64 carats of loose diamonds
              with a declared value of $426,320.97 through Malca Amit to Eternal in Hong
              Kong. Ajay Gandhi and Mihir Bhansali were directly involved in this shipment.

      (iv)    On January 25, 2018, FDI wired $910,278.70 to Dubai-based Firestar Diamond
              FZE, which was managed by co-conspirators Kurian Mathews and Satyendra
              Shukla. Ajay Gandhi was again directly involved in this transfer.

       (v)    On January 26, 2018, FDI shipped inventory having a declared value of $85,150
              to Nirav Modi Ltd. in Hong Kong.

      (vi)    On February 6, 2018, FDI wired $1,002,836.77 to FIPL, Jaffe wired $505,610.51 to
              FIPL and Fantasy wired $401,471.08 to FIPL. That same day, Subhash Parab
              emailed Ajay Gandhi, copying Shyam Wadhwa, “Please pay following bills to
              FIPL . . . We have some urgent re-payment from IDBI bank for that [sic] we
              require below bills in IDBI bank[.]”

      (vii)   On or around February 6, 2018, FDI shipped 4,474.15 carats of loose diamonds
              with a declared value of $789,140.42 through Malca Amit to Eternal in Hong
              Kong. Ajay Gandhi was directly involved in this shipment.




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       196.    Additionally, in the weeks leading up to and following the Petition Date, Nirav

Modi, Mihir Bhansali, and Ajay Gandhi caused NMI and FDII to move significant amounts of

cash and inventory overseas where their creditors, including the Debtors, could not reach them.

For example:

     (i)   On December 22, 2017, FDII shipped inventory with a declared value of
           $1,418,549 through Malca Amit to Fancy Creations in Hong Kong.

    (ii)   On January 4, 2018, NMI shipped two packages of inventory, with declared
           values of $585,000 and $65,000, respectively, through Malca Amit to Nirav
           Modi Ltd. in Hong Kong.

   (iii)   On January 5, 2018, FDII shipped inventory with a declared value of
           $167,810.65 through Malca Amit to Firestar Diamond Ltd. in Hong Kong.

   (iv)    On January 10, 2018, NMI shipped inventory with declared value of $108,550,
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.

    (v)    On January 10, 2018, FDII shipped inventory with a declared value of
           $239,871.29 through Malca Amit to Firestar Diamond Ltd. in Hong Kong.

   (vi)    On January 11, 2018, NMI shipped inventory with declared value of $32,370,
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.

   (vii)   On January 15, 2018, FDII shipped inventory with a declared value of
           $781,882.38 through Malca Amit to Firestar Diamond Ltd. in Hong Kong.

  (viii)   On January 16, 2018, NMI shipped inventory with declared value of $943,800,
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.

    (ix)   On January 19, 2018, NMI shipped three packages of inventory, with declared
           values of $273,000, $409,500, and $771,680, respectively, through Malca Amit
           to Nirav Modi Ltd. in Hong Kong.

    (x)    On January 24, 2018, NMI shipped inventory with a declared value of
           $1,075,200 through Malca Amit to FDIPL in India.

    (xi)   On January 25, 2018, FDII shipped inventory with a declared value of
           $1,886,922.67 through Malca Amit to Fancy Creations in Hong Kong.

   (xii)   On January 26, 2018, NMI shipped inventory with a declared value of $198,750
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.




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  (xiii)   On January 29, 2018, NMI shipped inventory with a declared value of $75,050
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.

  (xiv)    On January 30, 2018, FDII shipped inventory with a declared value of
           $570,104.37 through Malca Amit to Firestar Diamond Ltd. in Hong Kong.

   (xv)    On January 31, 2018, NMI shipped inventory with a declared value of $660,500
           through Malca Amit to Nirav Modi Ltd. in Hong Kong.

  (xvi)    On January 31, 2018, FDII wired $2,466,015 and $525,000 to Fancy Creations.
           That same day, Ajay Gandhi forwarded the wire confirmations to Shyam
           Wadhwa and stated, “Please let your vendor know of this payment and clear
           any AR from HK.”

  (xvii)   On February 2, 2018, FDII wired $400,000 to Fancy Creations. That same day,
           Ajay Gandhi emailed Avinash Oza and Kunal Patel, copying Shyam Wadhwa,
           “Please wire $400,000 to Fancy from Capital One – Advance Refund.” Oza
           replied with the wire confirmation.

 (xviii)   On February 13, 2018, NMI shipped inventory with a declared value of
           $154,440 through Malca Amit to Nirav Modi Ltd. in Hong Kong.

  (xix)    On March 6, 2018, FDII shipped inventory with a declared value of
           $4,325,472.34 through Malca Amit to Firestar Diamond Ltd. in Hong Kong.

       197.   Around this time, Mihir Bhansali promised to use the NMI inventory to repay

FDI’s secured creditors, including Israel Discount Bank of New York (“IDB”), after transferring

it to the Debtors to offset NMI’s debts to FDI and Jaffe. IDB’s counsel attempted to enforce this

promise during negotiations regarding the Debtors’ use of cash collateral by seeking to require

the Debtors to collect the amounts owed to them by NMI. As alleged below, however, this never

occurred, and instead, Mihir Bhansali was involved in diverting those assets to Hong Kong,

beyond the Debtors’ reach.

       198.   Between late February and early March 2018, the NMI boutiques in Las Vegas,

Honolulu, Los Angeles, and New York shipped substantially all of their inventory to New York.

The inventory, which had a total value of approximately $40 million, was held in storage by Malca




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Amit because its value exceeded the amount of available insurance coverage on items stored in

the Debtors’ vault.

        199.   Around this time, Mihir Bhansali, Ajay Gandhi, and Angelina Ypma, in their

capacity as directors and officers of Nirav Modi Ltd. (“NMLUK”), the UK-based subsidiary of

NML that operated the London Nirav Modi boutique, were also working together to shut down

the London store and divert its assets to Hong Kong.

        200.   Nitin Dattani of Dattani Chartered Accounts, the London based accounting firm

that had been advising NMLUK since 2016, was also heavily involved in shuttering the London

boutique. Dattani assisted Nirav Modi in forming Diamonds Holdings Ltd., the company Nirav

Modi established while he was hiding out in London. Additionally, as alleged below, in May

2018, Abhay Javeri appointed Nitin Dattani to replace Nehal Modi as manager of Central Park

South 50 Properties LLC, which owned Nirav Modi and Ami Modi’s New York Ritz Carlton

apartment.

        201.   On March 2, 2018, Francois-Xavier Derricks, the manager of the London boutique

sent a letter to Mihir Bhansali and Angelina Ypma in their capacity as directors of NML UK. In

the letter, Derricks acknowledged that Bhansali and Ypma had previously instructed him to

communicate by WhatsApp and private email, but stated that he was “concerned by the recent

lack of information and guidance in relation to the management of the London boutique’s

affairs.”

        202.   On March 4, 2018, Ajay Gandhi instructed Derricks to ship substantially all of the

London boutique’s inventory, a total of 404 pieces of jewelry, having a total value of $5,974,614,

to FDL in Hong Kong. This shipment occurred shortly thereafter.

        203.   On March 11, 2018, Angelina Ypma instructed Ajay Gandhi to ship a fancy pink

diamond ring from NMI to the “H[ong] K[ong] office.” She told Gandhi she had sent him a

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picture of the ring over WhatsApp. Nirav Modi confirmed his approval from his personal email

account, which Ypma copied on her email to Gandhi.

        204.       Around this time, Nehal Modi and Mihir Bhansali brought in Anthony Allicock,

Nehal Modi’s personal friend and former colleague at Diamlink, to “manage the wind down” of

the Hong Kong Firestar Entities. Allicock, a New York retail store manager, had no prior

insolvency or finance experience.

        205.       On March 19, 2018, Anthony Allicock was appointed the sole director of FHL,

NML, and FDL.

        206.       On March 22, 2018, Mihir Bhansali executed corporate resolutions on behalf of

each of the U.S. Affiliates authorizing the U.S. Affiliates to indemnify Mihir Bhansali and advance

his legal costs.

        207.       On March 23, 2018, Mihir Bhansali, as sole director of each U.S. Affiliate, appointed

Jacen Dinoff and Michael Goldman of KCP Advisory Group as directors and President and Chief

Financial Officer, respectively, of each of the U.S. Affiliates.

        208.       On March 26, 2018, Mihir Bhansali and Ajay Gandhi resigned from their positions

with the U.S. Affiliates.

        209.       On April 5, 2018, Angelina Ypma, the global president of the Nirav Modi brand and

a director of FIL, emailed Ajay Gandhi, copying Mihir Bhansali, “Nirav has instructed me to work

with you to move all of NM US inventory (HJ and core back to HK ASAP.) HK will pay Malca in

advance to move the jewels.” In response, Gandhi, copying Jacen Dinoff, Michael Goldman, and

shipping manager Shaneeza Singh, stated that he and Bhansali had resigned from NMI “due to

conflict of interest” and that she should work with Dinoff, Goldman, and Singh to coordinate the

shipments. Gandhi further noted that he and Bhansali were “happy to assist as needed should

[Ypma] hit any bottleneck.”

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         210.   Ypma then instructed Dinoff and Goldman to send her a detailed inventory of

NMI inventory in New York and stated, “We need to ship all products to HK.” Goldman replied

to Singh, “we are NOT shipping anything right now. I will let you know when it is okay to do

this.”

         211.   That same day, Anthony Allicock emailed Goldman and Dinoff, “In my capacity

as Director of Firestar Holdings Limited, I am relieving you of your duties and directorship of the

New York subsidiaries effective immediately. Please confirm in writing your acceptance of the

same.” When interviewed by the Trustee, Allicock indicated that Mihir Bhansali or Nehal Modi

directed him to terminate Goldman and Dinoff, but that he could not recall the details.

         212.   Goldman forwarded the email to Mihir Bhansali and Ajay Gandhi and stated,

“[W]e were attempting to verify with outside parties the position and authority of Anthony

Allicock before sending him almost $7 million of diamonds. We did not move quickly enough for

him and he sent us the email below. Is it your understanding that he has the authority to do this,

and that his declaration is enough to make it official? Upon review of Anthony’s email, do you

also consider our positions and responsibilities to be terminated?” Bhansali replied, “Neither

Ajay nor I will be able to comment on the below.”

         213.   That same day, Anthony Allicock appointed himself sole director and president of

each of the U.S. Affiliates.

         214.   On April 6, 2018, FDII inventory having a total declared value of $6,804,210.49 was

shipped through Malca Amit to Firestar Diamond Ltd. in Hong Kong. This shipment appears to

involve the “almost $7 million” in diamonds Dinoff and Goldstein refused to ship.

         215.   Nehal Modi then approached Mark Motes and Eddy Friedfeld as potential

replacements for Dinoff and Goldman. Mark Motes, the former chief operating officer of

Maryland-based Smyth Jewelers, was a diamond industry veteran. Eddy Friedfeld was a

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turnaround consultant who had managed Diamlink’s out-of-court restructuring in 2015 and 2016.

Nehal Modi had previously worked with both Motes and Friedfeld.

        216.      Mihir Bhansali then interviewed Motes and Friedfeld. He told them he was

looking for two industry professionals he could trust.

        217.      On April 13, 2018, Anthony Allicock, at Mihir Bhansali’s and Nehal Modi’s

direction, appointed Mark Motes the sole director and president, and Eddy Friedfeld the chief

liquidation officer, of each U.S. Affiliate.

        218.      On April 25, 2018, 45 pieces of NMI inventory, with a total declared value of

$6,315,615, were shipped via Malca Amit to NML in Hong Kong. Ajay Gandhi signed the packing

lists included in the shipping instructions.

        219.      On April 30, 2018, 93 pieces of NMI inventory, with a total declared value of

$13,108,072, were shipped via Malca Amit to NML in Hong Kong. Ajay Gandhi signed the

packing list included in the shipping instructions.

        220.      On or around May 3, 2018, FDII inventory with a declared value of $3,200,000 was

moved to Malca Amit to be held in storage.

        221.      Around the same time, Anthony Allicock, Mihir Bhansali, Ajay Gandhi, Angelina

Ypma, and Nitin Dattani were trying to divert NMLUK’s remaining cash to Hong Kong. Gandhi,

Bhansali, and Ypma officially resigned their NMLUK positions on March 12, 2018, but as with

the U.S. Affiliates, their resignations were on paper only and they remained in control of NMUK

and its assets.

        222.      On April 9, 2018, Angelina Ypma instructed Ajay Gandhi and Mihir Bhansali to

“transfer the funds available in Nirav Modi Ltd. in London to Nirav Modi Ltd. in Macau.” On

April 29, 2018, Anthony Allicock asked Ajay Gandhi whether the more than £ 1,000,000 in

NMLUK’s Barclays account had been transferred to Hong King. Gandhi replied that a portion of

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the funds had been wired, but that the account had been blocked. Allicock, Gandhi, Bhansali,

Ypma, and Dattani worked together over the next few weeks to unblock the account so they could

move the remaining funds to Hong Kong.

       223.    On May 4, 2018, Ypma emailed Gandhi and Bhansali, “I shall be coming to NY

from Monday 7 till Thursday 10 May to review the NM inventory. Nirav told me that I can work

with [FDI employee Shanna Singh] to count the inventory . . . Thank you to give me the support.”

Gandhi reiterated that he and Bhansali had resigned from NMI and directed Ypma to work with

NMI’s new management “on the logistics.”

       224.    During Angelina Ypma’s visit to New York in May 2018, Ajay Gandhi and Mihir

Bhansali gave her permission to remove several million dollars’ worth of the inventory in storage

at Malca Amit. According an employee who accompanied Ypma to Malca Amit, Ypma selected

approximately $5 million from various parcels. The pieces Ypma selected were then shipped to

Hong Kong in two shipments.

       225.    First, on May 9, 2018, inventory with a declared value of $2,700,000 was shipped

through Malca Amit to Fancy Creations in Hong Kong. (The Malca Amit documentation listed

FDII as the shipper, but this shipment might have involved NMI inventory as well.)

       226.    Then, on May 15, 2018, 122 pieces of NMI inventory with a declared value of

$2,516,470.79 were shipped to NML in Hong Kong through Malca Amit. Ajay Gandhi signed the

packing list included in the shipping instructions.

       227.    On May 23, 2018, NML “sold” the 122 pieces of NMI inventory to FDL. That same

day, FDL “sold” the same pieces to Shadow Entity Sino Traders. Anthony Allicock signed the

invoices for both of these purported sales. Yet, on June 19, 2018, Allicock told attorneys for the

Hong Kong Firestar Entities that the May 15 shipment was sent from New York without

Allicock’s authorization and asked them to attempt to locate the shipment.

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       228.    Throughout May 2018, Anthony Allicock pressured Eddy Friedfeld and Mark

Motes to ship the remaining NMI and FDII inventory to Hong Kong. They refused to do so until

all of the U.S. Affiliates’ creditors were paid. When Friedfeld and Motes discovered the May 15,

2018 shipment, they demanded that Allicock arrange for the return of the shipment. Allicock

refused.

       229.    On June 1, 2018, at Nehal Modi’s direction, Anthony Allicock terminated Friedfeld

and Motes and appointed Rochelle Miller, another personal friend of Nehal Modi, as CEO and

sole director of each U.S. Affiliate. Prior to her appointment, Rochelle Miller worked as an event

planner and had no jewelry industry, insolvency, management, or financial experience.

       230.    That same day, Anthony Allicock introduced Rochelle Miller to Angelina Ypma.

Allicock and Ypma instructed Miller to retrieve the NMI and FDII inventory from Malca Amit

and ship it to Hong Kong.

       231.    At the time of Rochelle Miller’s appointment, the U.S. Affiliates’ bank accounts

held a total of $1,283,454.05.

       232.     On June 2, 2018, Rochelle Miller, acting in her capacity as director/CEO of NMI,

contacted Malca-Amit to request shipment to Hong Kong of two sets of NMI inventory: 1) 208

pieces at a declared value of $5,063,914.01; and (2) 53 pieces at a declared value of $2,846,545.

Malca Amit refused to do so until it could verify Miller’s authority.

       233.    On September 5 and 7, 2018, after confirming Rochelle Miller’s appointment as

director and CEO of NMI and FDII, Malca Amit released nine parcels containing the remaining

NMI and FDII inventory to the custody of Rochelle Miller.

       234.    Rochelle Miller, on information and belief, at the direction of Nehal Modi, shipped

all of the NMI and FDII inventory to be appraised by Independent Gemological Laboratories

(“IGL”), a purportedly independent diamond grading laboratory. However, according to the

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Samuels examiner’s report, IGL is secretly owned by Mehul Choksi through a BVI shell company.

The Samuels examiner found that Choksi’s secret ownership of IGL permitted Samuels to conceal

from consumers the fact that its jewelry products were not independently evaluated. IGL’s offices

were directly next to Diamlink’s offices.

       235.    On October 2, 2018, IGL’s president Curtis Lowrey advised Rochelle Miller that

IGL had completed its inspection and appraisal of the NMI and FDII inventory, which Lowrey

described as “17 bags and trunks of merchandise.” IGL appraised the NMI and FDII inventory at

a “scrap value” of approximately $1.5 million. Lowrey further noted that, “as this is a ‘fire sale’ .

. . I made deeper discounts than would normally be customary in pricing a closeout inventory.”

Rochelle Miller paid IGL a total of $81,943 from June 2018 to June 2019 from FDII’s and Synergies’

bank accounts.

       236.    Rochelle Miller then purported to sell the NMI and FDII inventory to the “highest

bidders” for a total purchase price of $1,593,550. It appears that most, and possibly all, of the

purportedly arms-length purchasers were surrogates of Nirav Modi and his family.

       237.    For example, under an invoice October 4, 2018, Rochelle Miller sold an unspecified

quantity of “mixed jewelry” to Hong Kong-based Alchemist Global Trading & Consulting Ltd.

(“Alchemist”) for a total price of $420,300. Alchemist was formed on May 16, 2018 and is owned

by Tamer Abou El Ata, who on information and belief, is a personal friend of Nehal Modi.

       238.    Under an invoice dated October 8, 2018, Rochelle Miller sold 296.56 carats of “loose

diamonds” for $605,000 to Diamonds Village USA Corp., the California-based subsidiary of

Dubai-based Diamonds Village DMCC. In July 2018, the owner of Diamonds Village, Naresh

Mehta, was accused of running his own import-export scam using a modus operandi similar to

Nirav Modi. The Firestar Entities’ books and records reflect numerous transactions with

Diamonds Village over the years.

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       239.    On October 9, 2018, Rochelle Miller paid herself a “one-time bonus” of $50,000

from FDII’s bank account. On October 17, 2018, Rochelle Miller wired $75,000 to Anthony

Allicock from Synergies’ bank account. These payments appear to be incentive compensation tied

to Miller’s sale of the FDII and NMI inventory.

       240.    Between June 2018 and June 2019, Rochelle Miller received a total of $807,203 in

compensation, bonuses, and expense reimbursements from the U.S. Affiliates. Miller also paid an

additional $535,763 to Mint Holdings, LLC, a Miami-based “luxury concierge service” company

with ties to the Modi family, for “expense reimbursements” for which she received the benefit.

Miller also paid a company owned by her husband, North Star Land Services, a total of $49,060

for unknown “sales.”

       241.    Rochelle Miller spent the remainder of the U.S. Affiliates’ funds on legal and

financial advisors, taxes, office space leases, director & officer insurance premiums, and other

miscellaneous expenses.

       242.    The systematic diversion of the U.S. Entities’ assets to overseas Modi-Controlled

Entities described in the foregoing paragraphs, in combination with the fraudulent omissions and

misrepresentations Ajay Gandhi and Mihir Bhansali made in the context of these chapter 11 cases,

constituted millions of dollars in actual fraudulent transfers and impaired recovery of loan

receivables of the Debtors and the U.S. Affiliates.

B.     Fraudulent Omissions, Misstatements, and Misrepresentations Made in Connection
       With The Debtors’ Chapter 11 Cases

       243.    On February 26, 2018, the Debtors filed voluntary petitions for relief under chapter

11 of the Bankruptcy Code. During the early weeks of the chapter 11 cases, Bhansali and Gandhi,

as the Debtors’ CEO and CFO, respectively, made fraudulent omissions, misstatements, and

misrepresentations, formally and informally, explicitly and implicitly, to this Court, to the United



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States Trustee, and to creditors, regarding the Debtors’ involvement in the Bank Fraud and their

relationship to various Shadow Entities.

       244.    In his Declaration filed with this Court on February 28, 2018, Bhansali stated under

penalty of perjury, “A list setting forth the twenty (20) largest unsecured creditors, of each of FDI,

[Fantasy] and [Jaffe], excluding those persons who constitute ‘insiders’ under Bankruptcy Code

section 101(31), is attached hereto as Exhibit B.”

       245.    Exhibit B to Bhansali’s declaration, which purported to list the top 20 unsecured

non-affiliated creditors of each Debtor, included: World Diamond as a creditor of FDI in the

amount of $79,918.70; Fancy Creations as a creditor of FDI in the amount of $19,617.50; Tri Color

as a creditor of Jaffe in the amount of $3,356,165.99; Pacific as a creditor of Jaffe in the amount of

$2,922,239.31; Universal as a creditor of Jaffe in the amount of $42,905.00; and Eternal as a creditor

of Jaffe in the amount of $31,645.39. Each of these entities was in fact an insider.

       246.    Moreover, Bhansali led the bankruptcy court and other parties to believe that the

Debtors were not involved in the Bank Fraud and that they were innocently caught up in an

overseas matter. In a declaration filed shortly after the petition date, Bhansali declared under

penalty of perjury: “The Debtors and their dedicated employees have worked tirelessly over the

past week or so to: (i) procure alternate sources of supply, (ii) establish alternate back office and

support service functions; (iii) reassure their vendors and customers that they had no

involvement in the alleged wrongful conduct; and (iv) reassure their customers that they were

committed to carrying on their business and that swift action was being taken to mitigate the

damage caused by the actions in India.”

       247.    On March 27, 2018, the Debtors filed their bankruptcy schedules and statements

of financial affairs (“SOFA”), all of which Ajay Gandhi signed under penalty of perjury. The




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Debtors’ statements of financial affairs contained numerous misstatements, misrepresentations,

and omissions.

       248.    FDI’s SOFA did not list any transfers to Shadow Entities in response to Question

No. 3, which asks for payments made to creditors within 90 days prior to the petition date,

Question No. 4, which asks for transfers of property to insiders of the debtor within 1 year prior

to the petition date, or Question No. 13, which asks for any other transfers made outside the

ordinary course of business within 2 years prior to the petition date.

       249.    In truth, there were substantial transfers by FDI to Shadow Entities that Gandhi

personally directed or otherwise participated in during the relevant periods. For example,

Gandhi did not disclose FDI’s transfers of $483,620.05 and $2,188,769.43 and Jaffe’s transfer of

$530,000 to Pacific on January 3, 2018—only a few weeks prior to the Petition Date. Nor did

Gandhi disclose FDI’s payment of $300,000 to Unique on March 22, 2017, less than a year prior to

the Petition Date.

       250.    Additionally, neither Jaffe’s bankruptcy schedules nor SOFA disclosed any

amounts owed by NMI to Jaffe.

       251.    However, Jaffe’s and NMI’s books and records each reflected an $11,216,467 loan

balance owed by NMI to Jaffe as of the Petition Date, which have not been repaid.

       252.    On March 23, 2018, the Debtors moved for approval of bidding and sale

procedures for the sale of substantially all of their assets under section 363 of the Bankruptcy

Code. On March 29, 2018, the Court approved the Debtors’ bidding and sale procedures.

       253.    On April 20, 2018, the Court appointed John J. Carney as examiner (the

“Examiner”) to investigate the nature and extent of the Debtors’ involvement in the Bank Fraud.

       254.    Shortly after the Examiner’s appointment, the Examiner attempted to interview

Bhansali. Bhansali flatly refused to cooperate. When pressed by the Examiner’s counsel,

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Bhansali’s counsel acknowledged that Bhansali was in communication with Modi as late as

March 15, 2018, and that he and Modi discussed the Debtors’ sale and bankruptcy process. As

alleged above, Ajay Gandhi and Angelina Ypma also communicated with Nirav Modi in March

2018.

        255.   On May 1, 2018, the Debtors adjourned the auction for FDI and Fantasy’s assets

indefinitely. On May 3, 2018, Parag Diamonds, Inc. was the successful bidder for Jaffe’s assets.

        256.   On May 15, 2018, at a hearing to approve the Jaffe sale, the Debtors’ chief

restructuring officer Mark Samson testified that Mihir Bhansali had been in communication with

Nirav Modi between the commencement of the Debtors’ chapter 11 cases and March 15, 2018,

and that Bhansali continued to be involved “on a daily basis” as “a key employee” in the sale

process after that date.

        257.   Following this revelation, the Court asked for the record to be supplemented with

additional detail concerning the nature and extent of Bhansali’s post-petition communications

with Modi, and adjourned the sale hearing to May 23, 2018. On May 19, 2018, the Debtors

withdrew the sale motion without prejudice. (Dkt. 177.) At a hastily-arranged Chambers

conference on May 18, 2018, Bhansali’s counsel advised the Court that Bhansali resigned as

director and officer of the Debtors that same day and that Bhansali refused to submit a declaration

and appear for cross-examination concerning his post-petition communications with Modi.

        258.   On May 17, 2018, Ajay Gandhi sat for an interview with the Examiner’s team. In

that interview, Gandhi stated that the only thing he knew about the Shadow Entities was that

they were Bhansali’s customers. In subsequent interviews, Gandhi continued to insist he was not

aware that any Shadow Entity was owned or controlled by Nirav Modi. When confronted by the

Examiner’s team with emails indicating that Gandhi was aware that numerous Shadow Entities




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were related parties, Gandhi repeatedly maintained he did not remember these emails, nor that

the Shadow Entities were in any way controlled by Modi.

       259.    Additionally, in response to the Examiner’s questions regarding Gandhi’s

involvement in hundreds of millions of dollars in loose diamond transactions, Gandhi told the

Examiner that he merely signed packing slips with no verification of the contents of the shipment,

its valuation, the profitability, or propriety of such transaction.

       260.    Additionally, when the Examiner asked Gandhi whether he ever used his personal

email accounts for Firestar business, Gandhi stated that he did not. In fact, during the Relevant

Period, Gandhi sent numerous emails pertaining to the Debtors and other Modi-Controlled

Entities to and from several personal email accounts.

       261.    On June 14, 2018, the Court approved the Trustee’s appointment, at which time

the Trustee assumed control of the Debtors’ estates and operations.

       262.    On August 7, 2018, the Examiner conducted a deposition of Mihir Bhansali.

Bhansali’s knowledge, intent, and culpability with respect to the Bank Fraud and other misdeeds

alleged in this Complaint can be inferred from the fact that Bhansali invoked his Fifth

Amendment right against self-incrimination in response to every question except his name.

C.     Other Efforts to Cover Up and Frustrate Investigation of the Bank Fraud

       263.    Nirav Modi, Bhansali, and Gandhi, and their co-conspirators researched and

implemented various tactics to conceal and destroy evidence of their involvement in the Bank

Fraud both prior to and after the Bank Fraud’s exposure.

       264.    Pradeep Mhatre, a member of FIPL’s information technology department, told

Indian authorities that in 2010 or 2011, Mihir Bhansali instructed him to set up a secret closed

email server in the Dubai office using the domain “panemail.com.” The Panemail server restricted

emails from being sent to or received from outside email servers, nor was it possible to download

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emails and attachments from the server. The server was limited to 25 – 30 users, including Nirav

Modi, Mihir Bhansali, Ajay Gandhi, Neehsal Modi, Hemant Bhatt, Aditya Nanavati, Shyam

Wadhwa, Satyendra Shukla, Kurian Mathews, and Sridnar Krishnan. Mihir Bhansali instructed

and approved adding users to the server.

       265.    Mhatre further told Indian authorities that, in 2017, Bhansali instructed him to

create a new secret server on the domain “cricketnow.live” with restrictions similar to the

Panemail server. This server automatically deleted emails after one week. In this server, users

were assigned generic IDs such as “user1, DOE1, DOE2, DXB1, HK1, etc.” to enhance secrecy.

       266.    On February 13, 2018, an attorney at Day Pitney LLP emailed Ajay Gandhi to

suggest that bank statements for CPS50, which owned the 50 Central Park South property, be sent

directly to Abhay Javeri as manager of CPS Properties LLC. Gandhi forwarded the email to

“ajaycpa@yahoo.com”, which upon information and belief is Gandhi’s personal email address,

and stated, “Niravbhai, OK to have CPS 50 Properties LLC bank statement from Citibank sent to

Abhay Javeri to his email address or Abby’s mailing address?” The fact that Gandhi addressed

this email to “Niravbhai” shows that Nirav Modi and Ajay Gandhi were using Gandhi’s personal

email account to communicate in the weeks following the exposure of the Bank Fraud.

       267.    Similarly, on March 13, 2018, Ajay Gandhi sent his own Yahoo email account an

email addressed to “Niravbhai” summarizing transactions in and out of NMLUK’s Barclays Bank

account for Modi’s review, including a £2,000,000 deposit from Nirav Modi personally on January

29, 2018. As alleged below, only a few weeks earlier, Nirav Modi purchased a £7,950,000 London

apartment after fleeing India.

       268.    Ajay Gandhi also coordinated with Purvi Mehta during this time. On February 16,

2018, Purvi Mehta emailed Ajay Gandhi, “Where can I reach u on WhatsApp?” Gandhi replied

with his personal phone number.

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       269.   On March 11, 2018, Ajay Gandhi ran internet searches on the Adelphia

Communications fraud case and related bankruptcy. These searches included: “how did adelphia

get caught”; “how rigas family were caught in the fraud of adelphia”; and “how adelphia fraud

was discovered?”

       270.   On March 9, 2018, Bhansali visited an internet article entitled “14 Signal App Tips

for Secure Chats,” which described tips for sending and erasing secure communications through

Signal, an end-to-end encryption application.

       271.   On March 12, 2018, Mihir Bhansali visited an internet article entitled “How to

Clear Your Cache on Any Browser.” The article described methods of deleting internet browsing

history on various web browsers. That same day, Bhansali visited an internet article entitled

“How to Hack Wi-Fi Passwords.” This article described methods of obtaining access to wireless

networks without the required password.

       272.   Mihir Bhansali’s laptop contained a software program called “Hide My Ass! Pro

VPN.” Upon information and belief, the purpose of this program is to facilitate anonymous

internet usage through virtual private network technology. The software’s logs indicate that the

program was used as recently as February 11, 2018.

       273.   Bhansali’s laptop also contained a program called SecurStar DriveCrypt. Upon

information and belief, the purpose of this program is to encrypt data on computers.

       274.   As alleged above, Bhansali created what appears to be a “to-do” list for the various

co-conspirators following exposure of the Bank Fraud. The list included instructions to “Send all

non-Firestar Dubai comps to HK.” Upon information and belief, “comps” refers to “computers.”

       275.   According to statements made by various Firestar Entity and Shadow Entity

directors and employees to Indian authorities, around February or March 2018:




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    (i)   Nehal Modi and Mihir Bhansali removed approximately 50 kilograms of gold
          and 2.5 Lac Dirhams (worth approximately $68,000) from a Dubai-based
          Firestar Entity;

   (ii)   Neeshal Modi diverted diamonds from Dubai-based Modi-Controlled Entities
          to Hong Kong.

  (iii)   Nehal Modi removed over $6 million in diamonds and 150 boxes of pearls
          from one of the Hong Kong-based Modi-Controlled Entities. In the “to do” list
          spreadsheet recovered from Mihir Bhansali’s computer, the tasks listed under
          “MB” included “Pearls – where to keep the inventory?” and “Pearls – original
          purchase entries.”

  (iv)    Mihir Bhansali, Nehal Modi, and Nirav Modi intimidated and coerced
          directors and employees of Shadow Entities not to cooperate with
          investigative authorities. For example, Ashish Lad, a director of Shadow Entity
          Unity, told Indian authorities that Nirav Modi threatened to kill or falsely
          implicate Lad if he revealed anything to the investigative authorities.

   (v)    Nehal Modi destroyed cell phones of Shadow Entity directors. He told the
          directors that their “mobile phones are easy to track and they are evidence.”
          Modi also oversaw the destruction of accounts, records, and servers of various
          Modi-Controlled Entities.

  (vi)    Nehal Modi bribed Ashish Lad with INR 2,000,000 (approximately $28,000) to
          give false testimony to judicial authorities in Europe.

  (vii)   Nirav Modi told Shadow Entity personnel that “it was not safe for [them] in
          Dubai and [they] must shift to Cairo[, Egypt.]” Once in Cairo, Modi, or others
          operating at his behest, confiscated the Shadow Entity personnel’s passports
          “on the pretext of some residency permission.”

 (viii)   Nirav Modi, or others operating at his behest, instructed Shadow Entity
          personnel to sign affidavits before they left Cairo stating that the Shadow
          Entities were owned by the directors and were in no way related to Nirav
          Modi.




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D.     Money Laundering to Modi Family Members Prior to Exposure of the Bank Fraud

       276.    As early as 2014, Nirav Modi and his co-conspirators began developing plans to

“restructure” the Firestar Entities’ global corporate structure in contemplation of an eventual

initial public offering. The initial public offering appeared to be their exit strategy from the fraud

scheme.

       277.    The planned restructuring served the dual purpose of (a) sanitizing any trace of

the Modi family’s self-dealing during the Relevant Period from the Firstar Entities’ books and

records and ownership structure, and (b) providing a pretext for funneling assets to Ami Modi

and Purvi Mehta.

       278.    For example, one issue the planned restructuring aimed to resolve was the

dubious record of Synergies’ capitalization and ownership.

       279.    Synergies was originally formed in April 2007 to serve as the purchaser entity in

connection with the acquisition of Jaffe later that year.

       280.    On October 11, 2007, Mihir Bhansali and Ajay Gandhi executed a stock certificate

reflecting FIPL as the holder of 10,000 shares in Synergies.

       281.    Between October 20, 2010 and March 11, 2011, Nirav Modi personally transferred

a total of $14,575,000 to Synergies, which Synergies used to pay off purported loans from FIPL.

The “loans” from FIPL consisted of earlier circular transactions in which FIPL wired funds to

Synergies and Synergies immediately wired the funds back to FIPL, or in on other instances, to

FDIPL, Brilliant, Eternal, or other Modi-Controlled Entities.

       282.    On October 1, 2016, even though FIPL remained the sole owner of Synergies, Nirav

Modi and FHL entered into an Agreement for Purchase of Shares in Synergies Corporation under

which Nirav Modi, in his personal capacity, purported to sell 100% of the outstanding shares of



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Synergies to FHL in exchange for a price of $100. The agreement was signed by Mihir Bhansali

and Ajay Gandhi on behalf of Synergies, by Nirav Modi on his own behalf and by FHL’s then-

director Himanshu Trivedi. That same day, Mihir Bhansali and Ajay Gandhi executed a stock

certificate reflecting FHL as the holder of 10,000 shares in Synergies.

       283.      In December 2016, Nirav Modi assigned to Purvi Mehta his interest in the

$14,575,000 Synergies “loan” under an assignment agreement retroactively dated as of April 1,

2012. This assignment was described as a gift in numerous emails. As alleged below, in July 2017,

Synergies ultimately used a purported capital infusion from FHL to pay off the loan to Purvi

Mehta as part of a broader diversion of funds to Mehta under the guise of the broader

restructuring.

       284.      Another aspect of the restructuring was developing a means to divest CPRE,

which was the record owner of Nirav Modi and Ami Modi’s personal residence in New York, so

that those properties could not be reached by creditors.

       285.      CPRE was formed under Delaware law on February 15, 2007. On March 26, 2007,

CPRE purchased an apartment at the Essex House, 160 Central Park South in New York City (the

“Essex House Apartment”) for $4.995 million, of which FDII paid $2 million. The balance was

funded by HSBC, which was granted a mortgage on the Essex House Apartment. Bhansali signed

the deed on behalf of CPRE. CPRE was owned by FDI until approximately the end of 2009, when

FDI transferred it to FGI. The Essex House Apartment was used by Nirav Modi and Ami Modi

as a personal residence.

       286.      At all relevant times, Mihir Bhansali and Ajay Gandhi served as the manager and

treasurer, respectively of CPRE.

       287.      On December 5, 2014, Ajay Gandhi emailed Howard Hoff of Marks Paneth, asking

for input on “[1] Potential Sale or Gift of Central Park LLC to Ami Modi (Nirav’s wife) who is a

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US Citizen [and 2] Moving Firestar Diamond, Inc. / Fantasy, Inc. from Firestar Group’s umbrella

to an overseas Firestar entity . . .”

        288.    On February 22, 2015, Ajay Gandhi emailed Howard Hoff, copying Mihir

Bhansali, a spreadsheet analyzing various scenarios for selling FDI and CPRE. The spreadsheet

included as questions: “Trust set-up by Purvi Modi –HK Resident[.] HK Trust funds Nirav Modi

via Gift or Loan[.]” Hoff replied, “Please be more specific on the trusts [sic] involvement in the

transaction. Is it just going to loan the money or is it going to have ownership prior to an eventual

transfer. What type of trust is it, who are the beneficiaries? Is it Purvi’s trust or is Purvi the

executor, what country is Purvi a resident and a citizen of?” Gandhi replied, “Purvi is a HK

resident and she will be owner of the trust unless you have a better thought or ideas to have Ami

fund the purchase.”

        289.    On March 4, 2015, Ajay Gandhi outlined the steps for moving CPRE beyond the

reach of creditors in an email to Raghu Iyer, “1. Move $1.8m and $3m of other liabilities from

CP[RE] to Firestar Group, Inc. thru J[ournal]E[ntrie]s . . . Only HSBCs $3m liability will be left. .

. . Ami needs to wire $1.935m at the closing to buy CP[RE]. . . . Ami will get Gift in USA from

Purvi . . . $1.935m will now be used to pay off FGI debts (Firestar Diamond, Inc.) . . . Need clarity

from Howard if how much funds should come from Firestar Holdings Ltd HK to buyout Firestar

Diamond/Fantasy, Inc. and how to move funds back to HK or somewhere.”

        290.    On March 31, 2015, Raghu Iyer asked Ajay Gandhi for a status update on the

restructuring. Gandhi replied, “Not sure if you spoke to Shyam Wadhwa as he does not want to

speed-up change of ownership as he has issues of how to create capital in FS, HK and issues with

bank covenants in HK hence he suggest to do as late as possible in 2015-16.” Raghu replied,

copying Mihir Bhansali, “Mihir[,] I was not aware of these issues[.] Can you take it up with

NDM?” Bhansali replied, copying Wadhwa, “Mr. Wadhwa has already spoken to Nirav.”

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       291.    Thus, the restructuring plans were put on hold until sufficient funds were

available to effectuate all of the necessary transactions.

       292.    The restructuring planning ramped up in late 2016, likely prompted by the

looming retirement of Gokulnath Shetty, the PNB employee who approved the fraudulent LOUs

to Nirav Modi’s and Mehul Choksi’s entities, which occurred in May 2017.

       293.    On November 3, 2016, Manish Modi emailed Ajay Gandhi a request for a status

update and asked “[F]or CPRE, does Nirav Bhai have to pay money to CPRE (via Ami Modi)[?]

That cash flow has to be planned.” Gandhi replied, “Spoke to Howard. If Ami Modi buys CPRE

and assumes $3m of HSBC loan then she needs to pay $2m for CPRE assuming valuation of $5m.”

       294.    On November 14, 2016, Gandhi emailed HSBC, “We are planning change of

ownership of Central Park Real Estate, LLC, which [is] currently owned by Firestar Group, Inc.,

to Ami Modi (She is US Citizen and wife of Nirav Modi). No other changes to existing agreement.

Anything to be done?”

       295.    For the next several months, HSBC repeatedly requested additional information

relating to the ownership structure of CPRE and other Firestar Entities and the source of Purvi

Mehta’s wealth.

       296.    When Gandhi told Nirav Modi about HSBC’s requests, Gandhi said he “avoided

giving these [sic] information and told them that we may do restructuring of Central Park and

may change ownership etc.” but that the “only way we can avoid is only if we pay-off the $ 3 m

mortgage in next few months.” Modi responded, “There will be a change in ownership in May

end so better to explain that.”

       297.    The laundering of funds through the Firestar Entities’ corporate restructuring

involved several steps. First, various British Virgin Island, Cayman Island, and Mauritius shell




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companies secretly owned by the Modi family would invest up to $75 million in FIPL. FIPL would

then make a $115 million capital contribution to FHL.

        298.     Of this $115 million, FHL would use $65 million to redeem non-voting FHL shares

owned by Purvi Mehta (both personally and through Fine Classic), $23 million to repay various

loans from Purvi Mehta and Fine Classic, and $20 million to infuse capital in Synergies.

        299.     Synergies would then use $14,575,000 of the new capital to “repay” Purvi Mehta

for the “loans” Nirav Modi originally made to Synergies in 2010 and 2011 and subsequently

assigned to Purvi Mehta in 2016.

        300.     To secure the additional funding needed for these transactions, Nirav Modi and

his co-conspirators obtained 150 LOUs totaling over $1 billion between February and May 2017.

        301.     The “investment” in FIPL also used funds siphoned from Shadow Entities in

earlier years.

        302.     For example, in November 2013, Shadow Entity had Pacific transferred

$30,000,000 to Mayank Mehta, Purvi Mehta’s husband. These Shadow Entity payments to

Mayank Mehta were characterized as “payouts” or “shareholder dividends.”

        303.     Mayank Mehta transferred the $30 million received from Pacific in November 2013

to Purvi Mehta as a gift. Purvi Mehta then used these funds as collateral for loans to Radashir, a

Modi-Controlled Entity in India that also participated in the Bank Fraud, until 2016 when the

funds were returned to Purvi Mehta. Purvi Mehta then moved $23 million to her account in

Mauritius.

        304.     Between December 14, 2016 and January 12, 2017, Fine Classic transferred a total

of $25,700,500 to Purvi Mehta’s Mauritius account. According to Kurian Mathews, Shyam

Wadhwa, and Nilesh Mistry, who oversaw Fine Classic’s day-to-day finances and operations, the

circular import and export transactions between Fine Classic and other Shadow Entities were

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structured so as to generate deliberately high profit margins for Fine Classic, with corresponding

losses in other Shadow Entities. According to the India ED, Fine Classic received approximately

$89 million from other Shadow Entities from 2011 to 2017.

       305.    Purvi Mehta then transferred $40 million from her Mauritius bank account to

Novelar International Holdings Ltd. (“Novelar”), a BVI entity of which she is the ultimate

beneficial owner.

       306.    Novelar owns Islington International Holdings Pvt. Ltd., a Singapore-based entity.

In January or February 2017, Novelar transferred $40 million to Islington. Around this time, Purvi

Mehta also transferred $425,000 directly into Islington. In February 2017, Islington invested $45

million, including the funds received from Novelar and Purvi Mehta, in FIPL.

       307.    Thus, by February 2017, $45 million in purported new investments had been

indirectly made by Purvi Mehta in FIPL using the proceeds of the Bank Fraud.

       308.    On March 22, 2017, Bhansali and his wife purchased apartment 24A at 50 Riverside

Boulevard in New York City for approximately $7.1 million, of which approximately $5.3 million

was paid in cash. Just weeks earlier, Mihir Bhansali had received a $1.5 million wire into his

personal HSBC checking account from Purvi Mehta on February 24, 2017. Bhansali’s annual

salary from the Debtors was approximately $154,000. On June 29, 2017, Purvi Mehta wired

another $750,000 to Mihir Bhansali’s personal checking account at HSBC.

       309.    Only two days after the Debtors filed for bankruptcy, Bhansali transferred his

interests in the apartment to his wife, Rakhi Bhansali for nominal consideration.

       310.    Based on, among other things, the timing of these transactions and Purvi Mehta’s

role as a primary conduit for proceeds of the Bank Fraud, it appears this apartment was

purchased using proceeds of the Bank Fraud.




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       311.   According to Indian authorities, Purvi Mehta also purchased a new Hong Kong

apartment for herself in April 2017 for 19.5 crore INR (approximately $2.7 million). Neeshal Modi

signed the agreement on Purvi Mehta’s behalf under a power of attorney certified by the Indian

consulate of Hong Kong.

       312.   In March 2017, Nirav Modi and Ami Modi also were looking to purchase another

New York residence for $25$30 million. They initially planned to purchase a unit at the River

House, a cooperative apartment building located at 435 E. 52nd Street in Manhattan.

       313.   In May and June 2017, Purvi Mehta, “loaned” Ami Modi a total of approximately

$34 million to fund the River House purchase.

       314.   According to the India ED, at least $18 million of the funds Purvi Mehta loaned to

Ami Modi in May 2017 were sourced from transfers to Purvi Mehta by Fine Classic, the Shadow

Entity Purvi Mehta directly owned and controlled, between March 7, 2017 and April 27, 2017.

Between July 9, 2017 and October 4, 2017, Fine Classic wired an additional $16,300,000 to Purvi

Mehta from various accounts.

       315.   When the River House sale fell through in mid-June 2017, Nirav Modi and Ami

Modi turned their attention to an apartment at the Ritz Carlton located at 50 Central Park South

in Manhattan (the “Ritz Carlton Apartment”).

       316.   On July 7, 2017, Purvi Mehta entered into a contract to purchase the Ritz Carlton

Apartment for $25 million. That same day, Ami Modi wired, as a down payment, $2.5 million of

the funds Purvi Mehta had transferred to her in May and June 2017 to a Katz & Matz LLP escrow

account. Ami Modi and Purvi Mehta accounted for this transfer as a “partial repayment” of the

loan from Purvi Mehta.




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       317.   That same day, accountant Howard Hoff at Marks Paneth LLP summarized the

planned transaction in an email to Nirav Modi and the Modi family’s trust & estate counsel at

Day Pitney LLP and their real estate counsel Katz & Matz LLP as follows:

           Entity Establishment:
           1) Create a NY LLC owned by Purvi. This will be the purchaser of the
              condo. Timing is a few to days to open.
           2) Once the trust is established, Purvi will transfer/assign ownership
              of the LLC to the trust (Timing is a few weeks since the trust
              agreements are almost complete)

           Flow of Funds:
           1) Purvi will instruct Ami to partially repay the loan she made to her
              directly to Steven [Matz]’s escrow account on behalf of the LLC.
              (This will happen tomorrow)
           2) Ami will then repay the remainder of the loan to Purvi overseas.
           3) Purvi will have to wire directly to Steven’s escrow account the
              balance due on the condo in order to close.

       318.   On July 11, 2017, Defendant CPS50 was formed and, on August 2, 2017, its

operating agreement was executed with Purvi Mehta as sole member and Nirav Modi’s uncle

Deepak Sheth as its manager.

       319.   On July 10, 2017, Synergies and FIPL entered into a Stock Purchase Agreement

under which Synergies purchased 100% of the outstanding common stock of FGI for a price of

$3,694,000. Ajay Gandhi signed the agreement on behalf of Synergies.

       320.   On July 13, 2017, FHL wired a $20,000,000 “capital infusion” to Synergies. The

same day, Synergies wired $650,000 to Jaffe (which Jaffe used to pay off invoices from FIPL),

$1,047,000 to Brilliant (as repayment of a purported loan), $3,694,000 to FIPL (as the purchase

price for FGI, which Synergies acquired as part of the 2017 “restructuring”), and $14,575,000 to

Purvi Mehta. The $14,575,000 payment to Purvi Mehta (the “Synergies-Mehta Transfer”) was

made under the pretext of paying off the loan Modi had assigned to Mehta.




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       321.     On July 14, 2017, FHL wired another $20 million to Purvi Mehta for redemption of

her non-voting preference shares in FHL. Thus, over a two-day period, more than $34 million in

proceeds of the Bank Fraud were wired to Purvi Mehta.

       322.     On or around August 23, 2017, Purvi Mehta, as settlor, executed an instrument

(the “Ithaca Trust Agreement”) creating the Ithaca Trust as an irrevocable trust under Delaware

law.

       323.     The   Ithaca   Trust   Agreement     named    Commonwealth       Trust   Company

(“Commonwealth”) as the trustee (the “Ithaca Trustee”), Ami Modi and her children as the

beneficiaries, and Deepak Sheth as the initial protector (the “Ithaca Protector” or “Protector”) of

the Ithaca Trust. It also named Purvi Mehta and Nirav Modi’s parents, Deepak Modi and Pragnya

Modi, and cousin, Mihir Bhansali, as residual beneficiaries for any “property not otherwise

distributed.”

       324.     Under the terms of the Ithaca Trust Agreement, the Ithaca Trustee cannot invest

or manage any of the Ithaca Trust’s assets without the express written direction of the investment

advisor of the Ithaca Trust (the “Ithaca Investment Advisor” or “Investment Advisor”)

       325.     Under the terms of the Ithaca Trust Agreement, the Protector has the power to,

among other things: (a) remove and appoint the Ithaca Trustee; (b) remove and appoint the

Investment Advisor; (c) terminate the Ithaca Trust; (d) change the situs of the Ithaca Trust; (e)

amend administrative provisions of the Ithaca Trust Agreement; (f) add or exclude beneficiaries;

and (g) designate a successor to replace the Protector in the event the Protector resigns or is

removed.

       326.     Under the terms of the Ithaca Trust Agreement, if at any time there is no Protector

serving and no successor named who accepts appointment within 30 days of the occurrence of

the vacancy, Abhay Javeri shall be the Protector. If Abhay Javeri is unable or unwilling to serve

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as Protector, a Protector may be appointed by Purvi Mehta or, if Purvi Mehta is not available or

is deceased, by Ami Modi.

         327.   Under the terms of the Ithaca Trust Agreement, an appointment of a Protector may

impose qualifications or requirements or specify terms and conditions to be fulfilled prior to such

appointment taking effect.

         328.   Under the terms of the Ithaca Trust Agreement, Nirav Modi has the power to

unilaterally remove the Protector. If Nirav Modi “is not available or is deceased,” Purvi Mehta

inherits this power. If Purvi Mehta “is not available or is deceased,” Ami Modi inherits this

power.

         329.   Since Nirav Modi has the power to remove the Ithaca Protector, which in turn has

virtually complete control over the Ithaca Trustee, the Ithaca Investment Advisor, the Ithaca Trust

Agreement, and the Ithaca Trust’s assets, Nirav Modi enjoys de facto total control over the Ithaca

Trust and its assets.

         330.   On or around August 23, 2017, Deepak Sheth signed and delivered to the Ithaca

Trustee separate letters: (a) accepting his appointment as the Ithaca Protector; (b) appointing

himself as the Ithaca Investment Advisor; and (c) accepting his appointment as the Ithaca

Investment Advisor.

         331.   On August 24, 2017, Nirav Modi advised Day Pitney that “the funds are in place

with Purvi” and asked for wire instructions for Commonwealth’s fiduciary account for the Ithaca

Trust.

         332.   On August 25, 2017, Purvi Mehta, on her own behalf, and Deepak Sheth, as

manager of CPS50P LLC, executed an agreement under which Mehta assigned her interest in the

Ritz Carlton sale contract to CPS50P LLC.




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       333.    On August 28, 2017, Deepak Sheth, in his capacity as Investment Advisor of the

Ithaca Trust, signed and delivered a letter directing Commonwealth as Ithaca Trustee to: (a)

accept an assignment from Purvi Mehta of the 100% membership interest in the CPS50; (b)

execute an Amended and Restated Operating Agreement for CPS50; and (c) make an initial

capital contribution in the amount of $23,000,000 to CPS50 by wiring that amount to the Katz &

Matz LLP escrow account to fund the purchase of the Ritz Carlton Apartment.

       334.    That same day, Deepak Sheth, in his capacity as manager of CPS50, executed

CPS50’s amended and restated operating agreement.

       335.     On August 29, 2017, Purvi Mehta assigned the membership interest in CPS50 to

the Ithaca Trust.

       336.    On August 30, 2017, Modi emailed Day Pitney attorneys and other professionals

informing them that $23 million had been wired from Mehta to Commonwealth and directing

Commonwealth to further wire the funds to attorneys at Katz & Matz to execute the purchase of

the Ritz Carlton Apartment. Mehta was not on the email thread.

       337.    Also on August 30, 2017, Katz & Matz attorney Steven Matz emailed Nirav Modi

and others with instructions for the September 7, 2017 closing of the Ithaca Trust’s purchase of

the Ritz Carlton Apartment. Once again, Mehta was not on the email thread.

       338.    On August 31, 2017, Mehta transferred $23 million to Commonwealth, as trustee

of The Ithaca Trust. Commonwealth then transferred those funds to the Katz & Matz escrow

account, where they were subsequently used to buy the Ritz Carlton Apartment.

       339.    On September 1, 2017, Ami Modi returned $25 million of the funds Purvi Mehta

had “loaned” to her in May 2017 (which had been sitting in Ami Modi’s HSBC bank account) to

Purvi Mehta.




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       340.   On September 6, 2017, Katz & Matz issued a $22,567,465.92 check to the sellers of

the Ritz Carlton Apartment in connection with the closing of the sale.

       341.   On September 25, 2017, Ami Modi wired another $6,500,000 to Purvi Mehta as a

purported loan repayment.

       342.   On September 29, 2017 FHL wired $8,860,000 to Purvi Mehta as a “loan

repayment.”

       343.   On October 5, 2017, Ami Modi received $70,000 from Mihir Bhansali and wired

another $406,188 to Purvi Mehta as a purported loan repayment.

       344.   On October 18, 2017, FHL wired $30,000,000 to Purvi Mehta to redeem non-voting

preference shares.

       345.   On November 10, 2017, FHL wired $15,000,000 to Purvi Mehta to redeem non-

voting preference shares. Thus, from September through November 2017, approximately

$85,000,000 in proceeds of the Bank Fraud were transferred to Purvi Mehta.

       346.   In December 2017, Ajay Gandhi opened a CitiBank account for CPS50. Gandhi

listed himself as “president” of CPS50 in the application materials. Ajay Gandhi and Abhay Javeri

served as the authorized signors on the account.

       347.   On November 8, 2017, Deepak Sheth, as Ithaca Investment Advisor, directed

Commonwealth, as Ithaca Trustee, to remove Deepak Sheth as manager, president, and chief

executive officer of CPS50 and appoint Abhay Javeri as his replacement in those positions. That

same day, Deepak Sheth also resigned as investment advisor (but not protector) of the Ithaca

Trust and appointed Abhay Javeri as his replacement.

       348.   With the Ritz Carlton Apartment transaction complete, Nirav Modi and his co-

conspirators returned their attention to divesting FGI’s ownership of CPRE and the Essex House

Apartment.

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       349.     On December 4, 2017, by email, Nirav Modi told Ajay Gandhi to pay off the HSBC

mortgage on the Essex House Apartment in full.

       350.     Gandhi contacted HSBC indicating that there was an urgent need to for the Ithaca

Trust to assume the mortgage on the Essex House and transfer the liability from FGI to the Ithaca

Trust. Gandhi soon determined the mortgage could not be transferred quickly enough and

decided instead to arrange to have the mortgage paid off completely.

       351.     On December 5, 2017, Gandhi wired $3 million from FDI to HSBC in satisfaction

of HSBC’s mortgage on the Essex House using funds originally from Jaffe and Fantasy as well as

from FDI’s own account and from an HSBC line of credit.

       352.     In addition to the mortgage payoff, FDI had made at least $856,335 of the monthly

payments on the Essex House Apartment mortgage between 2011 and 2018, and also paid JW

Marriott Essex House NY $15,828.35 in January 2018, after CPRE was transferred from FGI to the

Ithaca Trust.

       353.     With the mortgage retired, Nirav Modi asked Marks Paneth and Day Pitney to

devise a strategy to transfer the unencumbered property (worth approximately $6 million) to the

Ithaca Trust.

       354.     On December 15, 2017, one of Modi’s accountants emailed Modi with three

potential options for minimizing transfer taxes on “the movement of CPRE.” The first option was

for Nirav Modi to purchase CPRE directly from FGI, the second for Ami Modi to purchase CPRE

directly, and the third was using the Ithaca Trust to make the purchase after Purvi Mehta

contributed more cash to the trust. The accountant explained that, “since [Modi] prefer[red] to

fast track the transaction,” the existing trust could be used and then the trustee could “move the

LLC to another trust in due time.” The trust would use the funds from Purvi Mehta to purchase




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CPRE from FGI, thus becoming the indirect owner of the Essex House Apartment. Modi chose

the third option.

       355.    On December 27, 2017, Abhay Javeri, as Ithaca Investment Advisor, signed and

delivered to Commonwealth as Ithaca Trustee a letter of direction instructing Commonwealth to

“become the sole member of [CPRE] by purchasing a 100% membership interest in [CPRE] for

$6,000,000.”

       356.    On December 28, 2017, Ajay Gandhi, on behalf of FGI, as treasurer, and on behalf

of CPRE, as chief financial officer, and Commonwealth, as Ithaca Trustee, executed the agreement

for the sale of CPRE to the Ithaca Trust.

       357.    On December 29, 2017, Nirav Modi emailed professionals from Day Pitney and

Marks Paneth and others to announce that “[t]he funds have been wired value today.”

       358.    The funds did not clear Purvi Mehta’s Singapore bank account until January 1,

2018. The Ithaca Trust then wired $6 million to FGI’s HSBC account for the purchase of CPRE.

FGI then transferred the equity interests in CPRE to the Ithaca Trust (the “CPRE Equity

Transfer”).

       359.    On January 17, 2018, after the Ithaca Trust purchased CPRE LLC, Ajay Gandhi

consulted Day Pitney about transferring additional funds to the Ithaca Trust for use in connection

with the Essex House Apartment and Ritz Carlton Apartment.

       360.    Day Pitney lawyers told Ajay Gandhi, Nirav Modi, and Purvi Mehta that “to fund

either of the LLC accounts, the funds will first have to be transferred to the Ithaca Trust account,

and Abhay Javeri, as Investment Advisor of the Ithaca Trust, will have to direct the trustee

accordingly.” Immeke Schmidt of Day Pitney followed up, “Purvi, as settlor of the trust, would

fund the trust with her own assets from a non-US account in her name.” Nirav responded, asking




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for the instructions to wire funds to the Ithaca Trust, which a Day Pitney attorney provided in

response.

        361.    On January 17, 2018, Ajay Gandhi, on behalf of CPS50, executed an agreement with

Izeu, a French interior design firm, under which Izeu provided interior design services for the

Ritz Carlton Apartment.

        362.    On January 18, 2018, $1 million was wired from Purvi’ Mehta’s Singapore bank

account to Commonwealth. That same day, Abhay Javeri, as investment advisor of the Ithaca

Trust, sent Commonwealth a letter instructing Commonwealth to make a $1 million capital

contribution to CPS50. The next day, Commonwealth wired $1 million to CPS50’s Citibank

account. That same day, an international wire in the amount of $84,665.25 was made from CPS50’s

Citibank account to Izeu. On February 13, 2018, an additional $237,176.75 was wired

internationally to Izeu.

        363.    By March 2018, Commonwealth had flagged the Ithaca Trust as a “high risk trust”

and internally expressed concern about serving as Ithaca Trustee. On March 13, 2018,

Commonwealth sent notices to Deepak Sheth, as Protector of the Ithaca Trust, and Purvi Mehta,

as settlor of the Ithaca Trust, informing them that Commonwealth was resigning as Ithaca Trustee

effective as of April 13, 2018.

        364.    At some point between March 13, 2018 and May 25, 2018, Deepak Sheth resigned

or was removed as Ithaca Protector.

        365.    On May 25, 2018, Ami Modi executed a deed appointing Nehal Modi as Ithaca

Protector. The deed contained recital indicating that: (a) Abhay Javeri had renounced his

appointment as successor Protector of the Ithaca Trust; and (b) Purvi Mehta “released the power

to appoint a Protector on August 23, 2017.”




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       366.    That same day, Nehal Modi signed and delivered his acceptance of his

appointment as Ithaca Protector; executed a deed removing Abhay Javeri as Ithacha Investment

Advisor and appointing himself as the replacement; executed a deed appointing Trident as Ithaca

Trustee.; and executed a deed amending the Ithaca Trust Agreement to change the governing law

from Delaware law to South Dakota law.

       367.    That same day, Abhay Javeri, as Ithaca Investment Advisor, signed and delivered

a letter of direction instructing Trident, as Ithaca Trustee, to remove Abhay Javeri as manager of

CPS50 and appoint Nitin Dattani as his replacement.

       368.    As alleged above, around this same time, Nitin Dattani was working with

Angelina Ypma, Mihir Bhansali, Ajay Gandhi, and Anthony Allicock to divert NMLUK’s assets

to Hong Kong and was also helping Nirav Modi establish Diamonds Holdings Ltd. while Nirav

Modi was in hiding in London.

       369.    On information and belief, Trident remains Ithaca Trustee, Nehal Modi remains

Ithaca Protector, Abhay Javeri remains Ithaca Investment Advisor, and Nitin Dattani remains

manager of CPS50. On information and belief, Mihir Bhansali and Ajay Gandhi remain manager

and treasurer, respectively, of CPRE.

       370.    In sum, numerous members of Nirav Modi’s and Ami Modi’s family, including

Purvi Mehta, Mihir Bhansali, Deepak Sheth, and Abhay Javeri worked together and with Ajay

Gandhi and other co-conspirators to effectuate the foregoing transactions concerning Nirav

Modi’s and Ami Modi’s personal real estate holdings as part of an effort to insulate millions of

dollars in ill-gotten assets from creditors.




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                                      CLAIMS FOR RELIEF

                                             COUNT 1

  Conspiracy to Violate the Racketeering Influenced Corrupt Organizations Act (“RICO”)
                                    18 U.S.C. § 1962(d)
                         (Debtors’ Claim Against All Defendants)

       371.    Plaintiff restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       372.    Nirav Modi, Mihir Bhansali, Ajay Gandhi, and each Defendant are each a “person”

capable of holding legal or beneficial interest in property within the meaning of 18 U.S.C. § 1962(c)

and 18 U.S.C. § 1961(3).

       373.    As alleged below, each Defendant violated 18 U.S.C. § 1962(d) by agreeing to join,

participate in, or support a conspiracy under which one or more persons, including Nirav Modi,

Mihir Bhansali, and Ajay Gandhi, would conduct or participate in the conduct of the affairs of an

enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).

        Nirav Modi, Mihir Bhansali, and Ajay Gandhi’s Substantive RICO Violation

       374.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi each violated 18 U.S.C. § 1962(c) by

their respective acts, described in the prior paragraphs and as further described below.

       375.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi each had the specific intent to

violate 18 U.S.C. § 1962(c) and to commit each underlying predicate act alleged below.

       376.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi each committed at least two

predicate acts of racketeering, as more specifically alleged below. The acts of racketeering were

not isolated; rather, they were related in that they had the same or similar purpose and result,

participants, victims, or method of commission. Further, the acts of racketeering were continuous,

spanning the period from at least 2010 to mid-2018.




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                                      The RICO Enterprise

        377.   Each of the U.S. Entities is a corporation. Each of the U.S. Entities is therefore an

“enterprise” within the meaning of 18 U.S.C. § 1961(4).

        378.   Alternatively, the Firestar Entities, collectively, form an association-in-fact

engaged in and affecting interstate and foreign commerce for a common and continuing purpose

of designing, manufacturing, and selling diamonds and jewelry.

        379.   Alternatively, Nirav Modi, Mihir Bhansali, and Ajay Gandhi, together with their

known and unknown co-conspirators, form an association-in-fact engaged in and affecting

interstate and foreign commerce for a common and continuing purpose of formulating and

implementing a common scheme to defraud PNB for their personal enrichment through a pattern

of fraud, lies, deceit, and corruption. Such common purpose came into existence no later than

2010, when Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators implemented a

scheme to defraud PNB by fraudulently obtaining LOUs by exploiting the web of Shadow

Entities, LOU Entities, and other Modi-Controlled Entities.

        380.   Whether conceptualized in the manner described in paragraph 377, paragraph

378, or paragraph 379, there existed during and after the Relevant Period one or more enterprises

within the meaning of 18 U.S.C. § 1964(4) (the “RICO Enterprise”).

        381.   At all relevant times, Nirav Modi, Mihir Bhansali, and Ajay Gandhi each were

employed by or associated with the RICO Enterprise, and each conducted or participated, directly

or indirectly, in the conduct of the RICO Enterprise’s affairs through a pattern of racketeering

activity.

        382.   The RICO Enterprise has an ascertainable structure separate and apart from the

pattern of racketeering activity in which the Defendants engage.




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       383.    The RICO Enterprise constitutes an “enterprise” within the meaning of 18 U.S.C.

§ 1961(4), and it was or is engaged in, and its activities affected, interstate and foreign commerce.

       384.    The repeated and continuous violations of federal criminal law alleged in this

Complaint constitute a “pattern of racketeering activity” in violation of RICO, 18 U.S.C. § 1961, et

seq.

       385.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi are central and controlling figures

in the RICO Enterprise, and have directed others to take actions necessary to accomplish the

overall aims of the RICO Enterprise.

                              The Pattern of Racketeering Activity

       386.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi conducted or participated, directly

or indirectly, in the conduct of the RICO Enterprise’s affairs through a pattern of racketeering

activity, as defined by 18 U.S.C. § 1961(1) and (5), consisting of multiple acts of racketeering that

are interrelated, not isolated, and perpetrated for the same or similar purposes by the same

persons (the “RICO Pattern”).

           Predicate Acts: Mail and Wire Fraud, Violations of 18 U.S.C. § 1341, 1343

       387.    The RICO Pattern included numerous acts of mail fraud in violation of 18 U.S.C.

§ 1341 and wire fraud in violation of 18 U.S.C. § 1343.

       388.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi voluntarily and intentionally

devised and participated in one or more criminal schemes to perpetrate actual fraudulent

transfers of the Debtors’ and U.S. Affiliates’ assets during and after the Relevant Period, including

without limitation, the transfers described above, in Appendix A, and in Schedules A through L.

       389.    In furtherance of such scheme or schemes, Nirav Modi, Mihir Bhansali, and Ajay

Gandhi willfully and knowingly transmitted, or caused to be transmitted, by means of (1) causing

matters and things to be placed in any post office or authorized depository, or deposited or

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caused to be deposited matters or things to be sent or delivered by a private or commercial

interstate carrier or (2) by means of wire communications in interstate or foreign commerce,

writings, signs, signals, pictures, and sounds.

       390.    The wires and mailings supporting such scheme or schemes to defraud included

monetary wire transfers, shipments of inventory, telephone and electronic communications, and

physical mailings of letters and other documents and communications.

       391.    The use of interstate and international mail and wires to perpetrate these actual

fraudulent transfers and to connect this international racketeering conspiracy was foreseeable.

       392.    Accordingly, Nirav Modi, Mihir Bhansali, and Ajay Gandhi committed numerous

violations of mail and/or wire fraud in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1343.

       393.    Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s violations of 18 U.S.C. §§ 1341

and 1343 directly and proximately caused injury to each U.S. Entity’s business and property by

unjustifiably and irrevocably depleting their assets in the amount of such transfers.

      Predicate Acts: National Stolen Property Act, Violations of 18 U.S.C. §§ 2314, 2315

       394.    The RICO Pattern included numerous violations of the National Stolen Property

Act, 18 U.S.C. §§ 2314, 2315.

       395.    In many cases, Nirav Modi, Ajay Gandhi, and Mihir Bhansali caused the U.S.

Affiliates, upon receiving actual fraudulent transfers from the Debtors, to subsequently transfer

the proceeds of such actual fraudulent transfers to Shadow Entities or other Modi-Controlled

Entities. Specific examples of such transactions are described in Appendix A-395 hereto.

       396.    Based on the transfers by U.S. Affiliates of funds fraudulently received from the

Debtors to foreign Modi-Controlled Entities alleged in paragraph 395 of this Complaint (the

“Subsequent Transfers”), Nirav Modi, Mihir Bhansali, and Ajay Gandhi willfully and knowingly

transported, transmitted, or transferred in interstate or foreign commerce—or received,

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possessed, concealed, stored, bartered, sold, disposed of, or pledged as security for a loan—

goods, wares, merchandise, securities, or money that crossed an interstate or international

boundary after being stolen, converted, or taken by fraud.

        397.   For each Subsequent Transfer, Nirav Modi, Mihir Bhansali, and Ajay Gandhi,

knew that the funds involved had been fraudulently transferred from the applicable Debtor to

the applicable U.S. Affiliate or had otherwise been stolen, converted, or taken by fraud.

        398.   Each Subsequent Transfer involved money or property having a value of $5,000 or

more.

        399.   Accordingly, Nirav Modi, Mihir Bhansali, and Ajay Gandhi, committed numerous

violations of the National Stolen Property Act, 18 U.S.C. §§ 2314, 2315.

        400.   Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s violations of 18 U.S.C. §§ 2314

and 2315 directly and proximately caused injury to each Debtor’s business and property by

impairing the Debtors’ ability to recover the value of the Subsequent Transfers.

           Predicate Acts: Money Laundering, Violations of 18 U.S.C. §§ 1956, 1957.

        401.   The RICO Pattern included numerous acts of money laundering in violation of 18

U.S.C. §§ 1956, 1957.

        402.   Each actual fraudulent transfer and each Subsequent Transfer supported and

furthered the Bank Fraud by, at a minimum: (a) facilitating the reduction of outstanding payables

and receivables among Modi-Controlled Entities so as to avert detection of the Bank Fraud; (b)

layering the movement of funds so as to make them difficult to trace.

        403.   Each actual fraudulent transfer and each Subsequent Transfer occurred, in whole

or in part, in the United States.

        404.   Each actual fraudulent transfer and each Subsequent Transfer involved or resulted

from one or more acts of wire fraud.

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       405.    Accordingly, each actual fraudulent transfer and each Subsequent Transfer

constituted, involved, or resulted from an offense against India, a foreign nation, involving fraud,

or a scheme or attempt to defraud, against PNB, a foreign bank.

       406.    Additionally, each actual fraudulent transfer was designed to deplete the

applicable Debtor’s assets through one or more acts of wire fraud so as to hinder, delay, or

defraud such Debtor’s creditors.

       407.    Additionally, each Subsequent Transfer was designed to deplete the applicable

U.S. Affiliate’s assets through one or more acts of wire fraud so as to hinder, delay, or defraud

such U.S. Affiliate’s creditors, including the applicable Debtor or Debtors.

       408.    Accordingly, each actual fraudulent transfer and each Subsequent Transfer

constituted, involved, or was the result of specified unlawful activity within the meaning of 18

U.S.C. § 1956(c)(7).

       409.    Each Subsequent Transfer affected interstate or foreign commerce and involved

the movement of funds by wire or other means from a place in the United States to or through a

place outside of the United States.

       410.    Each Subsequent Transfer involved funds that were derived from or obtained or

retained, directly or indirectly, from an actual fraudulent transfer and unlawful activity related

to such actual fraudulent transfer.

       411.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi orchestrated or conducted each

Subsequent Transfer with the intent to promote the carrying on of specified unlawful activity,

including in relation to: (a) fraudulently depleting the applicable Debtor’s and U.S. Affiliate’s

assets; and (b) the Bank Fraud more generally.

       412.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi knew that each Subsequent Transfer

was designed in whole or in part to conceal or disguise the nature, the location, the source, the

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ownership, or the control of the funds derived from the actual fraudulent transfer preceding such

Subsequent Transfer.

        413.   Nirav Modi, Mihir Bhansali, and Ajay Gandhi knew that the property involved in

each Subsequent Transfer represented the proceeds of some form of unlawful activity.

        414.   Each Subsequent Transfer involved a monetary transaction in criminally derived

property of a value of greater than $10,000 and derived from specified unlawful activity.

        415.   Nirav Modi, Mihir Bhansali, and Ajay Gandhi agreed, expressly or implicitly, to:

(a) effectuate each actual fraudulent transfer and each Subsequent Transfer; (b) fraudulently

deplete the Debtors’ and U.S. Affiliates’ assets; and (c) perpetrate the Bank Fraud.

        416.   Accordingly, Nirav Modi, Mihir Bhansali, and Ajay Gandhi committed, and

conspired to commit, numerous acts of money laundering in violation of 18 U.S.C. §§ 1956 and

1957.

        417.   Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s violations of 18 U.S.C. §§ 1956

and 1957 directly and proximately caused injury to each Debtor’s business and property by

impairing the Debtors’ ability to recover the value of the Subsequent Transfers.

          Predicate Acts: Obstruction of Justice, Violations of 18 U.S.C. §§ 1503, 1512

        418.   The RICO Pattern included more than one act of obstruction of justice in violation

of 18 U.S.C. §§ 1503 and 1512.

        419.   Based on the allegations set forth in paragraph 275 of this Complaint concerning

the Dubai-based Shadow Entity personnel, upon information and belief, Nirav Modi and

Bhansali, or others operating at their direction, knowingly intimidated, threatened, or corruptly

persuaded such Shadow Entity personnel, or engaged in misleading conduct toward such

Shadow Entity personnel, with the intent to influence, delay, or prevent the testimony of such

Shadow Entity personnel in an official proceeding, including these chapter 11 cases, and to cause

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or induce such Shadow Entity personnel to withhold testimony, or withhold a record, document

or other object, from an official proceeding, including these chapter 11 cases.

       420.     Additionally, Mihir Bhansali corruptly altered, destroyed, mutilated, or concealed

records, documents or other objects, or attempted to do so, as demonstrated by the following

actions, alleged in more detail above, which Mihir Bhansali, or others operating at his or Nirav

Modi’s direction, took in the weeks prior to and following the Petition Date:

          (i)   Mihir Bhansali researched methods for deleting internet history,
                browsing the internet anonymously, communicating through encrypted
                and self-deleting messages, and encrypting computer data;

         (ii)   Mihir Bhansali downloaded, installed, and, upon information and belief,
                used software designed for such purposes;

        (iii)   Upon information and belief, Mihir Bhansali deleted or attempted to
                delete all copies of the spreadsheets described in paragraph 106 of this
                Complaint.

        (iv)    Mihir Bhansali directed Saju Poulose to “send all non-Firestar comp[uter]s
                to HK[.]”

         (v)    Nehal Modi, operating at the direction of or in coordination with Nirav
                Modi and Mihir Bhansali, destroyed mobile phones of various Shadow
                Entity personnel and other servers, documents, and records.

       421.     Moreover, Mihir Bhansali corruptly obstructed, influenced, or impeded an official

proceeding, including the Debtors’ chapter 11 cases, by, as alleged in more detail above,

knowingly and intentionally making material misstatements, misrepresentations, and omissions

under penalty of perjury in connection with the Debtors’ chapter 11 cases concerning the Debtors’

relationship with Shadow Entities and the Debtors’ involvement in the Bank Fraud.

       422.     Moreover, based on the same allegations, Mihir Bhansali corruptly endeavored to

influence or impede an officer in or of this Court, including the Examiner and the Trustee, in the

discharge of his duty.




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       423.    Moreover, based on the same allegations, Mihir Bhansali corruptly endeavored to

influence, obstruct, or impede the due administration of justice.

       424.    Similarly, Ajay Gandhi corruptly obstructed, influenced, or impeded an official

proceeding, including the Debtors’ chapter 11 cases, by, as alleged in more detail above, (a)

knowingly and intentionally signing the Debtors’ respective SOFAs under penalty of perjury

without disclosing the Debtors’ involvement in the Bank Fraud, their relationship with various

Shadow Entities, and the substantial loan balances owed by NMI to Jaffe, or the significant

transfers of the Debtors’ assets to Shadow Entities and other Modi-Controlled Entities that were

required to be disclosed in the SOFAs; and (b) feigning ignorance and outright lying to the

Examiner concerning the Debtors’ and his personal involvement in the transactions supporting

the Bank Fraud.

       425.    Moreover, based on the same allegations, Ajay Gandhi corruptly endeavored to

influence or impede an officer in or of this Court, including the Examiner and the Trustee, in the

discharge of his duty.

       426.    Moreover, based on the same allegations, Ajay Gandhi corruptly endeavored to

influence, obstruct, or impede the due administration of justice.

       427.    In taking such actions, Mihir Bhansali’s and Ajay Gandhi’s purpose was to impair

the integrity or availability of evidence for use in an official proceeding, including these chapter

11 cases, or to otherwise obstruct, influence, or impede an official proceeding, including these

chapter 11 cases.

       428.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi agreed, expressly or implicitly, with

each other and others, including Nehal Modi, to commit each of the obstruction of justice offenses

alleged in this Complaint.




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       429.    Accordingly, Nirav Modi, Mihir Bhansali, and Ajay Gandhi, and other co-

conspirators, including Nehal Modi, committed, and conspired to commit, numerous acts of

obstruction of justice in violation of 18 U.S.C. §§ 1503 and 1512.

       430.    Nirav Modi, Mihir Bhansali, and Ajay Gandhi’s violations of 18 U.S.C. §§ 1503

and 1512 directly and proximately caused injury to each Debtor’s business and property by,

among other things, impairing Jaffe’s ability to sell its assets at going-concern value; delaying the

Trustee’s appointment and impairing his ability to recover from U.S. Affiliates; and causing the

Debtors’ estates to incur substantial administrative expenses related to the investigation of

information Mihir Bhansali and Ajay Gandhi failed to disclose and, upon information and belief,

actively endeavored to conceal, destroy, or otherwise render unavailable for use in connection

with these chapter 11 cases.

                   Predicate Acts: Bankruptcy Fraud, Violations of 18 U.S.C. § 152

       431.    The RICO Pattern included more than one act of bankruptcy fraud in violation of

18 U.S.C. § 152.

       432.    Based on the allegations set forth in, inter alia, paragraphs 421 and 424 of this

Complaint, Mihir Bhansali and Ajay Gandhi each knowingly and fraudulently made one or more

false oaths or accounts in or relation to these chapter 11 cases.

       433.    Based on those same allegations, Mihir Bhansali and Ajay Gandhi each knowingly

and fraudulently made one or more false declarations, certificates, verifications, or statements

under penalty of perjury in or in relation to these chapter 11 cases.

       434.    Based on those same allegations, Mihir Bhansali and Ajay Gandhi, after the filing

of these chapter 11 cases, knowingly and fraudulently withheld from a custodian, trustee,

marshal, or other officer of this Court, including the Examiner, recorded information relating to

the property or financial affairs of the Debtors.

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       435.      Based on those same allegations, Mihir Bhansali and Ajay Gandhi knowingly and

fraudulently concealed from creditors, the United States Trustee, the Trustee, and this Court

property belonging to the Debtors’ estates, including the substantial loan receivable owed by

NMI to Jaffe.

       436.      Accordingly, Mihir Bhansali and Ajay Gandhi committed acts of bankruptcy fraud

in violation of 18 U.S.C. § 152.

       437.      Mihir Bhansali’s and Ajay Gandhi’s violations of 18 U.S.C. § 152 directly and

proximately caused injury to each Debtor’s business and property by, among other things,

impairing Jaffe’s ability to sell its assets at going-concern value; delaying the Trustee’s

appointment and impairing his ability to recover from U.S. Affiliates; and causing the Debtors’

estates to incur substantial administrative expenses related to the investigation of information

Bhansali and Gandhi failed to disclose and actively endeavored to conceal, destroy, or otherwise

render unavailable for use in connection with these chapter 11 cases.

                                      Continuity of Conduct

       438.      Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s violations of law as set forth

herein, each of which directly and proximately injured the Debtors and U.S. Affiliates, constituted

a continuous course of conduct in the United States beginning no later than 2010 and continuing

at least through October 2018, which was intended to obtain economic gain through false

representations, fraud, deceit, and other improper and unlawful means. Therefore, the violations

were a part of pattern of racketeering activity under 18 U.S.C. §§ 1961(1) and (5).

                The RICO Pattern Caused Injury to the Debtors and U.S. Affiliates

       439.      Each Debtor has been injured in its business or property as a direct result and

proximate result of Modi, Bhansali, and Gandhi’s violations, described above, of 18 U.S.C. §

1962(c), including any injury by reason of the predicate acts constituting the RICO Pattern.

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       440.      Prior to Defendants’ racketeering activities, each of the Debtors operated as a

legitimate business built on fruitful relationships with reputable customers.

       441.      Firestar was incorporated in 2004 for the purposes of acquiring Frederick

Goldman, Inc., which was one of FIL’s U.S. customers. Firestar historically operated as a

distributor and wholesaler of finished gold and diamond jewelry. Its customer base consisted of

legitimate jewelry retailers such as Zales, JCPenney, and Macy’s.

       442.      Fantasy was incorporated in 2012 for the purpose of holding the exclusive license

from Chicago-based Fantasy Diamond Corp. to supply the Endless Diamond Brand to U.S.

retailers. Fantasy was created primarily to conduct business with Costco Wholesale Corporation

based on sales attributable to the Endless Diamond Brand. Fantasy’s other customers include

Zales, Sam’s Club, and Walmart. Fantasy sold finished jewelry, generally at a higher price point

than Firestar.

       443.      Jaffe is the successor to New York-based Sandberg & Sikorksi Corporation, whose

predecessors date back to 1892. Sandberg & Sikorski historically consisted of two divisions, one

that sold to major U.S. retailers and A. Jaffe, a luxury bridal line that supplied assembled pieces

of jewelry to high-end independent jewelry retailers. In 2007, FIL purchased a 95% stake in

Sandberg & Sikorski. Sandberg & Sikorski was renamed A. Jaffe, Inc. in 2011. It did not become

fully integrated within the operations of the other Firestar Entities until 2016.

       444.      Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s violations of federal law in

furtherance of their scheme or schemes to loot the Debtors’ and U.S. Affiliates’ assets through a

series of actual fraudulent transfers and to conceal the nature of such transfers by corruptly

impeding, influencing, or obstructing these chapter 11 cases resulted in: (a) each Debtor’s and

each U.S. Affiliate’s assets being unjustifiably and irrevocably depleted in the amount of the

applicable actual fraudulent transfers, (b) each Debtor’s chapter 11 estate incurring substantial

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administrative expenses stemming from Nirav Modi’s, Mihir Bhansali’s, and Ajay Gandhi’s

obstruction of the Examiner’s and Trustee’s investigations that would not otherwise have been

incurred, (c) the impairment of each Debtor’s ability to sell their assets at going-concern value,

and (d) the frustration of the Debtors’ and U.S. Affiliates’ ability to collect substantial debts owed

to them by Shadow Entities and overseas Firestar Entities.

                            Defendants’ Agreement to Violate RICO

       445.     At all relevant times, each Defendant, together with each other and with Nirav

Modi, Mihir Bhansali, and Ajay Gandhi, and others known and unknown, being persons

employed by or associated with the RICO Enterprise, have unlawfully, knowingly, and willfully

combined, conspired, confederated, and agreed to violate 18 U.S.C. § 1962(c), that is, agreed to

conduct and participate, directly and indirectly, in the conduct of the affairs of the RICO

Enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d) (the “RICO

Conspiracy”).

       446.     Defendant Purvi Mehta’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

       a. Mehta was the beneficial owner of numerous Shadow Entities, Twin Fields,
          and numerous other offshore shell companies used to further the Bank Fraud
          and launder its proceeds.

       b. Mehta, through Islington, invested $45 million in proceeds of the Bank Fraud
          in FIPL to fund the 2017 “restructuring” of the Firestar Entities in connection
          with which Mehta subsequently received over $85 million in proceeds of the
          Bank Fraud.

       c. Mehta settled and funded the Ithaca Trust to launder proceeds of the Bank
          Fraud for the benefit of Nirav Modi and Ami Modi and to shield ill-gotten
          assets from creditors.

       d. Mehta wired Mihir Bhansali $1.5 million as a purported loan just weeks before
          Bhansali purchased a $7.1 million apartment.




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       447.    Defendant Ami Javeri’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

       a. Javeri served as a partner of all three LOU entities and, in 2010, opened bank
          accounts for Solar and Stellar used to defraud PNB.

       b. Javeri is the primary beneficiary of the Ithaca Trust and the beneficial owner
          of the Ritz Carlton Apartment and the Essex House Apartment.

       c. Javeri received more than $30 million in proceeds of the Bank Fraud from Purvi
          Mehta in May and June 2017.

       d. Javeri wired more than $30 million in proceeds of the Bank Fraud to Purvi
          Mehta between September and November 2017.

       e. Javeri fled India just weeks before the fraudulent LOUs issued in 2017 became
          due and the Bank Fraud was exposed.

       f.   Javeri appointed Nehal Modi as Ithaca Trust Protector in May 2017.

       448.    Defendant Nehal Modi’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

      a. Nehal Modi traveled overseas with Mihir Bhansali after exposure of the Bank
         Fraud to threaten and bribe witnesses, destroy evidence, and remove assets.

      b. Nehal Modi enlisted his personal friends, including Anthony Allicock, Rochelle
         Miller, and Tamer Abou El Ata, to divert the U.S. Affiliates’ assets to Hong
         Kong following exposure of the Bank Fraud.

      c. Nehal Modi became Ithaca Trust Protector following exposure of the Bank
         Fraud.

      d. Nehal Modi, along with Mihir Bhansali, managed BBB Group as a front for the
         Modi family’s money laundering efforts.

      e. Nehal Modi managed Gitanjali USA, Samuels, Diamlink, and other Choksi-
         controlled entities used to defraud PNB.

       449.    Defendant Neeshal Modi’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

      a. Neeshal Modi served as a partner of all three LOU Entities and, in 2016, selected
         and appointed additional “dummy” partners for the LOU Entities.

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      b. Neeshal Modi was the beneficial owner of numerous Shadow Entities, other
         offshore shell companies used to further the Bank Fraud and launder its
         proceeds.

      c. Neeshal Modi, along with Mihir Bhansali, selected and hired various Shadow
         Entity personnel throughout the Relevant Period.

      d. Neeshal Modi orchestrated numerous fraudulent transactions among FD BVBA
         and Shadow Entities to further the Bank Fraud throughout the Relevant Period.

      e. Neeshal Modi had a power of attorney for Purvi Mehta and signed agreements
         on her behalf, including for Purvi Mehta’s purchase of a Hong Kong apartment
         in April 2017 for approximately $2.7 million.

       450.    The Ithaca Trust’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

       a. Nirav Modi enjoys complete control over the Ithaca Trust, the Ithaca Trustee,
          the Ithaca Protector, the Ithaca Investment Advisor, the Ithaca Trust
          Agreement, and all of the assets in the Ithaca Trust.

       b. The Ithaca Trust was settled by Purvi Mehta, one of the Modi family’s primary
          money laundering conduits.

       c. The Ithaca Trust purchased the Ritz Carlton Apartment using the proceeds of
          the Bank Fraud received from Purvi Mehta.

       d. The Ithaca Trust purchased the membership interests on CPRE, which owns
          the Essex House Apartment, using proceeds of the Bank Fraud received from
          Purvi Mehta.

       e. Deepak Sheth, the original Ithaca Protector and Ithaca Investment Advisor,
          participated in the Bank Fraud through the Sheth Entities throughout the
          Relevant Period.

       f.   Abhay Javeri, who succeeded Deepak Sheth as Ithaca Investment Advisor and
            served as the default Ithaca Protector, participated in the Bank Fraud through
            the SDC Entities throughout the Relevant Period.

       g. Nehal Modi, who Ami Modi appointed Ithaca Protector in May 2018,
          orchestrated the Modi family’s efforts to destroy evidence, tamper with
          witnesses, and divert assets from the reach of creditors following exposure of
          the Bank Fraud.




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       451.    Defendant CPS50’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

       a. Nirav Modi enjoys complete control over CPS50 through his complete control
          over the Ithaca Trust.

       b. Deepak Sheth, the CPS50’s original manager, participated in the Bank Fraud
          through the Sheth Entities throughout the Relevant Period.

       c. Abhay Javeri, who succeeded Deepak Sheth as CPS50’s manager, participated
          in the Bank Fraud through the SDC Entities throughout the Relevant Period.

       d. Nitin Dattani, who succeeded Abhay Javeri as CPS50’s manager in May 2018,
          worked with Ajay Gandhi, Angelina Ypma, and Mihir Bhansali to divert
          NMLUK’s cash and inventory to Hong Kong following exposure of the Bank
          Fraud. Dattani also helped Nirav Modi set up a new company while Modi was
          hiding in London.

       e. Ajay Gandhi, who served as president of CPS50 and as a signatory on its bank
          account, participated extensively in the Bank Fraud and in the fraudulent
          efforts following its exposure, as alleged above.

       f.   CPS50 purchased the Ritz Carlton Apartment using proceeds of the Bank
            Fraud.

       g. CPS50 was formed for the purpose of laundering proceeds of the Bank Fraud
          to and for the benefit of Nirav Modi and Ami Modi.


       452.    Defendant CPRE’s agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

      a. Nirav Modi enjoys complete control over CPRE through his complete control
         over the Ithaca Trust.

      b. Mihir Bhansali, who served as sole director and CEO of CPRE, participated
         extensively in the Bank Fraud and in the efforts to obstruct justice and divert
         assets from the reach of creditors following its exposure, as alleged above.

      c. Ajay Gandhi, who served as chief financial officer of CPRE, participated
         extensively in the Bank Fraud and in the efforts to obstruct justice and divert
         assets from the reach of creditors following its exposure, as alleged above.




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       453.    Defendant Twin Fields’ agreement to join and support the RICO Conspiracy is

demonstrated by or can be inferred from, among other things, the following:

       a. Purvi Mehta, who indirectly owns Twin Fields through BVI shell companies,
          participated extensively in the Bank Fraud and in fraudulent efforts to launder
          its proceeds beyond the reach of creditors.

       b. Mihir Bhansali, who acted as the de jure or de facto director of Twin Fields,
          participated extensively in the Bank Fraud and in the efforts to obstruct justice
          and divert assets from the reach of creditors following its exposure, as alleged
          above.

       c. Nirav Modi enjoys complete control over Twin Fields through his dominance
          and control over Purvi Mehta, Mihir Bhansali, and Nehal Modi.

       d. Twin Fields served as a conduit for laundering proceeds of the Bank Fraud,
          including more than $25 million from Fine Classic, the Shadow Entity directly
          owned and controlled by Purvi Mehta.

       454.    Each Shadow Entity Defendant’s agreement to join and support the RICO

Conspiracy is demonstrated by or can be inferred from, among other things, the following:

       a. Nirav Modi enjoys complete control over each Shadow Entity Defendant
          through his dominance and control over Purvi Mehta, Neeshal Modi, and
          other nominal owners, directors, and officers.

       b. Each Shadow Entity Defendant engaged in millions of dollars in fraudulent
          import and export transactions with LOU Entities, Firestar Entities, and other
          Shadow Entities during the Relevant Period to further the Bank Fraud and to
          launder its proceeds.

       c. Each Shadow Entity Defendant was established and operated for the sole
          purpose of furthering the Bank Fraud and laundering its proceeds.

       455.    Each Defendant knew that they were engaged in a conspiracy to commit the

predicate acts and knew that the predicate acts were part of such racketeering activity, and the

participation and agreement of each of them was necessary to allow the commission of this

pattern of racketeering activity. This conduct constitutes a conspiracy to violate 18 U.S.C.

§ 1962(c), in violation of 18 U.S.C. § 1962(d).




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        456.    Each Defendant agreed to conduct or participate in, directly or indirectly, the

conduct, management, or operation of the RICO Enterprise’s affairs through a pattern of

racketeering activity, including but not limited to the acts of racketeering set forth above.

        457.    As part of the conspiracy, each Defendant, at times acting through certain of their

agents, and representatives, or co-conspirators, committed at least two predicate acts of

racketeering in the conduct of the RICO Enterprise's affairs.

        458.    As a direct and proximate result of the Defendants’ RICO Conspiracy, the pattern

of racketeering activity through which they agreed the affairs of the RICO Enterprise would be

conducted, the predicate acts and other overt acts taken in furtherance of that conspiracy, and

violations of 18 U.S.C. § 1962(d), each of the Debtors has been injured in its business and property.

        459.    Under 18 U.S.C. § 1964(c), Plaintiff is entitled to recover treble the general and

special compensatory damages suffered by each Debtor, plus interest, costs, and attorneys’ fees

incurred by reason of Defendants’ violations of 18 U.S.C. § 1962(d).

                                              COUNT 2

   Conspiracy to Violate the Racketeering Influenced Corrupt Organizations Act (“RICO”)
                                      18 U.S.C. § 1962(d)
                       (U.S. Affiliates’ Claim Against All Defendants)

        460.    Plaintiff restates and re-alleges paragraphs 1 through 459 of this Complaint as

though fully set forth herein.

        461.    Plaintiff, as assignee of the U.S. Affiliates, has standing to bring any and all claims

or causes of action of the U.S. Affiliates.

        462.    As a direct and proximate result of the Defendants’ RICO Conspiracy, the pattern

of racketeering activity through which they agreed the affairs of the RICO Enterprise would be

conducted, the predicate acts and other overt acts taken in furtherance of that conspiracy, and




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violations of 18 U.S.C. § 1962(d), each of the U.S. Affiliates has been injured in its business and

property.

       463.    Each mailing or shipment of the U.S. Affiliates’ inventory or other assets in

furtherance of the RICO Conspiracy constituted a violation of 18 U.S.C. § 1341.

       464.    Each wire or other electronic transfer of the U.S. Affiliates’ funds in furtherance of

the RICO Conspiracy constituted a violation of 18 U.S.C. § 1343.

       465.    Each violation of 18 U.S.C. § 1341 or 1343 involving transfers of a U.S. Affiliate’s

assets directly and proximately injured such U.S. Affiliate by depleting its assets.

       466.    Under 18 U.S.C. § 1964(c), Plaintiff is entitled to recover treble the general and

special compensatory damages suffered by each U.S. Affiliate, plus interest, costs, and attorneys’

fees incurred by reason of Defendants’ violations of 18 U.S.C. § 1962(d).

                                            COUNT 3

                    Avoidance and Recovery of Actual Fraudulent Transfers
                            Under N.Y. DCL §§ 276, 278, and 279
                                (Synergies-Mehta Transfer)

       467.    Plaintiff restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       468.    As alleged and defined above as the Synergies-Mehta Transfer, on July 13, 2017,

Synergies wired $14,575,000 to Purvi Mehta as part of the fraudulent laundering of funds through

the Firestar Entities to Mehta in 2017.

       469.    The Synergies-Mehta Transfer constituted a transfer of an interest in Synergies’

property.

       470.    The Synergies-Mehta Transfer was made, mediately or immediately, by Synergies

to Purvi Mehta.

       471.    Plaintiff holds a judgment against Synergies.


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       472.    The Synergies-Mehta Transfer was made with the actual intent to hinder or delay

or defraud creditors, including the Trustee, within the meaning of section 276 of the New York

Debtor & Creditor Law (“N.Y. DCL”). Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Synergies-Mehta Transfer in order to launder and siphon illicit

proceeds of the Bank Fraud and other valuable assets for the benefit of Purvi Mehta, Ami Modi,

Nirav Modi, and others.

       473.    Plaintiff, as a creditor of Synergies, may set aside the Synergies-Mehta Transfer,

disregard the Synergies-Mehta Transfer, and attach or levy execution upon the property

conveyed under sections 278 and 279 of the New York Debtor & Creditor Law.

       474.    Alternatively, Plaintiff is entitled to a monetary damages in the amount of the

Synergies-Mehta Transfer.

       475.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under N.Y. DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 4

                  Avoidance and Recovery of Constructive Fraudulent Transfers
                              Under N.Y. DCL §§ 273, 278, and 279
                                 (Synergies-Mehta Transfer)

       476.    Plaintiff restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       477.    The Synergies-Mehta Transfer constituted a transfer of an interest in Synergies’

property.

       478.    The Synergies-Mehta Transfer was made, mediately or immediately, by Synergies

to Purvi Mehta.

       479.    Plaintiff holds a judgment against Synergies.

       480.    The Synergies-Mehta Transfer was made without fair consideration.


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       481.    On the date the Synergies-Mehta Transfer was made, Synergies was insolvent or

was rendered insolvent as a result of such transfer.

       482.    Plaintiff, as a creditor of Synergies, may set aside the Synergies-Mehta Transfer,

disregard the Synergies-Mehta Transfer, and attach or levy execution upon the property

conveyed under N.Y. DCL sections 278 and 279.

       483.    Alternatively, Plaintiff is entitled to a monetary damages in the amount of the

Synergies-Mehta Transfer.

                                           COUNT 5

                    Avoidance and Recovery of Actual Fraudulent Transfers
                            Under N.Y. DCL §§ 276, 278, and 279
                                  (CPRE Equity Transfer)

       484.    Plaintiff restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       485.    As alleged and defined above as the CPRE Equity Transfer, on or around January

1, 2018, FGI transferred a 100% equity interest in CPRE to the Ithaca Trust as part of broader

efforts to launder the proceeds of the Bank Fraud and shield assets from creditors.

       486.    The CPRE Equity Transfer constituted a transfer of an interest in FGI’s property.

       487.    The CPRE Equity Transfer was made by FGI to the Ithaca Trust for the ultimate

benefit of Ami Modi.

       488.    Plaintiff holds a judgment against FGI.

       489.    The CPRE Equity Transfer was made with the actual intent to hinder or delay or

defraud creditors within the meaning of DCL section 276. Nirav Modi, Mihir Bhansali, Ajay

Gandhi, and their co-conspirators approved the CPRE Equity Transfer to launder and siphon

illicit proceeds of the Bank Fraud and other valuable assets for the benefit of Ami Modi, Nirav

Modi, and others.


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       490.    Plaintiff, as a judgment creditor of FGI, may set aside the CPRE Equity Transfer,

disregard the CPRE Equity Transfer, and attach or levy execution upon the property conveyed

under N.Y. DCL sections 278 and 279.

       491.    Alternatively, Plaintiff is entitled to monetary damages in the amount of the CPRE

Equity Transfer.

       492.    Plaintiff is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                            COUNT 6

                Avoidance and Recovery of Constructive Fraudulent Transfers
                            Under N.Y. DCL §§ 273, 278, and 279
                                 (CPRE Equity Transfer)

       493.    Plaintiff restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       494.    The CPRE Equity Transfer constituted a transfer of an interest in FGI’s property.

       495.    The CPRE Equity Transfer was made by FGI to the Ithaca Trust for the ultimate

benefit of Ami Modi.

       496.    Plaintiff holds a judgment against FGI.

       497.    The CPRE Equity Transfer was made without fair consideration.

       498.    On the date the CPRE Equity Transfer was made, FGI was insolvent or was

rendered insolvent as a result of such transfer.

       499.    Plaintiff, as creditor of FGI, may set aside the CPRE Equity Transfer, disregard the

CPRE Equity Transfer, and attach or levy execution upon the property conveyed under N.Y. DCL

sections 278 and 279.

       500.    Alternatively, Plaintiff is entitled to monetary damages equal to the value of the

CPRE Equity Transfer.


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                                                COUNT 7

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                           (CPRE)

       501.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       502.    FDI made numerous cash transfers for the benefit of CPRE within two years of the

commencement of FDI’s chapter 11 case, as identified on Schedule A, attached hereto

(collectively, the “CPRE Two-Year Transfers”).

       503.    The CPRE Two-Year Transfers constituted transfers of interests of FDI in property.

       504.    The CPRE Two-Year Transfers were made for the benefit of CPRE.

       505.    The CPRE Two-Year Transfers were made with the actual intent to hinder, delay,

or defraud FDI’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators

approved the CPRE Two-Year Transfers in order to perpetuate the Bank Fraud and to launder

and siphon its illicit proceeds for the benefit of Modi, his family, and others. The natural

consequence of the CPRE Two-Year Transfers was to deplete FDI’s property and frustrate

satisfaction of FDI’s legitimate obligations.

       506.    The Trustee may avoid the CPRE Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       507.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

CPRE Two-Year Transfers for the benefit of FDI’s estate from CPRE, the entity to or for whose

benefit the CPRE Two-Year Transfers were made, and from any subsequent transferees.

       508.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.




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                                            COUNT 8

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (CPRE)

       509.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       510.    FDI made numerous cash transfers for the benefit of CPRE within six years of the

commencement of FDI’s chapter 11 case, as identified on Schedule A, attached hereto

(collectively, the “CPRE Six-Year Transfers”).

       511.    The CPRE Six-Year Transfers were made for the benefit of CPRE.

       512.    The CPRE Six-Year Transfers were made with the actual intent to hinder or delay

present or future creditors of FDI within the meaning of section 276 of the DCL. Nirav Modi,

Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the CPRE Six-Year Transfers in

order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for the benefit

of Modi, his family, and others. The natural consequence of the CPRE Six-Year Transfers was to

deplete FDI’s property and frustrate satisfaction of FDI’s legitimate obligations.

       513.    Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the CPRE Six-Year Transfers set aside, or who could disregard the CPRE Six-

Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL section

278 and/or 279.

       514.    The Trustee may avoid the CPRE Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       515.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

CPRE Six-Year Transfers for the benefit of FDI’s estate from CPRE, the entity to or for whose

benefit the CPRE Six-Year Transfers were made, and from any subsequent transferees.


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       516.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 9

                  Avoidance and Recovery of Constructive Fraudulent Transfers
                           Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                           (CPRE)

       517.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       518.    The CPRE Two-Year Transfers constituted transfers of interests of FDI in property.

       519.    The CPRE Two-Year Transfers were made for the benefit of CPRE.

       520.    FDI received less than reasonably equivalent value in exchange for the CPRE Two-

Year Transfers.

       521.    FDI was insolvent on the date each CPRE Two-Year Transfer was made, or became

insolvent as a result of such transfer.

       522.    The Trustee may avoid the CPRE Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       523.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

CPRE Two-Year Transfers for the benefit of FDI’s estate from CPRE, the entity to or for whose

benefit the CPRE Two-Year Transfers were made, and from any subsequent transferees.

                                           COUNT 10

               Avoidance and Recovery of Constructive Fraudulent Transfers
           Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (CPRE)

       524.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       525.    The CPRE Six-Year Transfers constituted transfers of interests of FDI in property.


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       526.    The CPRE Six-Year Transfers were made for the benefit of CPRE.

       527.    The CPRE Six-Year Transfers were made by FDI without fair consideration.

       528.    On the date of each CPRE Six-Year Transfer, FDI was insolvent or was rendered

insolvent as a result of such transfer.

       529.    Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the CPRE Six-Year Transfers set aside, or who could disregard the CPRE Six-

Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       530.    The Trustee may avoid the CPRE Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       531.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

CPRE Six-Year Transfers for the benefit of FDI’s estate from CPRE, the entity to or for whose

benefit the CPRE Six-Year Transfers were made, and from any subsequent transferees.

                                          COUNT 11

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                         (Auragem)

       532.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       533.    FDI made cash transfers to Auragem within six years of the commencement of

FDI’s chapter 11 case, as identified on Schedule B, attached hereto (collectively, the “Auragem

Transfers”).

       534.    The Auragem Transfers were made to or for the benefit of Auragem.

       535.    The Auragem Transfers were made with the actual intent to hinder or delay

present or future creditors of FDI within the meaning of section 276 of the DCL. Nirav Modi,


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Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Auragem Transfers in order

to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for the benefit of Modi,

his family, and others. The natural consequence of the Auragem Transfers was to deplete FDI’s

property and frustrate satisfaction of FDI’s legitimate obligations.

       536.      Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Auragem Transfers set aside, or who could disregard the Auragem Transfers

and attach or levy execution upon the property conveyed, under N.Y. DCL section 278 and/or

279.

       537.      The Trustee may avoid the Auragem Transfers under Bankruptcy Code section

544(b)(1).

       538.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Auragem Transfers for the benefit of FDI’s estate from Auragem, the entity to or for whose benefit

the Auragem Transfers were made, and from any subsequent transferees.

       539.      The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                             COUNT 12

                 Avoidance and Recovery of Constructive Fraudulent Transfers
             Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Auragem)

       540.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       541.      The Auragem Transfers constituted transfers of interests of FDI in property.

       542.      The Auragem Transfers were made to or for the benefit of Auragem.

       543.      The Auragem Transfers were made by FDI without fair consideration.




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       544.    On the date of each Auragem Six-Year Transfer, FDI was insolvent or was

rendered insolvent as a result of such transfer.

       545.    Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Auragem Transfers set aside, or who could disregard the Auragem Transfers

and attach or levy execution upon the property conveyed, under N.Y. DCL sections 278 and/or

279.

       546.    The Trustee may avoid the Auragem Transfers under Bankruptcy Code section

544(b)(1).

       547.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Auragem Transfers for the benefit of FDI’s estate from Auragem, the entity to or for whose benefit

the Auragem Transfers were made, and from any subsequent transferees.

                                           COUNT 13

                   Avoidance and Recovery of Actual Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                        (Brilliant)

       548.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       549.    FDI made numerous cash transfers to Brilliant within two years of the

commencement of FDI’s chapter 11 case, as identified on Schedule C, attached hereto

(collectively, the “Brilliant Two-Year Transfers”).

       550.    The Brilliant Two-Year Transfers constituted transfers of interests of FDI in

property.

       551.    The Brilliant Two-Year Transfers were made to or for the benefit of Brilliant.

       552.    The Brilliant Two-Year Transfers were made with the actual intent to hinder,

delay, or defraud FDI’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-


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conspirators approved the Brilliant Two-Year Transfers in order to perpetuate the Bank Fraud

and to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Brilliant Two-Year Transfers was to deplete FDI’s property and

frustrate satisfaction of FDI’s legitimate obligations.

       553.    The Trustee may avoid the Brilliant Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       554.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Brilliant Two-Year Transfers for the benefit of FDI’s estate from Brilliant, the entity to or for whose

benefit the Brilliant Two-Year Transfers were made, and from any subsequent transferees.

       555.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                             COUNT 14

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                         (Brilliant)

       556.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       557.    FDI made numerous transfers of cash and inventory to Brilliant within six years

of the commencement of FDI’s chapter 11 case, as identified on Schedule C, attached hereto

(collectively, the “Brilliant Six-Year Transfers”).

       558.    The Brilliant Six-Year Transfers were made to or for the benefit of Brilliant.

       559.    The Brilliant Six-Year Transfers were made with the actual intent to hinder or

delay present or future creditors of FDI within the meaning of section 276 of the DCL. Nirav

Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Brilliant Six-Year

Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for


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the benefit of Modi, his family, and others. The natural consequence of the Brilliant Six-Year

Transfers was to deplete FDI’s property and frustrate satisfaction of FDI’s legitimate obligations.

       560.    Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Brilliant Six-Year Transfers set aside, or who could disregard the Brilliant

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

section 278 and/or 279.

       561.    The Trustee may avoid the Brilliant Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       562.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Brilliant Six-Year Transfers for the benefit of FDI’s estate from Brilliant, the entity to or for whose

benefit the Brilliant Six-Year Transfers were made, and from any subsequent transferees.

       563.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                             COUNT 15

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                        (Brilliant)

       564.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       565.    The Brilliant Two-Year Transfers constituted transfers of interests of FDI in

property.

       566.    The Brilliant Two-Year Transfers were made to or for the benefit of Brilliant.

       567.    FDI received less than reasonably equivalent value in exchange for the Brilliant

Two-Year Transfers.




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       568.     FDI was insolvent on the date each Brilliant Two-Year Transfer was made, or

became insolvent as a result of such transfer.

       569.     The Trustee may avoid the Brilliant Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       570.     Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Brilliant Two-Year Transfers for the benefit of FDI’s estate from Brilliant, the entity to or for whose

benefit the Brilliant Two-Year Transfers were made, and from any subsequent transferees.

                                             COUNT 16

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Brilliant)

       571.     The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       572.     The Brilliant Six-Year Transfers constituted transfers of interests of FDI in

property.

       573.     The Brilliant Six-Year Transfers were made to or for the benefit of Brilliant.

       574.     The Brilliant Six-Year Transfers were made by FDI without fair consideration.

       575.     On the date of each Brilliant Six-Year Transfer, FDI was insolvent or was rendered

insolvent as a result of such transfer.

       576.     Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Brilliant Six-Year Transfers set aside, or who could disregard the Brilliant

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       577.     The Trustee may avoid the Brilliant Six-Year Transfers under Bankruptcy Code

section 544(b)(1).


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       578.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Brilliant Six-Year Transfers for the benefit of FDI’s estate from Brilliant, the entity to or for whose

benefit the Brilliant Six-Year Transfers were made, and from any subsequent transferees.

                                             COUNT 17

                    Avoidance and Recovery of Actual Fraudulent Transfers
             Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Diagems)

       579.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       580.      FDI made numerous cash transfers to Diagems within six years of the

commencement of FDI’s chapter 11 case, as identified on Schedule D, attached hereto

(collectively, the “Diagems Transfers”).

       581.      The Diagems Transfers were made to or for the benefit of Diagems.

       582.      The Diagems Transfers were made with the actual intent to hinder or delay present

or future creditors of FDI within the meaning of section 276 of the DCL. Nirav Modi, Mihir

Bhansali, Ajay Gandhi, and their co-conspirators approved the Diagems Transfers in order to

perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for the benefit of Modi,

his family, and others. The natural consequence of the Diagems Transfers was to deplete FDI’s

property and frustrate satisfaction of FDI’s legitimate obligations.

       583.      Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Diagems Transfers set aside, or who could disregard the Diagems Transfers

and attach or levy execution upon the property conveyed, under N.Y. DCL section 278 and/or

279.

       584.      The Trustee may avoid the Diagems Transfers under Bankruptcy Code section

544(b)(1).


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       585.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Diagems Transfers for the benefit of FDI’s estate from Diagems, the entity to or for whose benefit

the Diagems Transfers were made, and from any subsequent transferees.

       586.      The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                             COUNT 18

                 Avoidance and Recovery of Constructive Fraudulent Transfers
             Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Diagems)

       587.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       588.      The Diagems Transfers constituted transfers of interests of FDI in property.

       589.      The Diagems Transfers were made to or for the benefit of Diagems.

       590.      The Diagems Transfers were made by FDI without fair consideration.

       591.      On the date of each Diagems Six-Year Transfer, FDI was insolvent or was rendered

insolvent as a result of such transfer.

       592.      Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Diagems Transfers set aside, or who could disregard the Diagems Transfers

and attach or levy execution upon the property conveyed, under N.Y. DCL sections 278 and/or

279.

       593.      The Trustee may avoid the Diagems Transfers under Bankruptcy Code section

544(b)(1).

       594.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Diagems Transfers for the benefit of FDI’s estate from Diagems, the entity to or for whose benefit

the Diagems Transfers were made, and from any subsequent transferees.


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                                            COUNT 19

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                          (Empire)

       595.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       596.    The Debtors made transfers of inventory to Empire within two years of the

commencement of the Debtors’ chapter 11 cases, as identified on Schedule E, attached hereto

(collectively, the “Empire Two-Year Transfers”).

       597.    The Empire Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       598.    The Empire Two-Year Transfers were made to or for the benefit of Empire.

       599.    The Empire Two-Year Transfers were made with the actual intent to hinder, delay,

or defraud the Debtors’ creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Empire Two-Year Transfers in order to perpetuate the Bank Fraud and

to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Empire Two-Year Transfers was to deplete the Debtors’ property and

frustrate satisfaction of the Debtors’ legitimate obligations.

       600.    The Trustee may avoid the Empire Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       601.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Empire Two-Year Transfers for the benefit of the Debtors’ estates from Empire, the entity to or

for whose benefit the Empire Two-Year Transfers were made, and from any subsequent

transferees.




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                                            COUNT 20

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Empire)

       602.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       603.    The Debtors made numerous transfers of cash and inventory to Empire within six

years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule E, attached

hereto (collectively, the “Empire Six-Year Transfers”).

       604.    The Empire Six-Year Transfers were made to or for the benefit of Empire.

       605.    The Empire Six-Year Transfers were made with the actual intent to hinder or delay

present or future creditors of the Debtors within the meaning of section 276 of the DCL. Nirav

Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Empire Six-Year

Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for

the benefit of Modi, his family, and others. The natural consequence of the Empire Six-Year

Transfers was to deplete the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate

obligations.

       606.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Empire Six-Year Transfers set aside, or who could disregard the Empire

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

section 278 and/or 279.

       607.    The Trustee may avoid the Empire Six-Year Transfers under Bankruptcy Code

section 544(b)(1).




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       608.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Empire Six-Year Transfers for the benefit of the Debtors’ estates from Empire, the entity to or for

whose benefit the Empire Six-Year Transfers were made, and from any subsequent transferees.

       609.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 21

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                         (Empire)

       610.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       611.    The Empire Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       612.    The Empire Two-Year Transfers were made to or for the benefit of Empire.

       613.    The Debtors received less than reasonably equivalent value in exchange for the

Empire Two-Year Transfers.

       614.    The Debtors were insolvent on the date each Empire Two-Year Transfer was made,

or became insolvent as a result of such transfer.

       615.    The Trustee may avoid the Empire Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       616.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Empire Two-Year Transfers for the benefit of the Debtors’ estates from Empire, the entity to or

for whose benefit the Empire Two-Year Transfers were made, and from any subsequent

transferees.




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                                            COUNT 22

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Empire)

       617.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       618.      The Empire Six-Year Transfers constituted transfers of interests of the Debtors in

property.

       619.      The Empire Six-Year Transfers were made to or for the benefit of Empire.

       620.      The Empire Six-Year Transfers were made by the Debtors without fair

consideration.

       621.      On the date of each Empire Six-Year Transfer, the Debtors were insolvent or were

rendered insolvent as a result of such transfer.

       622.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Empire Six-Year Transfers set aside, or who could disregard the Empire

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       623.      The Trustee may avoid the Empire Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       624.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Empire Six-Year Transfers for the benefit of the Debtors’ estates from Empire, the entity to or for

whose benefit the Empire Six-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 23

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                          (Eternal)

       625.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       626.    The Debtors made transfers of inventory to Eternal within two years of the

commencement of the Debtors’ chapter 11 cases, as identified on Schedule F, attached hereto

(collectively, the “Eternal Two-Year Transfers”).

       627.    The Eternal Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       628.    The Eternal Two-Year Transfers were made to or for the benefit of Eternal.

       629.    The Eternal Two-Year Transfers were made with the actual intent to hinder, delay,

or defraud the Debtors’ creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Eternal Two-Year Transfers in order to perpetuate the Bank Fraud and

to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Eternal Two-Year Transfers was to deplete the Debtors’ property and

frustrate satisfaction of the Debtors’ legitimate obligations.

       630.    The Trustee may avoid the Eternal Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       631.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Eternal Two-Year Transfers for the benefit of the Debtors’ estates from Eternal, the entity to or for

whose benefit the Eternal Two-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 24

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Eternal)

       632.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       633.    The Debtors made transfers of cash and inventory to Eternal within six years of

the commencement of the Debtors’ chapter 11 cases, as identified on Schedule F, attached hereto

(collectively, the “Eternal Six-Year Transfers”).

       634.    The Eternal Six-Year Transfers were made to or for the benefit of Eternal.

       635.    The Eternal Six-Year Transfers were made with the actual intent to hinder or delay

present or future creditors of the Debtors within the meaning of section 276 of the DCL. Nirav

Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Eternal Six-Year

Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for

the benefit of Modi, his family, and others. The natural consequence of the Eternal Six-Year

Transfers was to deplete the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate

obligations.

       636.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Eternal Six-Year Transfers set aside, or who could disregard the Eternal

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

section 278 and/or 279.

       637.    The Trustee may avoid the Eternal Six-Year Transfers under Bankruptcy Code

section 544(b)(1).




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       638.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Eternal Six-Year Transfers for the benefit of the Debtors’ estates from Eternal, the entity to or for

whose benefit the Eternal Six-Year Transfers were made, and from any subsequent transferees.

       639.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                            COUNT 25

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                         (Eternal)

       640.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       641.    The Eternal Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       642.    The Eternal Two-Year Transfers were made to or for the benefit of Eternal.

       643.    The Debtors received less than reasonably equivalent value in exchange for the

Eternal Two-Year Transfers.

       644.    The Debtors were insolvent on the date each Eternal Two-Year Transfer was made,

or became insolvent as a result of such transfer.

       645.    The Trustee may avoid the Eternal Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       646.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Eternal Two-Year Transfers for the benefit of the Debtors’ estates from Eternal, the entity to or for

whose benefit the Eternal Two-Year Transfers were made, and from any subsequent transferees.




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                                             COUNT 26

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Eternal)

       647.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       648.      The Eternal Six-Year Transfers constituted transfers of interests of the Debtors in

property.

       649.      The Eternal Six-Year Transfers were made to or for the benefit of Eternal.

       650.      The Eternal Six-Year Transfers were made by the Debtors without fair

consideration.

       651.      On the date of each Eternal Six-Year Transfer, the Debtors were insolvent or were

rendered insolvent as a result of such transfer.

       652.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Eternal Six-Year Transfers set aside, or who could disregard the Eternal

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       653.      The Trustee may avoid the Eternal Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       654.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Eternal Six-Year Transfers for the benefit of the Debtors’ estates from Eternal, the entity to or for

whose benefit the Eternal Six-Year Transfers were made, and from any subsequent transferees.




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                                           COUNT 27

                   Avoidance and Recovery of Actual Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                    (Fancy Creations)

       655.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       656.    The Debtors made numerous transfers of cash and inventory to Fancy Creations

within two years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule

G, attached hereto (collectively, the “Fancy Creations Two-Year Transfers”).

       657.    The Fancy Creations Two-Year Transfers constituted transfers of interests of the

Debtors in property.

       658.    The Fancy Creations Two-Year Transfers were made to or for the benefit of Fancy

Creations.

       659.    The Fancy Creations Two-Year Transfers were made with the actual intent to

hinder, delay, or defraud the Debtors’ creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and

their co-conspirators approved the Fancy Creations Two-Year Transfers in order to perpetuate

the Bank Fraud and to launder and siphon its illicit proceeds for the benefit of Modi, his family,

and others. The natural consequence of the Fancy Creations Two-Year Transfers was to deplete

the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate obligations.

       660.    The Trustee may avoid the Fancy Creations Two-Year Transfers under section

548(a)(1)(A) of the Bankruptcy Code.

       661.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Fancy Creations Two-Year Transfers for the benefit of the Debtors’ estates from Fancy Creations,

the entity to or for whose benefit the Fancy Creations Two-Year Transfers were made, and from

any subsequent transferees.


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                                            COUNT 28

                    Avoidance and Recovery of Actual Fraudulent Transfers
             Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                       (Fancy Creations)

       662.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       663.      The Debtors made numerous transfers of cash and inventory to Fancy Creations

within six years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule

G, attached hereto (collectively, the “Fancy Creations Six-Year Transfers”).

       664.      The Fancy Creations Six-Year Transfers were made to or for the benefit of Fancy

Creations.

       665.      The Fancy Creations Six-Year Transfers were made with the actual intent to hinder

or delay present or future creditors of the Debtors within the meaning of section 276 of the DCL.

Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Fancy

Creations Six-Year Transfers in order to perpetuate the Bank Fraud and to launder and siphon its

illicit proceeds for the benefit of Modi, his family, and others. The natural consequence of the

Fancy Creations Six-Year Transfers was to deplete the Debtors’ property and frustrate satisfaction

of the Debtors’ legitimate obligations.

       666.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Fancy Creations Six-Year Transfers set aside, or who could disregard

the Fancy Creations Six-Year Transfers and attach or levy execution upon the property conveyed,

under N.Y. DCL section 278 and/or 279.

       667.      The Trustee may avoid the Fancy Creations Six-Year Transfers under Bankruptcy

Code section 544(b)(1).




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       668.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Fancy Creations Six-Year Transfers for the benefit of the Debtors’ estates from Fancy Creations,

the entity to or for whose benefit the Fancy Creations Six-Year Transfers were made, and from

any subsequent transferees.

       669.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 29

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                    (Fancy Creations)

       670.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       671.    The Fancy Creations Two-Year Transfers constituted transfers of interests of the

Debtors in property.

       672.    The Fancy Creations Two-Year Transfers were made to or for the benefit of Fancy

Creations.

       673.    The Debtors received less than reasonably equivalent value in exchange for the

Fancy Creations Two-Year Transfers.

       674.    The Debtors were insolvent on the date each Fancy Creations Two-Year Transfer

was made, or became insolvent as a result of such transfer.

       675.    The Trustee may avoid the Fancy Creations Two-Year Transfers under section

548(a)(1)(B) of the Bankruptcy Code.

       676.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Fancy Creations Two-Year Transfers for the benefit of the Debtors’ estates from Fancy Creations,




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the entity to or for whose benefit the Fancy Creations Two-Year Transfers were made, and from

any subsequent transferees.

                                            COUNT 30

                 Avoidance and Recovery of Constructive Fraudulent Transfers
             Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                       (Fancy Creations)

       677.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       678.      The Fancy Creations Six-Year Transfers constituted transfers of interests of the

Debtors in property.

       679.      The Fancy Creations Six-Year Transfers were made to or for the benefit of Fancy

Creations.

       680.      The Fancy Creations Six-Year Transfers were made by the Debtors without fair

consideration.

       681.      On the date of each Fancy Creations Six-Year Transfer, the Debtors were insolvent

or were rendered insolvent as a result of such transfer.

       682.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Fancy Creations Six-Year Transfers set aside, or who could disregard

the Fancy Creations Six-Year Transfers and attach or levy execution upon the property conveyed,

under N.Y. DCL sections 278 and/or 279.

       683.      The Trustee may avoid the Fancy Creations Six-Year Transfers under Bankruptcy

Code section 544(b)(1).

       684.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Fancy Creations Six-Year Transfers for the benefit of the Debtors’ estates from Fancy Creations,




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the entity to or for whose benefit the Fancy Creations Six-Year Transfers were made, and from

any subsequent transferees.

                                            COUNT 31

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                          (Pacific)

       685.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       686.    The Debtors made numerous transfers of cash and inventory to Pacific within two

years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule H, attached

hereto (collectively, the “Pacific Two-Year Transfers”).

       687.    The Pacific Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       688.    The Pacific Two-Year Transfers were made to or for the benefit of Pacific.

       689.    The Pacific Two-Year Transfers were made with the actual intent to hinder, delay,

or defraud the Debtors’ creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Pacific Two-Year Transfers in order to perpetuate the Bank Fraud and

to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Pacific Two-Year Transfers was to deplete the Debtors’ property and

frustrate satisfaction of the Debtors’ legitimate obligations.

       690.    The Trustee may avoid the Pacific Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       691.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Pacific Two-Year Transfers for the benefit of the Debtors’ estates from Pacific, the entity to or for

whose benefit the Pacific Two-Year Transfers were made, and from any subsequent transferees.


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                                            COUNT 32

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Pacific)

       692.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       693.    The Debtors made numerous transfers of cash and inventory to Pacific within six

years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule H, attached

hereto (collectively, the “Pacific Six-Year Transfers”).

       694.    The Pacific Six-Year Transfers were made to or for the benefit of Pacific.

       695.    The Pacific Six-Year Transfers were made with the actual intent to hinder or delay

present or future creditors of the Debtors within the meaning of section 276 of the DCL. Nirav

Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Pacific Six-Year

Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for

the benefit of Modi, his family, and others. The natural consequence of the Pacific Six-Year

Transfers was to deplete the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate

obligations.

       696.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Pacific Six-Year Transfers set aside, or who could disregard the Pacific

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

section 278 and/or 279.

       697.    The Trustee may avoid the Pacific Six-Year Transfers under Bankruptcy Code

section 544(b)(1).




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       698.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Pacific Six-Year Transfers for the benefit of the Debtors’ estates from Pacific, the entity to or for

whose benefit the Pacific Six-Year Transfers were made, and from any subsequent transferees.

       699.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                            COUNT 33

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                         (Pacific)

       700.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       701.    The Pacific Two-Year Transfers constituted transfers of interests of the Debtors in

property.

       702.    The Pacific Two-Year Transfers were made to or for the benefit of Pacific.

       703.    The Debtors received less than reasonably equivalent value in exchange for the

Pacific Two-Year Transfers.

       704.    The Debtors were insolvent on the date each Pacific Two-Year Transfer was made,

or became insolvent as a result of such transfer.

       705.    The Trustee may avoid the Pacific Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       706.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Pacific Two-Year Transfers for the benefit of the Debtors’ estates from Pacific, the entity to or for

whose benefit the Pacific Two-Year Transfers were made, and from any subsequent transferees.




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                                             COUNT 34

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Pacific)

       707.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       708.      The Pacific Six-Year Transfers constituted transfers of interests of the Debtors in

property.

       709.      The Pacific Six-Year Transfers were made to or for the benefit of Pacific.

       710.      The Pacific Six-Year Transfers were made by the Debtors without fair

consideration.

       711.      On the date of each Pacific Six-Year Transfer, the Debtors were insolvent or were

rendered insolvent as a result of such transfer.

       712.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Pacific Six-Year Transfers set aside, or who could disregard the Pacific

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       713.      The Trustee may avoid the Pacific Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       714.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Pacific Six-Year Transfers for the benefit of the Debtors’ estates from Pacific, the entity to or for

whose benefit the Pacific Six-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 35

                   Avoidance and Recovery of Actual Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                       (Sunshine)

       715.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       716.    FDI transferred $965,000.00 in inventory to Sunshine on March 17, 2016 (the

“Sunshine Transfer”).

       717.    The Sunshine Transfer was made within two years of the commencement of FDI’s

chapter 11 case.

       718.    The Sunshine Transfer constituted a transfer of interest of FDI in property.

       719.    The Sunshine Transfer was made to or for the benefit of Sunshine.

       720.    The Sunshine Transfer was made with the actual intent to hinder, delay, or

defraud FDI’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators

approved the Sunshine Transfer in order to perpetuate the Bank Fraud and to launder and siphon

its illicit proceeds for the benefit of Modi, his family, and others. The natural consequence of the

Sunshine Transfer was to deplete FDI’s property and frustrate satisfaction of FDI’s legitimate

obligations.

       721.    The Trustee may avoid the Sunshine Transfer under section 548(a)(1)(A) of the

Bankruptcy Code.

       722.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Sunshine Transfer for the benefit of FDI’s estate from Sunshine, the entity to or for whose benefit

the Sunshine Transfer was made, and from any subsequent transferees.




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                                             COUNT 36

                    Avoidance and Recovery of Actual Fraudulent Transfers
             Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Sunshine)

       723.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       724.      The Sunshine Transfer was made within six years of the commencement of FDI’s

chapter 11 case.

       725.      The Sunshine Transfer constituted a transfer of an interest of FDI in property.

       726.      The Sunshine Transfer was made to or for the benefit of Sunshine.

       727.      The Sunshine Transfer was made with the actual intent to hinder or delay present

or future creditors of FDI within the meaning of section 276 of the DCL. Nirav Modi, Mihir

Bhansali, Ajay Gandhi, and their co-conspirators approved the Sunshine Transfer in order to

perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for the benefit of Modi,

his family, and others. The natural consequence of the Sunshine Transfer was to deplete FDI’s

property and frustrate satisfaction of FDI’s legitimate obligations.

       728.      Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Sunshine Transfer set aside, or who could disregard the Sunshine Transfer

and attach or levy execution upon the property conveyed, under N.Y. DCL section 278 and/or

279.

       729.      The Trustee may avoid the Sunshine Transfer under Bankruptcy Code section

544(b)(1).

       730.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Sunshine Transfer for the benefit of FDI’s estate from Sunshine, the entity to or for whose benefit

the Sunshine Transfer was made, and from any subsequent transferees.


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       731.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 37

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                       (Sunshine)

       732.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       733.    The Sunshine Transfer constituted a transfer of an interest of FDI in property.

       734.    The Sunshine Transfer was made to or for the benefit of Sunshine.

       735.    FDI received less than reasonably equivalent value in exchange for the Sunshine

Transfer.

       736.    FDI was insolvent on the date the Sunshine Transfer was made, or became

insolvent as a result of such transfer.

       737.    The Trustee may avoid the Sunshine Transfer under section 548(a)(1)(B) of the

Bankruptcy Code.

       738.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Sunshine Transfer for the benefit of FDI’s estate from Sunshine, the entity to or for whose benefit

the Sunshine Transfer was made, and from any subsequent transferees.




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                                             COUNT 38

                 Avoidance and Recovery of Constructive Fraudulent Transfers
             Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Sunshine)

       739.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       740.      The Sunshine Transfer constituted a transfer of an interest of FDI in property.

       741.      The Sunshine Transfer was made to or for the benefit of Sunshine.

       742.      The Sunshine Transfer was made by FDI without fair consideration.

       743.      On the date the Sunshine Transfer was made, FDI was insolvent or was rendered

insolvent as a result of such transfer.

       744.      Actual creditors, including but not limited to FDI’s vendors and suppliers, exist

who could have the Sunshine Transfer set aside, or who could disregard the Sunshine Transfer

and attach or levy execution upon the property conveyed, under N.Y. DCL sections 278 and/or

279.

       745.      The Trustee may avoid the Sunshine Transfer under Bankruptcy Code section

544(b)(1).

       746.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Sunshine Transfer for the benefit of FDI’s estate from Sunshine, the entity to or for whose benefit

the Sunshine Transfer was made, and from any subsequent transferees.

                                             COUNT 39

                     Avoidance and Recovery of Actual Fraudulent Transfers
                           Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                         (Tri Color)

       747.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.


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       748.    The Debtors made cash transfers to Tri Color within two years of the

commencement of the Debtors’ chapter 11 cases, as identified on Schedule I, attached hereto

(collectively, the “Tri Color Two-Year Transfers”).

       749.    The Tri Color Two-Year Transfers constituted transfers of interests of the Debtors

in property.

       750.    The Tri Color Two-Year Transfers were made to or for the benefit of Tri Color.

       751.    The Tri Color Two-Year Transfers were made with the actual intent to hinder,

delay, or defraud the Debtors’ creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Tri Color Two-Year Transfers in order to perpetuate the Bank Fraud

and to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Tri Color Two-Year Transfers was to deplete the Debtors’ property

and frustrate satisfaction of the Debtors’ legitimate obligations.

       752.    The Trustee may avoid the Tri Color Two-Year Transfers under section

548(a)(1)(A) of the Bankruptcy Code.

       753.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Tri Color Two-Year Transfers for the benefit of the Debtors’ estates from Tri Color, the entity to

or for whose benefit the Tri Color Two-Year Transfers were made, and from any subsequent

transferees.

                                            COUNT 40

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                         (Tri Color)

       754.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.




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       755.    The Debtors made numerous transfers of cash and inventory to Tri Color within

six years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule I,

attached hereto (collectively, the “Tri Color Six-Year Transfers”).

       756.    The Tri Color Two-Year Transfers constituted transfers of interests of the Debtors

in property.

       757.    The Tri Color Six-Year Transfers were made to or for the benefit of Tri Color.

       758.    The Tri Color Six-Year Transfers were made with the actual intent to hinder or

delay present or future creditors of the Debtors within the meaning of section 276 of the DCL.

Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Tri Color Six-

Year Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds

for the benefit of Modi, his family, and others. The natural consequence of the Tri Color Six-Year

Transfers was to deplete the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate

obligations.

       759.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Tri Color Six-Year Transfers set aside, or who could disregard the Tri

Color Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y.

DCL section 278 and/or 279.

       760.    The Trustee may avoid the Tri Color Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       761.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Tri Color Six-Year Transfers for the benefit of the Debtors’ estates from Tri Color, the entity to or

for whose benefit the Tri Color Six-Year Transfers were made, and from any subsequent

transferees.




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       762.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 41

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                       (Tri Color)

       763.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       764.    The Tri Color Two-Year Transfers constituted transfers of interests of the Debtors

in property.

       765.    The Tri Color Two-Year Transfers were made to or for the benefit of Tri Color.

       766.    The Debtors received less than reasonably equivalent value in exchange for the Tri

Color Two-Year Transfers.

       767.    The Debtors were insolvent on the date each Tri Color Two-Year Transfer was

made, or became insolvent as a result of such transfer.

       768.    The Trustee may avoid the Tri Color Two-Year Transfers under section

548(a)(1)(B) of the Bankruptcy Code.

       769.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Tri Color Two-Year Transfers for the benefit of the Debtors’ estates from Tri Color, the entity to

or for whose benefit the Tri Color Two-Year Transfers were made, and from any subsequent

transferees.




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                                             COUNT 42

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Tri Color)

       770.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       771.      The Tri Color Six-Year Transfers constituted transfers of interests of the Debtors in

property.

       772.      The Tri Color Six-Year Transfers were made to or for the benefit of Tri Color.

       773.      The Tri Color Six-Year Transfers were made by the Debtors without fair

consideration.

       774.      On the date of each Tri Color Six-Year Transfer, the Debtors were insolvent or were

rendered insolvent as a result of such transfer.

       775.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Tri Color Six-Year Transfers set aside, or who could disregard the Tri

Color Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y.

DCL sections 278 and/or 279.

       776.      The Trustee may avoid the Tri Color Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       777.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Tri Color Six-Year Transfers for the benefit of the Debtors’ estates from Tri Color, the entity to or

for whose benefit the Tri Color Six-Year Transfers were made, and from any subsequent

transferees.




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                                            COUNT 43

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                          (Unique)

       778.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       779.    FDI made numerous transfers of cash and inventory to Unique within two years

of the commencement of FDI’s chapter 11 case, as identified on Schedule J, attached hereto

(collectively, the “Unique Two-Year Transfers”).

       780.    The Unique Two-Year Transfers constituted transfers of interests of FDI in

property.

       781.    The Unique Two-Year Transfers were made to or for the benefit of Unique.

       782.    The Unique Two-Year Transfers were made with the actual intent to hinder, delay,

or defraud FDI’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators

approved the Unique Two-Year Transfers in order to perpetuate the Bank Fraud and to launder

and siphon its illicit proceeds for the benefit of Modi, his family, and others. The natural

consequence of the Unique Two-Year Transfers was to deplete FDI’s property and frustrate

satisfaction of FDI’s legitimate obligations.

       783.    The Trustee may avoid the Unique Two-Year Transfers under section 548(a)(1)(A)

of the Bankruptcy Code.

       784.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Unique Two-Year Transfers for the benefit of FDI’s from Unique, the entity to or for whose benefit

the Unique Two-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 44

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                          (Unique)

       785.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       786.    The Debtors made numerous transfers of cash and inventory to Unique within six

years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule J, attached

hereto (collectively, the “Unique Six-Year Transfers”).

       787.    The Unique Six-Year Transfers were made to or for the benefit of Unique.

       788.    The Unique Six-Year Transfers were made with the actual intent to hinder or delay

present or future creditors of the Debtors within the meaning of section 276 of the DCL. Nirav

Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Unique Six-Year

Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit proceeds for

the benefit of Modi, his family, and others. The natural consequence of the Unique Six-Year

Transfers was to deplete the Debtors’ property and frustrate satisfaction of the Debtors’ legitimate

obligations.

       789.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Unique Six-Year Transfers set aside, or who could disregard the Unique

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

section 278 and/or 279.

       790.    The Trustee may avoid the Unique Six-Year Transfers under Bankruptcy Code

section 544(b)(1).




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       791.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Unique Six-Year Transfers for the benefit of the Debtors’ estates from Unique, the entity to or for

whose benefit the Unique Six-Year Transfers were made, and from any subsequent transferees.

       792.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 45

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                        (Unique)

       793.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       794.    The Unique Two-Year Transfers constituted transfers of interests of FDI in

property.

       795.    The Unique Two-Year Transfers were made to or for the benefit of Unique.

       796.    FDI received less than reasonably equivalent value in exchange for the Unique

Two-Year Transfers.

       797.    FDI was insolvent on the date each Unique Two-Year Transfer was made, or

became insolvent as a result of such transfer.

       798.    The Trustee may avoid the Unique Two-Year Transfers under section 548(a)(1)(B)

of the Bankruptcy Code.

       799.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Unique Two-Year Transfers for the benefit of FDI’s estate from Unique, the entity to or for whose

benefit the Unique Two-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 46

                Avoidance and Recovery of Constructive Fraudulent Transfers
            Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                           (Unique)

       800.      The Trustee restates and re-alleges paragraphs 1 through 382 of this Complaint as

though fully set forth herein.

       801.      The Unique Six-Year Transfers constituted transfers of interests of the Debtors in

property.

       802.      The Unique Six-Year Transfers were made to or for the benefit of Unique.

       803.      The Unique Six-Year Transfers were made by the Debtors without fair

consideration.

       804.      On the date of each Unique Six-Year Transfer, the Debtors were insolvent or were

rendered insolvent as a result of such transfer.

       805.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Unique Six-Year Transfers set aside, or who could disregard the Unique

Six-Year Transfers and attach or levy execution upon the property conveyed, under N.Y. DCL

sections 278 and/or 279.

       806.      The Trustee may avoid the Unique Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       807.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Unique Six-Year Transfers for the benefit of the Debtors’ estates from Unique, the entity to or for

whose benefit the Unique Six-Year Transfers were made, and from any subsequent transferees.




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                                            COUNT 47

                    Avoidance and Recovery of Actual Fraudulent Transfers
                          Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                     (World Diamond)

       808.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       809.    FDI made numerous transfers of inventory to World Diamond within two years

of the commencement of FDI’s chapter 11 case, as identified on Schedule K, attached hereto

(collectively, the “World Diamond Two-Year Transfers”).

       810.    The World Diamond Two-Year Transfers constituted transfers of interests of FDI

in property.

       811.    The World Diamond Two-Year Transfers were made to or for the benefit of World

Diamond.

       812.    The World Diamond Two-Year Transfers were made with the actual intent to

hinder, delay, or defraud FDI’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the World Diamond Two-Year Transfers in order to perpetuate the Bank

Fraud and to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others.

The natural consequence of the World Diamond Two-Year Transfers was to deplete FDI’s

property and frustrate satisfaction of FDI’s legitimate obligations.

       813.    The Trustee may avoid the World Diamond Two-Year Transfers under section

548(a)(1)(A) of the Bankruptcy Code.

       814.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

World Diamond Two-Year Transfers for the benefit of FDI’s from World Diamond, the entity to

or for whose benefit the World Diamond Two-Year Transfers were made, and from any

subsequent transferees.


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                                            COUNT 48

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                     (World Diamond)

       815.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       816.    The Debtors made numerous transfers of inventory to World Diamond within six

years of the commencement of the Debtors’ chapter 11 cases, as identified on Schedule K, attached

hereto (collectively, the “World Diamond Six-Year Transfers”).

       817.    The World Diamond Six-Year Transfers were made to or for the benefit of World

Diamond.

       818.    The World Diamond Six-Year Transfers were made with the actual intent to hinder

or delay present or future creditors of the Debtors within the meaning of section 276 of the DCL.

Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the World

Diamond Six-Year Transfers in order to perpetuate the Bank Fraud and to launder and siphon its

illicit proceeds for the benefit of Modi, his family, and others. The natural consequence of the

World Diamond Six-Year Transfers was to deplete the Debtors’ property and frustrate

satisfaction of the Debtors’ legitimate obligations.

       819.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the World Diamond Six-Year Transfers set aside, or who could disregard

the World Diamond Six-Year Transfers and attach or levy execution upon the property conveyed,

under N.Y. DCL section 278 and/or 279.

       820.    The Trustee may avoid the World Diamond Six-Year Transfers under Bankruptcy

Code section 544(b)(1).




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       821.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

World Diamond Six-Year Transfers for the benefit of the Debtors’ estates from World Diamond,

the entity to or for whose benefit the World Diamond Six-Year Transfers were made, and from

any subsequent transferees.

       822.    The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                           COUNT 49

                Avoidance and Recovery of Constructive Fraudulent Transfers
                         Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                    (World Diamond)

       823.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       824.    The World Diamond Two-Year Transfers constituted transfers of interests of the

Debtors in property.

       825.    The World Diamond Two-Year Transfers were made to or for the benefit of World

Diamond.

       826.    The Debtors received less than reasonably equivalent value in exchange for the

World Diamond Two-Year Transfers.

       827.    The Debtors were insolvent on the date each World Diamond Two-Year Transfer

was made, or became insolvent as a result of such transfer.

       828.    The Trustee may avoid the World Diamond Two-Year Transfers under section

548(a)(1)(B) of the Bankruptcy Code.

       829.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

World Diamond Two-Year Transfers for the benefit of the Debtors’ estates from World Diamond,




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the entity to or for whose benefit the World Diamond Two-Year Transfers were made, and from

any subsequent transferees.

                                           COUNT 50

               Avoidance and Recovery of Constructive Fraudulent Transfers
           Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                     (World Diamond)

       830.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       831.    The World Diamond Two-Year Transfers constituted transfers of interests of FDI

in property.

       832.    The World Diamond Two-Year Transfers were made to or for the benefit of World

Diamond.

       833.    FDI received less than reasonably equivalent value in exchange for the World

Diamond Two-Year Transfers.

       834.    FDI was insolvent on the date each World Diamond Two-Year Transfer was made,

or became insolvent as a result of such transfer.

       835.    The Trustee may avoid the World Diamond Two-Year Transfers under section

548(a)(1)(B) of the Bankruptcy Code.

       836.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

World Diamond Two-Year Transfers for the benefit of FDI’s estate from World Diamond, the

entity to or for whose benefit the World Diamond Two-Year Transfers were made, and from any

subsequent transferees.




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                                              COUNT 51

                     Avoidance and Recovery of Actual Fraudulent Transfers
                           Under 11 U.S.C. §§ 548(a)(1)(A) and 550(a)
                                        (Twin Fields)

          837.   The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

          838.   Jaffe made numerous cash transfers to Twin Fields within two years of the

commencement of Jaffe’s chapter 11 case, as identified on Schedule L, attached hereto

(collectively, the “Twin Fields Two-Year Transfers”).

          839.   The Twin Fields Two-Year Transfers constituted transfers of interests of Jaffe in

property.

          840.   The Twin Fields Two-Year Transfers were made to or for the benefit of Twin

Fields.

          841.   The Twin Fields Two-Year Transfers were made with the actual intent to hinder,

delay, or defraud Jaffe’s creditors. Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-

conspirators approved the Twin Fields Two-Year Transfers in order to perpetuate the Bank Fraud

and to launder and siphon its illicit proceeds for the benefit of Modi, his family, and others. The

natural consequence of the Twin Fields Two-Year Transfers was to deplete Jaffe’s property and

frustrate satisfaction of Jaffe’s legitimate obligations.

          842.   The Trustee may avoid the Twin Fields Two-Year Transfers under section

548(a)(1)(A) of the Bankruptcy Code.

          843.   Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Twin Fields Two-Year Transfers for the benefit of Jaffe’s estate from Twin Fields, the entity to or

for whose benefit the Twin Fields Two-Year Transfers were made, and from any subsequent

transferees.


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                                          COUNT 52

                  Avoidance and Recovery of Actual Fraudulent Transfers
           Under N.Y. DCL §§ 276, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                        (Twin Fields)

       844.    The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       845.    The Debtors made numerous cash transfers to Twin Fields within six years of the

commencement of the Debtors’ chapter 11 cases, as identified on Schedule L, attached hereto

(collectively, the “Twin Fields Six-Year Transfers”).

       846.    The Twin Fields Six-Year Transfers were made to or for the benefit of Twin Fields.

       847.    The Twin Fields Six-Year Transfers were made with the actual intent to hinder or

delay present or future creditors of the Debtors within the meaning of section 276 of the DCL.

Nirav Modi, Mihir Bhansali, Ajay Gandhi, and their co-conspirators approved the Twin Fields

Six-Year Transfers in order to perpetuate the Bank Fraud and to launder and siphon its illicit

proceeds for the benefit of Modi, his family, and others. The natural consequence of the Twin

Fields Six-Year Transfers was to deplete the Debtors’ property and frustrate satisfaction of the

Debtors’ legitimate obligations.

       848.    Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Twin Fields Six-Year Transfers set aside, or who could disregard the

Twin Fields Six-Year Transfers and attach or levy execution upon the property conveyed, under

N.Y. DCL section 278 and/or 279.

       849.    The Trustee may avoid the Twin Fields Six-Year Transfers under Bankruptcy Code

section 544(b)(1).

       850.    Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Twin Fields Six-Year Transfers for the benefit of the Debtors’ from Twin Fields, the entity to or


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for whose benefit the Twin Fields Six-Year Transfers were made, and from any subsequent

transferees.

          851.   The Trustee is entitled to his reasonable costs and expenses incurred pursuing this

claim, including counsel fees under DCL section 276-a, and as otherwise permitted by law.

                                             COUNT 53

                  Avoidance and Recovery of Constructive Fraudulent Transfers
                           Under 11 U.S.C. §§ 548(a)(1)(B) and 550(a)
                                        (Twin Fields)

          852.   The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

          853.   The Twin Fields Two-Year Transfers constituted transfers of interests of Jaffe in

property.

          854.   The Twin Fields Two-Year Transfers were made to or for the benefit of Twin

Fields.

          855.   Jaffe received less than reasonably equivalent value in exchange for the Twin

Fields Two-Year Transfers.

          856.   Jaffe was insolvent on the date each Twin Fields Two-Year Transfer was made, or

became insolvent as a result of such transfer.

          857.   The Trustee may avoid the Twin Fields Two-Year Transfers under section

548(a)(1)(B) of the Bankruptcy Code.

          858.   Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Twin Fields Two-Year Transfers for the benefit of Jaffe’s estate from Twin Fields, the entity to or

for whose benefit the Twin Fields Two-Year Transfers were made, and from any subsequent

transferees.




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                                             COUNT 54

               Avoidance and Recovery of Constructive Fraudulent Transfers
           Under N.Y. DCL §§ 273, 278, and 279 and 11 U.S.C. §§ 544(b)(1) and 550(a)
                                        (Twin Fields)

       859.      The Trustee restates and re-alleges paragraphs 1 through 370 of this Complaint as

though fully set forth herein.

       860.      The Twin Fields Six-Year Transfers constituted transfers of interests of the Debtors

in property.

       861.      The Twin Fields Six-Year Transfers were made to or for the benefit of Twin Fields.

       862.      The Twin Fields Six-Year Transfers were made by the Debtors without fair

consideration.

       863.      On the date of each Twin Fields Six-Year Transfer, the Debtors were insolvent or

were rendered insolvent as a result of such transfer.

       864.      Actual creditors, including but not limited to the Debtors’ vendors and suppliers,

exist who could have the Twin Fields Six-Year Transfers set aside, or who could disregard the

Twin Fields Six-Year Transfers and attach or levy execution upon the property conveyed, under

N.Y. DCL sections 278 and/or 279.

       865.      The Trustee may avoid the Twin Fields Six-Year Transfers under Bankruptcy Code

section 544(b)(1)

       866.      Under Bankruptcy Code section 550(a), the Trustee may recover the value of the

Twin Fields Six-Year Transfers for the benefit of the Debtors’ estates from Twin Fields, the entity

to or for whose benefit the Twin Fields Six-Year Transfers were made, and from any subsequent

transferees.




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                                        PRAYER FOR RELIEF

       WHEREFORE, the Trustee, as chapter 11 trustee of the Debtors and as assignee and

judgment creditor of the U.S. Affiliates, respectfully requests that the Court:

           a. On Count 1, enter judgment in favor of the Trustee and against all Defendants,

                jointly and severally, in treble the amount of damages to be proven at trial, but no

                less than $175,000,000 that were suffered by the Debtors and their estates as a result

                of the Defendants’ violation of the Racketeering Influenced Corrupt Organizations

                Act, plus interest, costs and attorneys’ fees, and such other equitable relief as may

                be just and proper.

           b. On Count 2, enter judgment in favor of the Trustee, as assignee of the U.S.

                Affiliates, and against all Defendants, jointly and severally, in treble the amount

                of damages to be proven at trial, but no less than $50,000,000, that were suffered

                by the U.S. Affiliates as a result of the Defendants’ violation of the Racketeering

                Influenced Corrupt Organizations Act, plus interest, costs and attorneys’ fees, and

                such other equitable relief as may be just and proper.

           c. On Count 3, avoid the Synergies-Mehta Transfer and enter judgment in favor of

                the Trustee and against Defendant Purvi Mehta in the amount of $14,575,000.

           d. On Count 4, avoid the Synergies-Mehta Transfer and enter judgment in favor of

                the Trustee and against Defendant Purvi Mehta in the amount of $14,575,000.

           e. On Count 5, avoid the CPRE Equity Transfer and enter judgment in favor of the

                Trustee and against the Ithaca Trust and Ami Modi, jointly and severally, in the

                amount of $6,000,000.

           f.   On Count 6, avoid the CPRE Equity Transfer and enter judgment in favor of the

                Trustee and against the Ithaca Trust and Ami Modi, jointly and severally, in the

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             amount of $6,000,000.

        g. On Count 7, avoid each of the CPRE Two-Year Transfers and enter judgment in

             favor of the Trustee and against CPRE in the amount of $3,603,683.69.

        h. On Count 8, avoid each of the CPRE Six-Year Transfers and enter judgment in

             favor of the Trustee and against CPRE in the amount of $4,594,559.78.

        i.   On Count 9, avoid each of the CPRE Two-Year Transfers and enter judgment in

             favor of the Trustee and against CPRE in the amount of $3,603,683.69.

        j.   On Count 10, avoid each of the CPRE Six-Year Transfers and enter judgment in

             favor of the Trustee and against CPRE in the amount of $4,594,559.78.

        k. On Count 11, avoid each of the Auragem Transfers and enter judgment in favor of

             the Trustee and against Auragem in the amount of $2,340,968.94.

        l.   On Count 12, avoid each of the Auragem Transfers and enter judgment in favor of

             the Trustee and against Auragem in the amount of $2,340,968.94.

        m. On Count 13, avoid each of the Brilliant Two-Year Transfers and enter judgment

             in favor of the Trustee and against Brilliant in the amount of $5,264,397.13.

        n. On Count 14, avoid each of the Brilliant Six-Year Transfers and enter judgment in

             favor of the Trustee and against Brilliant in the amount of $10,491,287.11.

        o. On Count 15, avoid each of the Brilliant Two-Year Transfers and enter judgment

             in favor of the Trustee and against Brilliant in the amount of $5,264,397.13.

        p. On Count 16, avoid each of the Brilliant Six-Year Transfers and enter judgment in

             favor of the Trustee and against Brilliant in the amount of $10,491,287.11.

        q. On Count 17, avoid each of the Diagems Transfers and enter judgment in favor of

             the Trustee and against Diagems in the amount of $2,966,406.15.

        r. On Count 18, avoid each of the Diagems Transfers and enter judgment in favor of

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             the Trustee and against Diagems in the amount of $2,966,406.15.

        s. On Count 19, avoid each of the Empire Two-Year Transfers and enter judgment in

             favor of the Trustee and against Empire in the amount of $1,069,006.07.

        t.   On Count 20, avoid each of the Empire Six-Year Transfers and enter judgment in

             favor of the Trustee and against Empire in the amount of $12,113,126.57.

        u. On Count 21, avoid each of the Empire Two-Year Transfers and enter judgment in

             favor of the Trustee and against Empire in the amount of $1,069,006.07.

        v. On Count 22, avoid each of the Empire Six-Year Transfers and enter judgment in

             favor of the Trustee and against Empire in the amount of $12,113,126.57.

        w. On Count 23, avoid each of the Eternal Two-Year Transfers and enter judgment in

             favor of the Trustee and against Eternal in the amount of $1,433,815.61.

        x. On Count 24, avoid each of the Eternal Six-Year Transfers and enter judgment in

             favor of the Trustee and against Eternal in the amount of $1,733,815.61.

        y. On Count 25, avoid each of the Eternal Two-Year Transfers and enter judgment in

             favor of the Trustee and against Eternal in the amount of $1,433,815.61.

        z. On Count 26, avoid each of the Eternal Six-Year Transfers and enter judgment in

             favor of the Trustee and against Eternal in the amount of $1,733,815.61.

        aa. On Count 27, avoid each of the Fancy Creations Two-Year Transfers and enter

             judgment in favor of the Trustee and against Fancy Creations in the amount of

             $3,900,916.93.

        bb. On Count 28, avoid each of the Fancy Creations Six-Year Transfers and enter

             judgment in favor of the Trustee and against Fancy Creations in the amount of

             $10,827,802.57.

        cc. On Count 29, avoid each of the Fancy Creations Two-Year Transfers and enter

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           judgment in favor of the Trustee and against Fancy Creations in the amount of

           $3,900,916.93.

        dd. On Count 30, avoid each of the Fancy Creations Six-Year Transfers and enter

           judgment in favor of the Trustee and against Fancy Creations in the amount of

           $10,827,802.57.

        ee. On Count 31, avoid each of the Pacific Two-Year Transfers and enter judgment in

           favor of the Trustee and against Pacific in the amount of $12,494,765.63.

        ff. On Count 32, avoid each of the Pacific Six-Year Transfers and enter judgment in

           favor of the Trustee and against Pacific in the amount of $41,771,415.37.

        gg. On Count 33, avoid each of the Pacific Two-Year Transfers and enter judgment in

           favor of the Trustee and against Pacific in the amount of $12,494,765.63.

        hh. On Count 34, avoid each of the Pacific Six-Year Transfers and enter judgment in

           favor of the Trustee and against Pacific in the amount of $41,771,415.37.

        ii. On Count 35, avoid the Sunshine Transfer and enter judgment in favor of the

           Trustee and against Sunshine in the amount of $965,000.00.

        jj. On Count 36, avoid the Sunshine Transfer and enter judgment in favor of the

           Trustee and against Sunshine in the amount of $965,000.00.

        kk. On Count 37, avoid the Sunshine Transfer and enter judgment in favor of the

           Trustee and against Sunshine in the amount of $965,000.00.

        ll. On Count 38, avoid the Sunshine Transfer and enter judgment in favor of the

           Trustee and against Sunshine in the amount of $965,000.00.

      mm. On Count 39, avoid each of the Tri Color Two-Year Transfers and enter judgment

           in favor of the Trustee and against Tri Color in the amount of $1,493,645.55.

        nn. On Count 40, avoid each of the Tri Color Six-Year Transfers and enter judgment

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           in favor of the Trustee and against Tri Color in the amount of $12,395,082.86.

        oo. On Count 41, avoid each of the Tri Color Two-Year Transfers and enter judgment

           in favor of the Trustee and against Tri Color in the amount of $1,493,645.55.

        pp. On Count 42, avoid each of the Tri Color Six-Year Transfers and enter judgment

           in favor of the Trustee and against Tri Color in the amount of $12,395,082.86.

        qq. On Count 43, avoid each of the Unique Two-Year Transfers and enter judgment in

           favor of the Trustee and against Unique in the amount of $3,475,031.42.

        rr. On Count 44, avoid each of the Unique Six-Year Transfers and enter judgment in

           favor of the Trustee and against Unique in the amount of $11,494,395.02.

        ss. On Count 45, avoid each of the Unique Two-Year Transfers and enter judgment in

           favor of the Trustee and against Unique in the amount of $3,475,031.42.

        tt. On Count 46, avoid each of the Unique Six-Year Transfers and enter judgment in

           favor of the Trustee and against Unique in the amount of $11,494,395.02.

        uu. On Count 47, avoid each of the World Diamond Two-Year Transfers and enter

           judgment in favor of the Trustee and against World Diamond in the amount of

           $10,607,792.98.

        vv. On Count 48, avoid each of the World Diamond Six-Year Transfers and enter

           judgment in favor of the Trustee and against World Diamond in the amount of

           $21,175,805.74.

       ww. On Count 49, avoid each of the World Diamond Two-Year Transfers and enter

           judgment in favor of the Trustee and against World Diamond in the amount of

           $10,607,792.98.

        xx. On Count 50, avoid each of the World Diamond Six-Year Transfers and enter

           judgment in favor of the Trustee and against World Diamond in the amount of

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           $21,175,805.74.

        yy. On Count 51, avoid each of the Twin Fields Two-Year Transfers and enter

           judgment in favor of the Trustee and against Twin Fields in the amount of

           $3,265,000.00.

        zz. On Count 52, avoid each of the Twin Fields Six-Year Transfers and enter judgment

           in favor of the Trustee and against Twin Fields in the amount of $21,361,542.28.

       aaa. On Count 53, avoid each of the Twin Fields Two-Year Transfers and enter

           judgment in favor of the Trustee and against Twin Fields in the amount of

           $3,265,000.00.

       bbb. On Count 54, avoid each of the Twin Fields Six-Year Transfers and enter judgment

           in favor of the Trustee and against Twin Fields in the amount of $21,361,542.28.

       ccc. Award the Trustee his reasonable costs and expenses incurred in this action,

           including counsel fees under New York Debtor & Creditor Law section 276-a and

           as otherwise permitted by law.




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Dated: February 25, 2020
       New York, New York         Respectfully submitted,

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                                          APPENDIX A

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       During the Relevant Period, Nirav Modi, Bhansali, and Gandhi exercised direct oversight

and control over transactions between the U.S. Entities and Shadow Entities. For example:

        (i)    On June 8, 2012, Gandhi emailed Bhavesh Patel and Shyam Wadhwa,
               “Please email payables to HK and Dubai – all the companies. Firestar,
               Firestar Diamond Int’l and Jaffe. Need to pay $1m to HK or Dubai hence
               need name and amounts only.” Bhavesh replied, “There is nothing open in
               Dubai however HK open payables attached herewith for your review.”
               Gandhi replied, “It could be Pacific, World Diamond, etc too.” That same
               day, FDI transferred $1,000,000 to Fancy Creations. This transaction is
               described as an “advance” in FDI’s bank statement.

        (ii)   On July 23, 2012, Ajay Gandhi sent a message to Nirav Modi through
               Panemail, which is a web-based email service that automatically deletes
               messages, “Niravbhai, please see attached payment plan in 5 parts to clean-
               up AR and AP of [FDII] for HK, Dubai, Belgium and NY. Funds should
               come from respective companies. 1. $452k. 2. $1.129m. 3. $1.5m. 4. $828k.
               5. $1.05m. If implemented, the attached AR and AP of $4.3 million can be
               cleaned up. Please let me know if you have different thought.” On August
               3, 2012, Gandhi forwarded the email to Hemant Bhatt, copying Bhansali,
               and stated, “I will call you Monday to discuss. We need to move funds in
               Firestar Diamond International, Inc. per attached. NM/MB is fine so long
               as money flows from SDC/Tristar and Diamlink to any of HK or Dubai
               entities.” On August 14, 2012, Gandhi followed up, “Hemant, When can I
               expect payments for the below cycle that we spoke about?” On August 27,
               2012, Bhatt replied to Gandhi, copying Bhansali, “Pacific and Unique paid
               as above. Please pay accordingly.”

               The message contained a list reflecting that Pacific and Unique owed FDII
               $779,579 and $418,498, respectively, in accounts receivable, and that FDII
               owed Fancy Creations, FDL, and Diagems $1,063,369, $121,129, and
               $14,033, respectively, in accounts payable. On August 28, 2012, Hemant
               Bhatt messaged Ajay Gandhi on Panemail, “Auragem paid $200,000.00 and
               Brilliant paid $231,175.03. Pleeasse [sic] confirm receipt and pay to Fancy.”
               FDII’s bank statements reflect: (a) incoming wires of $779,544.11 and
               $418,463.00 on August 27, 2012 from Pacific and Unique, respectively; (b)
               incoming wires of $231,150.03 from Brilliant and $199,975.00 from
               Auragem on August 28, 2012; and (c) outgoing wires of $1,063,369,
               $121,129.21, and $14,032.80 on August 28, 2012 to Fancy Creations, FDL,
               and Diagems, respectively.




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      (iii)   On August 28, 2012, Gandhi emailed Bhavesh Patel, “Tomorrow, please
              wire $431,175 to Fancy Creations from [FDII’s] Capital Old Account.”
              FDII’s bank statement reflects an outgoing wire in the amount of $431,175
              to Fancy Creations on August 29, 2012.

      (iv)    On September 12, 2012, Gandhi emailed Bhavesh Patel, copying Hemant
              Bhatt, “Please wire $150,000 to Unique Diamond for back office expenses
              from January 2012 thru June 2012 – invoice #’s UD-FI-004 & UD-FI-001.”
              That same day, Patel emailed Gandhi and Bhatt, “Please find attached wire
              from FSI to Unique as per new bank details for $150k.” Gandhi replied
              solely to Patel, “Spoke to HB for return of funds?” Patel replied, “I called
              him today morning. He confirmed and told that, he will require invoice
              details if any / from which location amount will remit etc[.] so that he will
              arrange as per your requirement in NY.” Gandhi replied, “Ask him from
              where he can remit and give him details. It could be in FS or Intl.”

      (v)     On December 4, 2012, Sridhar Krishnan of SDC Designs emailed Gandhi,
              “You shall receive payment of $1,737,155 . . . from Empire Gems FZE in
              Firestar Diamond International, part payment against your invoice # 73112
              dt 7/31/12[.] Please make payment to SDC Designs LLC against their
              invoice # 629966 dt 7/30/12.” Gandhi replied, “When?” Krishnan replied,
              “I am wiring today to Universal FZE, so I guess you would get it from
              Empire gems tomorrow.” Gandhi then forwarded the email chain to Mihir
              Bhansali and asked, “Ok to proceed per below once funds are received?”
              That same day, Gandhi separately forwarded Krishnan’s email to Hemant
              Bhatt and asked, “Is this OK once funds are received?” Gandhi followed
              up with Bhatt several hours later, “Do not send email. Please call me to
              confirm in the morning.”

      (vi)    On December 10, 2012, Gandhi emailed Bhavesh Patel, “Pay $1m against
              above invoice to Empire Gems tomorrow from HSBC per attached wire
              instruction. Also let HB know that $733k is already paid against this
              invoice. Upon information and belief, “HB” refers to Hemant Bhatt. On
              December 11, 2012, FDI wired $1,185,025.05 to Empire.

     (vii)    On December 13, 2012, Gandhi instructed Bhavesh Patel to “prepare the
              following wires today: 1. Pay $231,000 to Unique for Back Office expenses
              from Firestar Diamond Inc. 2. Pay $391,611 to Synergies Corp from Firestar
              Diamond, Inc. for Interest. 3. Pay $300,000 to Unique from Synergies Corp.
              for Loan Repayment. 4. Pay $91,000 to Brilliant from Synergies Corp for
              Loan Repayment. 5. Balance amount tomorrow to Diagem once funds are
              here in Firestar Diamond, Inc.” Later that day, Gandhi followed up,
              “Money is coming any minute hence wire $552,133.10 to Diagem from
              Firestar Diamond, Inc. (against open invoice) . . .” The next day, Patel
              replied, “Based o[n] HB’s details, please find wire from FSI to Diagems for
              $552,133.10. Gandhi replied, “Please tell HB about wires from yesterday

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              and ask if he receives it. Upon information and belief, “HB” refers to
              Hemant Bhatt.

     (viii)   On December 20, 2012, Bhavesh Patel emailed Ajay Gandhi, “Please find
              attached wire [from FDI] to Diagems ($119k) and Pacific ($652k) as per
              instructions.” Gandhi replied, “Change Empire amount as discussed.”

      (ix)    In a 2012 email, Kurian Matthews relayed a conversation he had with
              Bhansali in which they set up a circular transaction starting at Fantasy,
              going through Radashir Jewelry Co. Pvt. Ltd. (a Modi-Controlled Entity
              that has been implicated in the Bank Fraud), FIL, and Firestar and ending
              back at Fantasy. The purpose was to “clear the old invoices of Radashir on
              FDC” because a bank was inquiring about the old invoices. Similarly, in
              December 2012, Bhansali and Kurian Mathews discussed wiring money to
              Radashir and back to the Debtors against Radashir’s accounts payables to
              “use [the money] for NM [Modi].”

       (x)    On February 4, 2013, Sridhar Krishnan, the manager of SDC Designs, LLC
              wrote to Bhansali and Modi partner Hemant Bhatt using personal email
              addresses. Krishman told Bhatt and Bhansali, “You should expect 1.4
              million in Universal fze today. Please wire the same to A Jaffe.” Two days
              later, Bhatt confirmed that Universal Fine Jewelry FZE had received the
              funds and that “Empire paid US $1,391,570 to A Jaffe value 05 Feb 13.”

      (xi)    On February 6, 2013, Ajay Gandhi emailed Nirav Modi, copying Mihir
              Bhansali, “Niravbhai, After keeping $3 million buffer, I can pay $1 million
              to India in February 2013. Please let me know if I should ask Manish/Amit
              for listing to pay.” Modi replied, “Yes pls.” One day earlier, Gandhi
              emailed Manish Bosamiya, Miten Pandya, and Amit Magia, “We can pay
              $1.0 million to India in the month of February 2013. Please email me a list
              to pay.” As alleged above, Manish Bosamiya and Miten Pandya were
              among the individuals directly involved in obtaining LOU funding from
              PNB. Thus, upon information and belief, the purpose of Gandhi’s emails
              was to inform Modi, Bosamiya, and Pandya the amount Gandhi would be
              able to send to facilitate repayment of LOUs.

     (xii)    On February 19, 2013, Shyam Wadhwa emailed Ajay Gandhi, “Kindly
              clarify details of open vendor bills against which inward wire receipt of
              $2[,]006,987.25 on 29th May ’12 has been applied. Gandhi replied, “$2m
              was received & wired back to FIPL and Radashir.” His email included a
              table reflecting that, on May 19, 2012, $2,006,949.25 received from Pacific
              was sent to FIPL ($1,953,990) and Radashir ($126,010).




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     (xiii)   On February 22, 2013, Bhavesh Patel emailed Ajay Gandhi a wire
              confirmation reflecting a $503,501.41 transfer from FDI to Pacific.

     (xiv)    On October 23, 2013, Ajay Gandhi emailed Bhavesh Patel, “Pay $150,000 to
              Pacific Diamonds per the attached from Firestar Diamond, Inc. – HSBC.”
              Patel replied with the wire confirmation and stated, “Please find attached
              wire from FSI to Pacific as Professional Fees.”

     (xv)     On October 30, 2013, Bhavesh Patel emailed Ajay Gandhi, copying
              Altamash Ansari and Shyam Wadhwa, “Please find attached internal
              transfer as well as wire document for your reference. 1. FSI to Jaffe,
              Amount $1,768,385.00 (Internal) 2. Jaffe to Pacific, Amount $2,455,036.00
              (Abu Dhabi Bank). A few hours later, Patel followed up to ask Gandhi to
              “please approve attached wires as discussed.”

     (xvi)    On December 31, 2013, Mihir Bhansali emailed Ajay Gandhi, “As
              discussed, FSI will pay to Sangam Diamonds Corp. on behalf of Fancy
              Creation Company Limited (HK) (Invoice # 100773 Dt. 19.12.2013).
              Attached are Invoice of Sangam Diamonds Corp Sale to Fancy and
              Sangam’s bank info. Please make wire today.” Gandhi replied, copying
              Bhavesh Patel, “Bhavesh, please set-up wire from Firestar to Sangam
              Diamond – NY.” Patel then replied with the wire confirmation reflecting a
              $1,247,746 payment to Sangam Diamonds Corp. On January 8, 2014,
              Gandhi forwarded Bhansali’s December 31, 2013 email to Hemant Bhatt,
              stating “I paid $1.24m on 12/31/13 to Fancy per attached. This funds never
              came back hence I will pay $575k today. Please call me if needed.”

    (xvii)    On February 5, 2014, Altamash Ansari emailed Ajay Gandhi, with a copy
              to Shyam Wadhwa and Bhavesh Patel, a table of “Receipts & Payments for
              the month in which [Jaffe] received money from Pacific.” The table listed
              amounts Jaffe received from and paid to Pacific, Empire, Twin Fields, and
              various Firestar Entities. Replying solely to Shyam Wadhwa, Gandhi
              stated, “Pacific got paid more than they send funds !!!!!” Wadhwa replied,
              “Please ignore below email. To answer your question, A. Jaffe had received
              Funds through Pacific which were lying as ADVANCE in books. Post
              shipment of diamonds, advance has got adjusted.” On February 12, 2014,
              Gandhi replied, “Anything I need to do?” Wadhwa replied, “Manish
              Bosamiya would be requiring $ 4M funds against India billing on A. Jaffe.”
              As noted above, upon information and belief, Manish Bosamiya was one
              of the individuals directly involved in obtaining LOU funding from PNB,
              which suggests that the $4 million Wadhwa requested from Jaffe was
              directly related to repaying an LOU. Gandhi replied, “Spoke to MB [upon
              information and belief, Mihir Bhansali]. Let’s talk tomorrow or Friday. He
              prefers outgoing shipment from Jaffe to Firestar BVBA as oppose to
              anywhere.”




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    (xviii)   On March 18, 2014, Ajay Gandhi emailed Bhavesh Patel, copying Hemant
              Bhatt, instructions to wire $150,000 from FDI to Unique for “back office
              expenses,” $123, 097 from FDI to Synergies for “Interest,” and $123,000
              from Synergies to Brilliant for “Loan repayment.” Patel replied with the
              wire confirmations.

     (xix)    On March 25, 2014, Shyam Wadhwa emailed Ajay Gandhi, copying
              Bhavesh Patel, “FHL has remitted sub-debt funds [of] USD [$]4,058,500 to
              Firestar Diamond Inc and USD [$]1,800,000 to Firestar Group Inc. Please
              remit funds to Brilliant from both companies and confirm.” Patel then sent
              Gandhi wire confirmations reflecting a transfer of $4,058,500 from FDI to
              Brilliant and a transfer of $1,800,000 from FGI to Brilliant.

      (xx)    On August 4, 2014, Sridhar Krishnan of SDC Designs emailed Ajay Gandhi,
              “Did you wire to Empire. Please advise.” Gandhi replied, “I need to pay
              overseas. I have asked for a listing to pay. I will let you know once it is
              wired.” Krishnan replied, “I need the funds by tomorrow. Please
              expedite.”

     (xxi)    On September 18, 2014, Manish Bosamiya emailed Ajay Gandhi, copying
              Bhavesh Patel, “Firestar Diamond Intl Inc will receive US $550,000.00 from
              Firestar Diamond Ltd (HK) in Capital One Bank.” Patel then emailed
              Gandhi, “Please approve below wire from Capital Old [one of FDII’s
              Capital One bank accounts] to Pacific for $550,000.00 as POA.”

    (xxii)    On December 16, 2014, Gandhi emailed Avinash Oza and Altamash
              Ansari, “Please pay $1,240,273.54 to Auragem, HK tomorrow for their
              invoice #2580001314 from Firestar Diamond, Inc. (Part payment).” Oza
              replied with the wire confirmation. Gandhi replied, “Bank information
              confirmed with Sandeep?” Upon information and belief, Gandhi was
              referring to Sandeep Mistry, one of the key co-conspirators in the Bank
              Fraud.

    (xxiii)   On February 19, 2015, Ajay Gandhi emailed Hemant Bhatt, “I would like
              to pay $300k for back-office expenses. Pay to Unique? Please email me wire
              information. Also, I would like to pay $180k from Synergies to Brilliant.
              Please email me wire confirmation.” On February 20, 2015, Ajay Gandhi
              emailed Arpan Doshi and Avinash Oza instructions to wire $186,871 from
              FDI to Synergies as “Interest”, $300,000 from FDI to Eternal as “Back Office
              Expense,” and $180,000 from Synergies to Brilliant as “Loan Repayment.”
              Doshi replied with the wire confirmations.

    (xxiv)    On March 2, 2015, Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $300,000 from FDI to Unique and $180,000 from
              Synergies to Brilliant. Doshi replied with the wire confirmations.




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     (xxv)    On June 26, 2015 Ajay Gandhi emailed Arpan Doshi and Avinash Oza
              instructions to wire $300,000 from FDI to Pacific. FDI’s bank statement
              reflects a transfer from FDI to Pacific of $1,438,270.60 on that day.

    (xxvi)    On September 28, 2015, Ajay Gandhi emailed Avinash Oza, “Please wire
              $1,017,000 from Firestar Diamond, Inc to Pacific Diamond – on account.”
              Oza replied with the wire confirmation. Gandhi replied, please wire
              $54,000 to Pacific D from Firestar Diamond, Inc.” Gandhi then emailed
              Operation 1, in reply to an email earlier that day in which Operation 1 sent
              Gandhi Pacific’s bank details, “$1.017m wired. I thought it was $1.017m
              but I received $1.071m. Will wire balance tomorrow - $54k.” FDI’s bank
              statements reflect these transfers.

   (xxvii)    On February 26, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $1,192,105.55 from FDI to Tri Color. Doshi replied with
              the wire confirmation.

   (xxviii)   In March 2016, Evelyn Kosiec, the Jaffe operations manager, asked Bhansali
              where to re-export loose diamonds, and an hour later she emailed Gandhi,
              “Mihir informed to ship this to Eternal diamonds in Hong Kong, the same
              price, rounded to the nearest 5 120 day terms.”

    (xxix)    On March 4, 2016, Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $300,000 from FDI to Unique. Oza replied with the wire
              confirmation.

     (xxx)    On March 9, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $247,551 from FDI to Synergies and $250,000 from
              Synergies to Brilliant. Doshi replied with the wire confirmations.

    (xxxi)    On March 15, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $700,000 from Jaffe to Pacific. Oza replied with the wire
              confirmation.

   (xxxii)    On March 21, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $1 million from Jaffe to Pacific. Doshi replied with the
              wire confirmation.

   (xxxiii)   On March 24, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $1 million from Jaffe to Pacific. Oza replied with the
              wire confirmation.

   (xxxiv)    On March 25, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
              instructions to wire $1.4 million from Jaffe to NMI, and then $613,069 from
              NMI to Auragem and $787,000 from NMI to Nirav Modi Ltd. Doshi replied
              with the wire confirmations.


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    (xxxv)     On March 31, 2016, Ajay Gandhi emailed Avinash Oza and Arpan Doshi
               instructions to wire $301,540 from Fantasy to Tri Color Gems. Oza replied
               with the wire confirmation.

   (xxxvi)     On April 5, 2016, Gandhi emailed Avinash Oza and Arpan Doshi
               instructions to wire $500,000 from Jaffe to Pacific. Doshi replied with the
               wire confirmation.

  (xxxvii)     On May 6, 2016, Gandhi emailed Avinash Oza, Arpan Doshi, and
               Altamash Ansari instructions to wire $2 million from Jaffe to Pacific. Oza
               replied with the wire confirmation.

  (xxxviii)    On June 1, 2016, Gandhi emailed Avinash Oza and Arpan Doshi
               instructions to wire $815,000 from Jaffe to Pacific. Doshi replied with the
               wire confirmation. Jaffe’s bank statements reflect this wire transfer.

   (xxxix)     On June 29, 2016, Ajay Gandhi emailed Altamash Ansari and Vishal Popat
               a bank statement reflecting a $599,972 wire transfer from Pacific to Jaffe on
               June 29, 2016. Gandhi instructed them to “show as advance if no open AR
               from Pacific.”

       (xl)    On July 18, 2016, Ajay Gandhi emailed Avinash Oza instructions to wire
               $200,000 from FDI to Jaffe, $200,000 from Jaffe to Fancy Creations, $150,000
               from FDI to FDII, and $150,000 from FDII to Fancy Creations. Oza replied
               with the wire confirmations.

      (xli)    On July 19, 2016, Ajay Gandhi Emailed Avinash Oza instructions to wire
               $1,809,528 from FDI to Fancy Creations. Oza replied with the wire
               confirmation.

     (xlii)    On July 22, 2016, Gandhi emailed Avinash Oza and Arpan Doshi
               instructions to wire “$715k from Firestar to Fancy – Purchases[;] $200k
               from Firestar to Jaffe[;] $200k from Jaffe to Fancy – Purchases[.]” Oza
               replied with the wire confirmations.

     (xliii)   On March 22, 2017, Ajay Gandhi emailed Avinash Oza and Kunal Patel
               instructions to wire $300,000 from FDI to Unique for “Back-Office
               expenses” and $240,000 from Synergies to Brilliant for “Repayment of
               Loan.” Oza replied with the wire confirmations.




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    (xliv)   On January 3, 2018, Gandhi emailed Avinash Oza instructions to wire
             $483,620.05 from FDI to Pacific, $2,188,769.43 from FDII to Pacific, and
             $530,000 from Jaffe to Pacific. Oza replied with the wire confirmations.
             Gandhi then forwarded this email to Subhash Parab and Shyam Wadhwa
             stating, with respect to the $2,188,769.43 transfer to Pacific, “We have wired
             these funds from FSI but please apply this amount to FSII (Pacific) due to
             bank error in Capital One.” Consistent with Gandhi’s email, FDI’s bank
             statements confirm that FDI wired both $483,620.05 and $2,188,769.43 to
             Pacific on January 3, 2018.

     (xlv)   On January 31, 2018, Avinash Oza emailed Ajay Gandhi wire
             confirmations reflecting transfers of $2,466,015 and $525,000 from FDII to
             Fancy Creations. Gandhi forwarded the wire confirmations to Shyam
             Wadhwa and stated, “Please let your vendor know of this payment and
             clear any AR from HK.”




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       Ajay Gandhi regularly advised Nirav Modi, Miten Pandya, Manish Bosamiya, Amit

Magia, and Shyam Wadhwa, of his ability to wire funds from the U.S. Entities to India in

furtherance of the Bank Fraud throughout the Relevant Period. For example:

        (i)    On August 14, 2009, Nirav Modi directed Gandhi to make payments
               totaling $2,293,326 to Brilliant and Diagem. On June 16, 2010, Nirav Modi
               instructed Gandhi, “Unique has wired $250,000 today to Synergies. Please
               wire to the account Mehul bhai wants.”

        (ii)   On August 26, 2010, Nirav Modi emailed Ajay Gandhi to ask, “What will
               be the week-by-week payment plan for September to India?” On August
               27, 2010, Gandhi replied, attaching two spreadsheets containing two
               possible scenarios, and noting “to cover August borrowing base – I have
               asked India to remit $1 m for one day & I will remit back on September 1.
               Substantial amount of inventory was shipped to India & HK hence
               inventory & AR became ineligible.” On August 29, 2010, Gandhi
               forwarded this email chain to Mihir Bhansali.

       (iii)   On October 21, 2010, in furtherance of a circular trade, Nirav Modi and
               Gandhi communicated by email about the shipment of a diamond to a
               Shadow Entity. Modi stated, “Send the 70 ct vivid yellow to Firestone
               Dubai @51,500 and not Firestone HK.” Gandhi responded, “Firestone,
               Dubai confirmed (Not Unique)[,]” to which Modi clarified, “Sorry
               Unique[,]” in reference to the Shadow Entity. Gandhi responded with
               “Glad I asked!!!”

       (iv)    On December 20, 2013, Ajay Gandhi emailed Manish Bosamiya, Miten
               Pandya, and Amit Magia, “I can pay $600k from Capital One – Diamond
               Division or A. Jaffe – HSBC.” On December 23, 2013, Bosamiya replied,
               “Please find attached open invoice of $602,761.39 from FSI.” Patel replied
               to Gandhi, “They don’t have anything most recent open from Jaffe or
               diamond division so they gave listing from FSI for $603k. Please let me
               know if we can pay from FSI so that I will prepare wires as per that.”
               Gandhi replied, “Transfer to H[s]bc but do not pay from this list but pay
               other list [o]f Manish around $1.8m.”

        (v)    On January 9, 2014, Ajay Gandhi emailed Miten Pandya, Manish
               Bosamiya, and Amit Magia, “I can pay $5 million in January 2014 to India.
               Please email me a listing of invoices so that I can wire funds on a weekly
               basis or so.” Bosamiya replied with the allocation of the $5 million among
               various Firestar Entities. On January 13, 2014, Gandhi replied, “$5m wired
               per below. Please acknowledge receipt of these wires.” On January 21,
               2014, Bosamiya replied, copying Bhavesh Patel, “Boi – London [upon

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             information and belief, “Boi” refers to “Bank of India] informed yesterday
             that they have not received $2,157,359.90 as the concern [sic] person was
             on leave last week and they have only received the message that funds are
             coming but Nostro is not credited. Please provide the swift message.” Later
             that day, Patel replied to Gandhi, “Manishbhai called me and they received
             fund.” Gandhi then replied to Bosamiya, “Bhavesh emailed me that funds
             were received. Please let me know otherwise.”

      (vi)   On April 1, 2014, Gandhi emailed Manish Bosamiya, “I can pay $4 million
             in April 2014 to India. Please email me a listing of invoices so that I can
             wire funds on a weekly basis or so.” Bosamiya replied with instructions to
             wire $1,763,644.60 from FDI to FIL and $2,250,858.36 from FDI to FDIPL.
             On April 2, 2014, Gandhi replied, “1.76m wired today.” On April 14, 2014,
             Gandhi followed up, “$240k and $341k wired today.”

     (vii)   On April 6, 2016, Shyam Wadhwa emailed Ajay Gandhi and Mihir
             Bhansali asking them to send $2.7 million from Jaffe to FIL to clear
             outstanding accounts receivable and stating “our fund position is tight in
             India, else would have wired funds to you against our payables of about
             USD 1M from FDIPL for clearing AR/AP between India and NY.” Gandhi
             replied, copying Bhansali, “We have Overseas AR of around $8.5m in
             Firestar Diamond, Inc. – If I get funds in FD, Inc then we can wire funds to
             India this month.” The next day, Gandhi followed up, “I can wire $1m this
             month from Jaffe thru FS. Can it come back to FS?




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       The secretive nature of the “regular” financials is demonstrated by the communications

between Nirav Modi, Ajay Gandhi, Mihir Bhansali, and other co-conspirators. For example:

        (i)    On September 24, 2009, Ajay Gandhi emailed Raghu Iyer, “I looked at cash
               flow totals and there are major differences in the total cash flow summary
               versus details by month. The main reason is that I am accounting for non-
               core cash receipts and non-core payments thru cash flow without
               increasing the corresponding sales & purchases (Loose diamonds).” Iyer
               replied, “Can u make this match pls[.] So we will get the annual cash flow
               properly[.]”

       (ii)    On March 8, 2010, Deepak Gupta emailed Ajay Gandhi and Mihir Bhansali
               asking for Jaffe and FDI’s financial statements. Gandhi forwarded the
               email to Bhansali and asked, “Who is Deepak Gupta and OK to send FS to
               him?” Bhansali replied, “Yes, ok to send to him. Will explain when we
               talk.” Gandhi replied, “Should I send him both core and non-core?”
               Bhansali replied, “Yes, send him both, so that they correspond with the
               audited numbers. Speak to him on the phone and explain to him the
               difference.”

       (iii)   On October 17, 2012, Ajay Gandhi emailed Nirav Modi, Mihir Bhansali,
               Raghu Iyer, and Saju Poulose the “Core Business and Regular Financial
               Statements as of September 30, 2012 for your review.” On October 25, 2012,
               Saju Poulose emailed Ajay Gandhi, “Need your help to understand ‘third’
               version ‘sales’ number of [FDII] as on Sep 2012 . . . 1. Josh Division Sales
               $4,898,257 - This is only Josh diamond sales from the financials[?] 2.
               September Financials $8,333,842 -This is including Josh + NDM
               larger/corporate sales[?] 3. September Financials Josh Division for
               Consolidation $9,599,627 = what are [sic] this numbers include?” Gandhi
               replied, “1. September Josh’s division of HK will include sales made to
               inter-company such as Firestar Diamond, Inc., A. Jaffe, Firestar HK,
               Firestar Dubai and other affiliated companies in HK and Dubai ($9.55
               million). 2. Josh’s financial - $4.89 million will include any of the affiliated
               sales that he may be earning margins. All Pink sales and affiliated sales
               without margin are not included. 3. Corporate Sales - $8.33 million will not
               include AN[Y] affiliated sales but only sales to outside customers including
               Pink diamond sales.”

       (iv)    On September 16, 2013, Ajay Gandhi emailed Samir Shah and Rebecca
               Chow with the subject “Loose Diamond Sales”, “$196k loss for the attached
               sales of August 2013. Please confirm ASAP.” Shah replied, “The goods
               came in at the wrong prices from Sandeep. This is the reason it is showing
               as a loss.” Gandhi forwarded the email to Mihir Bhansali and stated, “We
               need to stop this. I am losing control on the Core Financials. Whre do I

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            show such loss for August now – Core or Non-Core? Can we reverse in
            September 2013 please as it is affecting banks for 6 month financials…”
            Gandhi followed up, “$196k loss was excluded from Core Financials of
            August 2013 but it is part of Regular Financials.” Bhansali replied, copying
            Saju Poulose, “Ok. Saju – pls speak to me.”

      (v)   On October 15, 2013, Ajay Gandhi emailed Saju Poulose, copying Kuntal
            Desai, “Core-Non-Core – Thru September 2013 – How much am I moving?
            $167k or $177k that we discussed last week?” Poulose replied, “Hi
            Ajaybhai, Have discussed with Kuntal and gone thru his working file in
            detail. He will sent [sic] you the detailed mail.” Gandhi replied, “How
            much was the amount and Kuntal – did you sent [sic] it?” Desai replied,
            “Yes. Please check other mail.”




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       As part of the audit process, the auditors would email parties listed on the audited

company’s accounts receivable and accounts payable records to request written confirmation of

the amounts reflected in the audited company’s books and records. For audits of the U.S. entities,

which upon information and belief were conducted together, Ajay Gandhi would be copied on

the auditor’s emails to Shadow Entities, which Gandhi would often forward to Operation 1 to ask

that Operation 1 cause the Shadow Entity to provide confirmation the auditors. For example:

         (i)   On June 7, 2017, Ajay Gandhi forwarded to Operation 1 an auditor’s
               request to Fancy Creations. Operation 1 replied, “Today or tomorrow
               customer will confirm as discussed.” Gandhi replied, “There were several
               emails…” Gandhi was referencing the auditor’s requests to several other
               Shadow Entities, which Gandhi had also forwarded to Operation 1.

        (ii)   On July 11, 2017, Gandhi sent an email to Operation 1 asking “Can you
               please have your customer [Brilliant] sign the attached confirmation for
               Synergies Corp?”        The attachment was not the typical auditor’s
               confirmation request sheet; instead, it was a term sheet for an unsecured
               loan from Brilliant to Synergies in the amount of $1,287,000. The term sheet
               indicated that the loan would be interest free, repayable on demand, dated
               as of September 30, 2016—nearly one year earlier—and was to be used “for
               the business purpose of the Company.” On July 19, 2017, Gandhi sent an
               email directly to “accounts@brilliantdiamonds.hk”, copying Operation 1,
               stating, “Please see attached Synergies Confirmation and sign and email to
               me ASAP. You are holding up my audit. This is balance confirmation as of
               9/30/16.” Approximately an hour later, Gandhi forwarded the email to
               Kurian Matthews asking, “Kurian – can you please have your customer
               take care of it ASAP per below email?” On July 23, 2017, an employee of
               Brilliant replied to Gandhi’s email, copying Operation 1, attaching the
               signed loan term sheet.

       (iii)   On November 10, 2017, Gandhi forwarded to Operation 1 an auditor’s
               request to Eternal and asked Operation 1 to “Please chase your vendor to
               confirmed [sic] it. Audit is on hold.” That same day, Gandhi sent
               substantively identical emails to Operation 1 forwarding auditor requests
               to Fancy Creations and Sino Traders.




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       The Operation 1 account was also used to orchestrate transfers of funds and jewels among

Firestar Entities and Shadow Entities. For example:

        (i)    On March 6, 2015, Rebecca Chow emailed Sandeep Mistry, copying Samir
               Shah and Paresh Mehta, “Please be informed that 1.68.52cts of 1/2ct VS
               loose diamond that’s ready to be shipped. Please provide shipping address
               so we can process.” Later that day, Chow forwarded the email to Operation
               1 and stated, “Hi Sandeep, Hope this email reach [sic] you! Please advise
               below and thanks.”

        (ii)   On September 28, 2015, Ajay Gandhi sent Operation 1 remittance
               instructions for Jaffe’s HSBC bank account ending 2460. The next day,
               Operation 1 replied, “Universal made payment of 1.4 m Advance Against
               Invoice[.]” A few hours later, Gandhi replied, “Received and wired to
               SDC.” Jaffe’s bank statements reflect that, on September 29, 2015, Jaffe
               received $1,399,962 from Universal Fine Jewelry FZE. That same day, Jaffe
               transferred $464,050 to SDC Designs LLC and $950,000 to FDII. FDII’s bank
               statements reflect that, on September 29, 2015, FDII transferred $943,827.50
               to SDC Designs LLC. Thus, consistent with the email exchange between
               Ajay Gandhi and Operation 1, the entire approximately $1.4 million Jaffe
               received from Universal was ultimately paid to SDC Designs, LLC.

       (iii)   On January 29, 2016, Dhinakaran Pillai, a finance manager at Firestar
               International Pvt. Ltd., emailed Ajay Gandhi, “We have remitted today US
               $405,180.83 in FSI from FIPL invoice details as listed below . . . Once the
               payment as has been realized in your account, kindly remit the overdue
               outstanding of US $650,880.00 against our invoices, details as attached for
               your reference.” The email referenced two invoices from FIPL to FDI dated
               October 22, 2015 and October 23, 2015, respectively. On February 3, 2016,
               Subhash Parab, who was copied on Pillai’s email to Gandhi, forwarded the
               email to Operation 1 with the note “FYI”. Operation 1 then emailed
               Gandhi, “Ajaybhai, India Team conformed [sic] that $650k is against his
               plan $405k, so that Please send to Firestar Dubai $650k, which we
               yesterday talk [sic]. Regards, Sandeep[.]” Gandhi replied, copying Subhash
               Parab, “I will pay $425k. Please let me know where or what company.”

       (iv)    On February 1, 2016, Operation 1 emailed Rebecca Chow and Samir Shah,
               “You will be received [sic] the goods from Tricolor[.] Please coordinate
               with Samir Bhai in details[.]” The email included a table listing a total of
               379.02 carats of mixed diamonds of varying specifications. FDI’s purchase
               ledger reflects a February 22, 2016 purchase of 379.02 carats of loose
               diamonds from Tri Color Gems for a total price of $400,131.




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       (v)    On February 9, 2016, Rebecca Chow emailed Operation 1, copying Ajay
              Gandhi, “Hi Sandeep, as per our phone conversation, please be informed
              that package of RE-117 & RE-119 both has [sic] been received in NY.
              Additionally, there is one shipment received that has no paper work at all.”

      (vi)    On March 3, 2016, Subhash Parab emailed Ajay Gandhi, copying Operation
              1 and Shyam Wadhwa, “Dear Ajaybhai, Kindly wire USD2.00 Mio [sic]
              payment from A. Jaffe to FIPL as per attached listing.” The attachment was
              a spreadsheet listing several dozen invoices issued by FIPL to Jaffe between
              March 20, 2015 and September 9, 2015 totaling $2,004,879.70. Gandhi
              replied, “Just realized cannot pay to Jaffe (Part of $3 m) unless funds are
              coming in from overseas.”

     (vii)    On March 29, 2017, Operation 1 emailed Ajay Gandhi, “Ajaybhai, We sold
              goods to Pacific Diamond FZE, and party will wire advice $1.9m[.] Please
              send to them Proforma Invoice as below details . . . Regards[,] Sales”.
              Gandhi replied with invoice no. 032017, dated March 20, 2017, reflecting a
              sale by Jaffe to Pacific of 1,691.25 carats of “Mix Diamonds” at a total price
              of $2,114,062.50. On April 3, 2017, Jaffe received a $1,499,972 transfer from
              Pacific with a wire reference of “ADVANCE AGAINST PROFORMA INV
              N032017.” That same day, Jaffe transferred $1,510,267.77 to Firestar
              International Pvt. Ltd.

     (viii)   On September 22, 2017, Gandhi sent an email to Operation 1 attaching a
              report reflecting accounts receivable owed by Brilliant, Unique, and World
              Diamond to FDI and asking Operation 1 to “Please have your customer
              clear these AR - $5.5m on or before September 30, 2017.”




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       On many occasions, Mihir Bhansali and Ajay Gandhi would immediately transfer funds

received by the U.S. Entities from the Sheth Entities to Shadow Entities and Foreign Firestar

Entities (including through the L/C Collections service), as they commonly did with funds

received from Shadow Entities and Firestar Entities, but not from bona fide customers. For

example:

         (i)   On April 29, 2011, Excellent Facets wired $769,480 to FDI. On May 2, 2011,
               FDI paid $749,026.75 through the L/C Collections service.

        (ii)   On September 7, 2012, Excellent Facets wired $594,013.85 to FDI. The same
               day, FDI paid $381,290.70 through L/C Collections and paid $272,071.59 to
               the PNB account of FIPL. These subsequent transfers totaled $653,362.29.

       (iii)   On July 18, 2013, Excellent Facets received at least $751,895 from Fancy
               Creations. On the same day, Excellent Facets wired $949,980 to FDI. FDI
               then paid $489,943.35 through L/C Collections and wired $628,444.79 to
               FIPL.

       (iv)    On July 24, 2013, Excellent Facets wired $613,637.68 to FDI. The same day,
               FDI paid $700,000 to one of its lenders, HSBC Bank.

        (v)    On November 10, 2014, Excellent Facets wired $1,112,060.50 to Fantasy,
               after which Fantasy wired $1,100,000 to FDI, FDI transferred $1,100,000 to
               Jaffe, and Jaffe wired $1,117,113.16 to FIPL.

       (vi)    On November 19, 2015, Excellent Facets wired $976,864.85 to FDI. The next
               day, FDI also received $1,500,000 from Fantasy. FDI then transferred
               $2,100,000 to its Israel Discount Bank of New York account and paid
               “Trade Services”—a service similar to “L/C Collections” and through
               which other Firestar Entities were the ultimate beneficiaries of the
               transfers.

      (vii)    On December 23, 2015, Excellent Facets wired $969,980 to FDI. On
               December 28, 2015, FDI made a principal payment of $900,000 to HSBC
               Bank.

      (viii)   On April 21, 2015, Mihir Bhansali emailed Ajay Gandhi, “Please wire $250k
               to E[xcellent]F[acets]I[nc.] from Jaffe, as an advance.” Gandhi forwarded
               the email to Avinash Oza and Arpan Doshi and instructed, “$200,000 from
               Firestar Diamond Inc. to A. Jaffe. $250,000 from A. Jaffe to Excellent Facet
               per attached.” Oza replied with the wire confirmations. That same day,

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             Gandhi emailed Shyam Wadhwa with the subject “Jaffe/Twin Field/
             Excellent Fac[e]t” and attaching $250,000 check from Jaffe to FDI, a
             $250,000 check from Twin Fields to Jaffe, confirmation of a $250,000 wire
             from Jaffe to Twin Fields, and confirmation of the $250,000 wire from Jaffe
             to Excellent Facets. Gandhi stated, “Please call me tomorrow and I will
             explain. We wired to Twin Field in error and Twin Field gave money back.
             We finally wired to Excellent Facet as Loan. Firestar Diamond, Inc. funded
             the transaction.” On June 21, 2016, Jasmine Pradhan of Excellent Facets
             emailed Ajay Gandhi, “We received loan advance on 4/21/2015 from A.
             Jaffe Inc[.] [T]oday we are planning to return that amount. I was wondering
             if you could send me the bank details with wire payment instructions.”
             Several hours later, after the wire was complete, Gandhi forwarded the
             email chain to Mihir Bhansali and stated, “$250k received. Paying $1.250m
             to India today. ($250k plus $1m based on shipment for the month).”

      (ix)   On December 13, 2012, an HSBC customer service representative emailed
             Ajay Gandhi, “I have just been notified that there is a wire being sent from
             [Synergies’] account xxxxx369 in the amount of $90,970.00. There are
             currently not enough funds available in this account to send out this wire.
             Also, there are 2 wires being sent from [FDI’s] account xxxxx004 totaling
             $622,591.00. There are currently not enough funds available in this account
             to send out this wire. Please advise.” Gandhi replied, “I am expecting
             $1.175 million in Firestar Diamond and once it hits then all the wires should
             be fine. It should have come by now…” Gandhi attached a CitiBank wire
             confirmation printout showing a $1,175,213.45 wire from SDC LLC’s
             CitiBank checking account to FDI “against invoice 15206996.” The printout
             indicated that the wire was set up by Sridhar Krishnan and approved by
             Abhay Javeri. FDI’s bank statements reflect an inward wire of $1,175,213.45
             wire from SDC on December 13, 2012 and outward wires on that day of
             $391,611 to Synergies and $231,000 to Unique. Synergies’ bank statements
             show that Synergies immediately used the funds received from FDI to wire
             $91,000 to Brilliant and $300,000 to Unique.

      (x)    On December 26, 2013, FDI received wires from SDC Designs Inc. and SDC
             Designs LLC of $250,000 and $323,745, respectively. On December 30, 2013,
             Ajay Gandhi emailed Manish Bosamiya and Miten Pandya, “I can pay
             $1.6m from Firestar before December 31. Please email me a list.” Gandhi
             then forwarded the email to Hemant Bhatt and stated, “FYI. Received some
             funds from SDC. Bhavesh has details.” Bosamiya replied with a
             spreadsheet listing two invoices issued by FDIPL to FDI totaling
             $1,547,900.81 and seven invoices issued by FIPL to Tinex H.K. Ltd., Elegant
             Collection, and D. Navinchandra Jewels for which FDI was listed as the
             notification party totaling $50,961.26. The spreadsheet also included
             columns specifying for each invoice the relevant “Bank,” “Bank Ref[erence
             No.], and “Bank Due Date.” Gandhi forwarded the spreadsheet to Bhavesh
             Patel, copying Mihir Bhansali, and stated, “Please setup these wires.” Patel
             then asked for and obtained Gandhi’s approval to wire $1 million from

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             Jaffe to FDI to fund the other wires. Later that day, Gandhi replied to
             Bosamiya and Pandya, “Funds wired. Please acknowledge receipt.”
             Bosamiya replied, “Funds received.” FDI’s bank statements reflect two
             outgoing wires to “L/C Collections” on behalf of FDIPL totaling
             $1,547,900.81 and another $50,961.26 wire to FIPL on December 30, 2013.

      (xi)   On July 19, 2014, Manish Bosamiya emailed Hemant Bhatt and Miten
             Pandya a list of invoices under which FDI owed $660,197.12 to FIPL, FDI
             owed $731,979.58 to FDIPL, and Fantasy owed $610,268.88 to FIPL. Bhatt
             forwarded the email to Ajay Gandhi and stated “Please pay as per
             attachment.” Gandhi then forwarded the email to Bhavesh Patel and
             instructed, “Keep it ready. Funds coming from SDC.” FDI’s and Fantasy’s
             bank statements reflect that, on July 21, 2014, SDC Designs LLC wired
             $1,775,989.50 to FDI and that FDI and Fantasy wired a total of $1,119,301.49
             to pay down letters of credit issued to FDPL and FDIPL.

     (xii)   On February 26, 2014, Ajay Gandhi emailed Sridhar Krishnan, copying
             Shyam Wadhwa, “Sridhar: After today’s payment from Jaffe to you, can
             you please wire $70,063 to Jaffe from SDC Design Inc. and I will wire back
             $69,640 to SDC Design LLC so that our AR/AP with Jaffe gets cleaned up?”
             On April 24, 2014, Ajay Gandhi emailed Shyam Wadhwa, “I need to wire
             some funds to SDC. What is our payables to them in A. Jaffe?” Wadhwa
             replied that Jaffe needed to receive $70,063 from SDC Designs, Inc. and to
             pay SDC Designs LLC $69,640. He stated “These are old balances which
             have been discussed with you earlier also for clearing our books.” Gandhi
             then forwarded Wadhwa’s email to Mihir Bhansali and stated “We do not
             have any payables to SDC in Jaffe.” On June 17, 2014, Wadhwa replied,
             “This requirement is still open between A. Jaffe and SDC. Please have it
             closed.” Gandhi replied, “Please email Sridhar and copy me.” On June 23,
             2014, Wadhwa replied, “Pl[ease] have open item wrt SDC in A. Jaffe books
             cleared from AR and A[P]. FYI – Sridhar has ignored your Feb ’14 mail as
             well as my recent reminder mail.” Gandhi forwarded the email chain to
             Krishnan and asked, “can we clean up?” Krishnan replied, “Hi Ajay[,] Is
             Mihir in town?”




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       Additional examples of documents and communications illustrating suspicious

accounting practices for transactions involving SDC Entities and Sheth Entities include:

          (i)    On April 3, 2012, Saju Poulose emailed Ajay Gandhi, copying Raghu
                 Iyer’s personal email address, “Need your help to understand the
                 bifurcation of customer wise sales in totality as on Jan 2012 . . . First file
                 is the customer wise report which we consider for consolidation. In order
                 to knockoff the inter sales we take sales in totality. After knock off
                 balance we consider as external sales. . . . From the sales report, (without
                 customer of SDC and Tri star—these are included in your gross working)
                 the total number comes to $49m. That means FS Inc. sale should be $36m
                 instead of $33m?” Gandhi replied, “Please used the attached file for Core
                 Business and other breakdown.” He attached a report listing FDI’s total
                 sales by customer from April 2011 to January 2012. Customers such as
                 Sams Club, Zales, Macy’s, and the U.S. Army and U.S. Navy were listed
                 as “core.” Customers such as SDC, Excellent Facets, Tri-Star, and Diagem
                 Inc. were listed as “non-core.”

          (ii)   On June 13, 2013, Ajay Gandhi emailed Mihir Bhansali an estimated
                 borrowing base for FDI as of May 31, 2013. Gandhi explained that the
                 $3.8 million in ineligible AR consisted of “SDC Designs LLC - $1,395,667,
                 World Diamond - $1,507,816 and the rest are inter-company.” Later that
                 day, Gandhi emailed Bhansali an estimated borrowing base as of June 20,
                 2013. He explained that the $5.26 million in ineligible AR consisted of
                 “SDC Designs LLC - $1,395,667, World Diamond - $1,507,816, RN
                 Enterprise - $509,415, SDC Designs Inc. - $215,243, and the rest are inter-
                 company.”

         (iii)   On July 10, 2013, Ajay Gandhi emailed Mihir Bhansali, “The following
                 AR will fall-off over 120 days and these AR will severely affect the
                 borrowing base. 1. Diamlink - $1,077,571[;] 2. Excellent Facet -
                 $1,563,678[;] 3. R.N. Enterprise - $509,146[;] 4. SDC Designs, Inc. -
                 $223,670[;] 5. SDC Designs LLC - $195,667[;] 6. SDC Designs, LLC -
                 $195,667[;] 7. Sangam Diamonds, Inc. - $509,528.”

         (iv)    On July 19, 2013, Ajay Gandhi emailed Shyam Wahdwha, “Please email
                 information on SDC AR and AP and I will contact them to get it cleared.”
                 On July 24, 2013, Ajay Gandhi emailed Shyam Wadhwa, Bhavesh Patel,
                 and Alatamsh Ansari, “Need Jaffe AR and AP for our parties ASAP”
                 (emphasis added). Ansari replied with a spreadsheet listing the accounts
                 receivable and accounts payable balances for SDC Designs, Inc., Empire,
                 Fancy Creations, and several Firestar Entities. For the eight parties listed,
                 the total receivable balance was $1,878,830 and the total payable balance
                 was $7,328,421. Gandhi replied, “Wadhwa: $5m gap? Where is the

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               balance AR? Are we missing any names or amounts?” Gandhi then asked
               for the “full listing” and Ansari replied with a spreadsheet listing both
               intercompany and third-party receivables and payables. Gandhi replied,
               “Twin Field A[R]? Where is it?” Ansari replied, “$1.5m lying in Loans
               receivable.” Gandhi then asked for and received confirmation that no
               other accounts receivable were booked as loans receivable.

        (v)    On August 13, 2016, Sagar Thakkar emailed Ajay Gandhi a report of
               Jaffe’s sales and AR as of August 12, 2016, copying Mihir Bhansali,
               Avinash Oza, and Samuel Sandberg. Bhansali replied, copying Gandhi
               and Oza but leaving out Sandberg, “Please take out Pacific and Sangam
               Diamonds, as they are loose sales and not jewelry sales. Going forward,
               please be mindful of the product type before you send the MIS.”

       (vi)    On August 18, 2016, Ajay Gandhi emailed Dipika Devrukhkar, Avinash
               Oza, and Arpan Dosi a request for FDI and NMI’s AR and AP as of July
               31, 2016 in “Saju[‘s] format.” Devrukhkar replied with the reports.
               Gandhi replied solely to Oza and instructed, “Please split between Core
               and Non-Core. Non-Core are all overseas non-Firestar companies +
               SDC. Rest are all core.” The “overseas non-Firestar companies” in the list
               included Brilliant, Empire, Fancy Creations, Pacific, Tri Color, Vista,
               Unique, and World Diamond Distribution.

       (vii)   On April 17, 2017, Kunal Patel forwarded an auditor’s request for copies
               of invoices and other documentation relating to certain sales by NMI in
               the 2016-2017 fiscal year to Isaac Sandberg, copying Ajay Gandhi. Gandhi
               replied, “Leave out large amounts for me.” The largest transactions listed
               were: a $2,350,000 sale to Global Diamonds Group on June 30, 2016, a
               $1,400,000 sale to SDC Designs Inc. on February 24, 2017, a $1,000,000 sale
               to SDC Designs Inc. on March 1, 2017, an $850,000 sale to Amadena
               Investments LLC on March 31, 2017, and an $800,000 sale to Excellent
               Facets Inc. on December 23, 2016.




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       Additional suspicious transactions and communications involving the Deepak Sheth,

Neena Sheth, and the Sheth Entities include:

          (i)    On September 13, 2010, Prakash Rao of Diamlink emailed Ajay Gandhi,
                 copying Neena Sheth, “Today we remitted $25k to HSBC account, for
                 your information attached swift copy.”

          (ii)   On August 20, 2012, Shyam Wadhwa emailed Ajay Gandhi FDL’s July
                 2012 financials and noted, “In terms of margins, Core Polish Trading is
                 in sync with the business model, margin of other businesses including
                 wholesale are dependent on billing rates. Exceptional area is recognition
                 of $141k of income received from Excellent Facet per communication
                 from NDM.” Gandhi replied, “AR of $73.8m seems too high . . . AP of
                 $40m seems too high too . . . Are we doing anything to clean-up AR /
                 AP? Is inter-company AR and AP matching with other books?”

         (iii)   On December 20, 2013, Ajay Gandhi emailed Nirav Modi, “Niravbhai:
                 Josh’s Diamond division – yesterday we received $1.6m due to couple
                 sales that he closed. ($1m deposit for $3.1m sales and $600k for other
                 sale). I can ask Manish/Amit for a list to pay India. Please let me know.”
                 Nirav Modi replied, copying Mihir Bhansali, “The [$]3.1m sale proceeds
                 will go to Excellent Facet (ask Josh when). Balance, ask Manish.” That
                 same day, Josh Weinman emailed Deepak Sheth, “Would you like me to
                 send 1m as advance? Please send wire instructions.” Sheth replied, “It
                 can wait till first week of January.” Weinman then forwarded Sheth’s
                 email to Gandhi and noted, “FYI.”

         (iv)    On January 2, 2014, Shyam Wadhwa emailed Josh Weinman, copying
                 Ajay Gandhi and Bhavesh Patel, “NY has purchased 70.19 cts EM cut
                 stone from Excellent Facets for $3.10m and sold to Shifman Inc. for
                 $3.10m. No gross margin is reflected in this transaction. Kindly confirm
                 commission if any to be accrued in NY books for this stone.” Weinman
                 replied, “1% on sale amount as per Nirav.” Wadhwa forwarded
                 Weinman’s email to Avinash Oza, copying Ajay Gandhi, and noted, “1.
                 FYI and incorporation in Josh’s MIS. 2. Please also replace last receipt
                 purchase cost from HK with actual purchase cost of pink stones based on
                 actual bill of Argyle in the Commission working sheet.” On January 14,
                 2014, Saju Poulose emailed Ajay Gandhi, “Sales to Shifman Inc. for $3.1
                 million shows cost of sale value purchase from Excellent Facet. Is this
                 transactions for NDM? Have not made profit? Can you please explain if
                 you aware the details[?]” Gandhi replied, “That is correct. It is
                 somebody’s goods that we sold.” Poulose replied, “That means this is
                 simple an entry? No profit and loss. I should not take this in
                 consolidation?” Gandhi replied, “It is still a sale and inventory and AR

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               are affected. I think it belongs to Excellent Facet – related to NM that I
               know off [sic]…”

        (v)    On January 6, 2014, Deepak Sheth emailed Josh Weinman, “At your
               convenience you can send wire for $750,000 towards advance as per
               attached details.” Weinman forwarded the wire instructions to Ajay
               Gandhi, who then instructed Bhavesh Patel to arrange the transfer.

       (vi)    On November 4, 2014, Ajay Gandhi emailed Bhavesh Patel and Avinash
               Oza, “Please do not include Excellent Fac[e]t sale of 11/4/14 in Fantasy,
               Inc. and Daily Sales and AR Reports that you email to everyone.” On
               November 10, 2014, Ajay Gandhi emailed Deepak Sheth, “Attached
               please find wire instruction of Fantasy, Inc. so that you can wire recent
               sale of $1.112m.” Sheth replied, “We will wire transfer for this purchase
               today and email you wire transfer copy.”

       (vii)   On April 15, 2015, Mihir Bhansali emailed Neena Sheth and Nehal Modi,
               “Need all account info, and an invoice please, before we can make a
               wire.” Jon Mitchell replied with a $30,000 invoice issued by Phantom
               Luxury Group to Jaffe for “sales consulting fees.” Bhansali forwarded the
               invoice to Ajay Gandhi and instructed, “Please have this wired, from
               JAFFE.” Gandhi then forwarded the invoice to Avinash Oza and Arpan
               Doshi, copying Shyam Wadhwa, and instructed, “Please wire $30,000 per
               below and attached from Jaffe tomorrow.” Wadhwa replied, “Is this
               payment to be booked as Returnable Advance/Advance against
               services?” Gandhi replied, “$30k to be written-off over 6 months?”

      (viii)   On March 28, 2017, Mihir Bhansali emailed Ajay Gandhi instructions to
               “Please bill the following from [NMI]. Bhansali then listed three ring
               settings sold to SDC Designs Inc. for a total of $2,300,000 and another ring
               setting sold to Amadena for $850,000. The next day, Bhansali instructed
               Gandhi to “ADD 1 more style [a $350,000 ring setting], to Excellent
               Facets[.] Please send both pieces to Deepak masa on MEMO (not billing)
               no later than tomorrow.” Gandhi replied, “Any commission on this?
               Send this piece on memo to Excellent / Deepak Sheth.” Bhansali replied,
               “Both Amadena and Excellent Facets to be at 10% commission. SDC
               Designs to be at 3% (as below).” Gandhi replied with the invoices and
               commission credit memoranda.

       (ix)    On July 11, 2017, Ajay Gandhi emailed Shyam Wadhwa, “Funds for
               Wynn and Hawaii? When can I expect? There is urgency to pay this week
               of around $500k.” Wadhwa replied, “Let [sic] speak today. I had
               arranged $1m through goods shipped from FDL-HK which have been
               sold by FJ Inc. Please confirm receipt of high jewels sales proceeds of US
               1 Mio in FJ Inc.” Wadhwa followed up, “US $575k expected from
               Excellent Facets either Thursday or latest by Friday in Firestar Jewelry,
               Inc.” Gandhi replied, “Need $200k for ASAP.”

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        (x)   On August 4, 2017, an employee sent Gandhi a list of NMI’s sales for July
              2017. The list included three items: an earring sold to an individual for
              $6,000, a pendant sold to another individual for $6,500, and a ring sold to
              Amadena for $575,000 (i.e., the Amadena sale was worth 98% of the
              combined total of the three sales). Gandhi revised the document to reflect
              a larger “commission” to Amadena. The NMI employee then asked if
              Gandhi would send the list to Mihir Bhansali. Gandhi responded that the
              list was “only for me and it does not go anywhere.”

       (xi)   On January 22, 2018, Deepak Sheth, on behalf of Excellent Facets, and
              Mihir Bhansali, on behalf of himself, executed a promissory note under
              which Excellent Facets agreed to repay on one day’s notice a purported
              $100,000 loan from Bhansali at a 12% annual interest rate. That same day,
              Deepak Sheth, on behalf of Amadena Investments LLC, and Neena
              Sheth, on behalf of herself, executed a promissory note under which
              Amadena Investments agreed to repay on one day’s notice a purported
              $615,000 loan from Neena Sheth at a 1.97% annual interest rate.




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       Additional suspicious transactions and communications involving Abhay Javeri and the

SDC Entities include:

          (i)    On April 10, 2012, Rushabh Jethwa emailed Ajay Gandhi, copying
                 Kurian Mathews, asking Gandhi to confirm AR and AP balances
                 between FDFZE and each of Jaffe, FDI, SDC, and JMC. Gandhi replied,
                 “I am not responsible for JMC. I will send you others today.” Gandhi then
                 followed up, “for JMC please email Prakash Rao . . . for SDC email
                 Sridhar [Krishnan” and provided Rao’s and Krishnan’s email addresses.
                 Several hours later, Gandhi replied with FDI and Jaffe balance
                 confirmations bearing his signature.

          (ii)   On April 23, 2012, an accountant at Marks Paneth asked Gandhi for
                 contact information for certain counterparties selected for AR
                 confirmation. On April 30, 2012, Gandhi replied with Sridhar Krishnan’s
                 email address for SDC Designs LLC and Sangam Diamond, Inc. He
                 followed up, “Tri-Star, Nipur BVBA and A. Jaffe, Inc. were paid in full.
                 We can give you subsequent receipts for these customers. Please do not
                 bother sending emails or mail to them. They may not response [sic].” On
                 May 1, 2012, Gandhi followed up with email addresses for Empire
                 (Rushabh Jethwa’s), Unique, Pacific, and Radashir (Kurian Mathews’).

         (iii)   On August 1, 2012, Ajay Gandhi emailed Rebecca Chow, “Please create
                 a Sales Order for [SDC Designs LLC] from Firestar Diamond Inc. ASAP
                 – Hand Delivery.” Gandhi then listed specific quantities and prices of
                 varying grades of mixed diamonds totaling 4,102.37 carats and
                 $2,500,213.45.

         (iv)    On September 10, 2012, Shyam Wadhwa emailed Ajay Gandhi, “Kindly
                 advice [sic] right person to be contacted for Diamond Invoices relating to
                 Trading in A. Jaffe. Since these invoices are of high value, delay in receipt
                 of vendor invoices results in bloating of GR/IR figure. Please arrange to
                 mail scanned copy of SDC Invoice $2,680,997 of diamond purchased in
                 July ’12.” Gandhi replied, attaching the invoice, “Usually Rebecca but I
                 have this invoice.” Gandhi then replied, “Please email, PDF invoice
                 copies of SDC of AR and AP for possible off-set.” Ansari replied with: (i)
                 a $2,680,996.50 invoice from SDC to Jaffe dated July 25, 2012 for 2,749.74
                 carats of “Mix Lot” loose diamonds of “Assorted Shapes & Sizes” with a
                 due date of November 22, 2012; and (ii) a $70,062.50 invoice from Jaffe to
                 SDC dated July 25, 2012 for 112.1 carats of mixed diamonds with a due
                 date of August 24, 2012.




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        (v)    On August 29, 2012, Ajay Gandhi emailed wire instructions for FDII to
               Sridhar Krishan at SDC. Krishnan replied, “Sorry Ajay, I shall be paying
               to Firestar Diamond Inc. from Sangam Diamonds Corp., You need to give
               me a check for $1,500,395 favoring SDC Designs LLC from Firestar
               Diamond International Inc. Pls do not wire, I shall send my messenger
               today afternoon to pickup the check.” Several hours later, Gandhi
               replied, “funds never received.” The next day, Krishnan replied, “You
               should have got it today. Abhay approved it late in afternoon.” Gandhi
               replied, “Received. I will call you or email you once check is ready.”

       (vi)    On July 31, 2014, Shyam Wadhwa emailed Rebecca Chow instructions to
               send Altamash Ansari a $664,032.29 invoice issued by SDC Designs LLC
               to Jaffe so that Ansari could record the purchase in Jaffe’s books. On
               August 4, 2014, Ansari forwarded the email to Gandhi, copying
               Wadhwa, and stated, “Rebecca is not responding on below mail, require
               SDC invoice to record purchase in Jaffe.” Gandhi then emailed Sridhar
               Krishnan, “Can you please scan me your invoice to A.Jaffe of $664k?
               After receiving the invoice from Krishnan, Gandhi sent it to Ansari and
               Wadhwa. The invoice reflected a sale of 512.02 carats of loose diamonds
               to Jaffe for $664,030 on July 21, 2014. Several hours later, Krishnan asked
               Gandhi, “Can you please send your statements as of June 30, 2014 for
               SDC Designs LLC, SDC Designs Inc. and Sangam Diamonds Corp.[?]”
               Gandhi replied with a report showing that SDC Designs Inc. and SDC
               Designs LLC owed Jaffe a total of $2,403,062.55, of which $627,073.50 was
               overdue.

       (vii)   On March 10, 2015, Ajay Gandhi emailed Sridhar Krishnan, “Please email
               us wire details for potential payments to SDC Designs Inc and LLC.”
               Kirshnan replied with the bank account information, but stated, “Please
               do not wire anything this week. Abhay is in Mumbai and no one can
               approve wires.”

      (viii)   On March 19, 2015, Sridhar Krishnan emailed Ajay Gandhi, “Please wire
               funds of $200k to SDC Designs LLC[.]” Gandhi forwarded the email to
               Arpan Doshi and Avinash Oza, copying Shyam Wadhwa, and
               instructed, “Please wire $200,000 on account from Jaffe to SDC Designs
               LLC against accounts payable of $664k.” Doshi replied with the wire
               confirmation.

       (ix)    On June 9, 2015, Ajay Gandhi emailed Abhay Javeri instructions to wire
               $10,000 to Ami Modi’s personal HSBC checking account. The next day,
               Gandhi followed up, “Hi Abhay: Wire done?” On June 12, 2015, Javeri
               replied, “Hi Ajay, Can you confirm receipt?” On February 7, 2017, Ajay
               Gandhi forwarded the email chain to Nirav Modi’s personal assistant
               Navita Mankikar and stated, “Kavita: This is what I found in my email
               and not sure if it is relevant to your phone call from yesterday.” Mankikar
               replied, copying Mihir Bhansali, “Can you find out if this account is in

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               Ami’s name and help us get the wire details of the same?” Bhansali
               replied, “Below account is closed. Please ask Ami directly for info,
               bankers will not give us. She can call her relationship manager.”

        (x)    On March 28, 2017, Samir Shah emailed Rebecca Chow, copying Mihir
               Bhansali and Ajay Gandhi, “Attached are the lot wise details of the goods
               that I shipped on Friday. I have mentioned as to what goods to keep in
               NY and what goods to ship to other vendors. The terms for other vendors
               are[:] Sangam Diamonds LLC – C.O.D.[;] Pacific Diamonds – 120 days.”
               The attached spreadsheet contained rows listing 205 diamonds weighing
               a total of 1,965.87 carats and having a total value of $1,472,988.04. It also
               contained a column indicating whether each diamond was shipped to
               Sangam Diamonds LLC, shipped to Pacific, or kept in New York. Gandhi
               asked whether the indicated values reflected the sale price or the cost
               price. Chow replied, “Understood these goods are at sell price. Samir,
               please provide invoice at cost (no document inside box)[.] [W]e need to
               book it in before any transaction.” Chow then emailed FDI’s sourcing
               department, copying Shah and Gandhi, instructions to create a sales
               order and invoice to Sangam Diamonds for 1,470.72 carats of loose
               diamonds for a total price of $942,878.59.

       (xi)    On April 6, 2017, Rebecca Chow sent an email to Ajay Gandhi with the
               subject “Margin – Sales in March” stating: “FYI. Sangam – 56%[;] SDC –
               18%[;] Pacific – 16%[;] World – 0[%.]”

       (xii)   On August 9, 2017, Nikhil Bhatia emailed Kunal Patel, copying Ajay
               Gandhi and Shreeram Phanse, “I received the June 30th AR files from
               Reena. Could you help me in understanding the negative balances in the
               AR files? Eg in [NMI], there are a couple of clients (. . . SDC Designs) that
               have credit balance in receivables. Similarly in FSII, Fancy Creations,
               Auragem & Empire Gems have huge credit balances.” Patel replied,
               “These are advances from customers, that’s why it shows with negative
               balance. It would be settled against their future transactions.”




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       In many cases, Nirav Modi, Ajay Gandhi, and Mihir Bhansali caused the U.S. Affiliates,

upon receiving actual fraudulent transfers from the Debtors, to subsequently transfer the

proceeds of such actual fraudulent transfers to Shadow Entities or other Modi-Controlled

Entities. For example:

         (i)   On August 30, 2012, FDI wired $1,501,000 to FDII. That same day, Gandhi
               emailed Bhavesh Patel, “Transfer $1,501,000 from [FDI to FDII]. Pay
               $21,774 from [FDII] to Fancy Creation.” That same day, Gandhi emailed
               Sridhar Krishnan of SDC Designs to let him know that FDII would issue a
               check in the amount of $1,500,395 to SDC Designs. On August 31, 2012,
               FDII issued a check in the amount of $1,500,395 to SDC Designs.

        (ii)   On December 11, 2012, Gandhi emailed Bhavesh Patel, “Please keep wire
               ready for $602,862 to SDC Designs LLC from [FDII’s} Capital Old account
               for invoice 63966.” On December 12, 2012, Gandhi emailed a banker at IDB
               a request for a $500,000 loan, with respect to which FDI was the obligor
               and FDII the beneficiary. That same day, the $500,000 loan proceeds were
               disbursed to FDII’s Capital One Bank account. That same day, FDII wired
               $602,862 to SDC Designs.

       (iii)   On December 13, 2012, Firestar wired $391,611 to Synergies. That same
               day, Synergies wired $91,000 to Brilliant. On December 14, 2012, Synergies
               wired $300,000 to Unique. On December 13, 2012, Ajay Gandhi emailed
               Bhavesh Patel instructions to make these wires.

       (iv)    On February 19, 2013, FDI wired $627,000 to FDII. Bhavesh Patel emailed
               a wire confirmation for this transfer to Ajay Gandhi. That same day, FDII
               wired $1,266,430 to Fancy Creations and $332,300 to Diagems. That same
               day, Shyam Wadhwa emailed Bhavesh Patel instructions to make these
               two wires and stating, “Since Ajaybhai would be traveling tonight . . .
               please take Ajaybhai signature on wire transfer doc and send it to
               Mihirbhai for his signature.” That same day, Bhavesh Patel emailed
               Gandhi the wire documents for these transfers. Gandhi forwarded them to
               Bhansali, stating, “Please print, sign and scan back to me.” Bhansali
               replied, “Done and sent.”


        (v)    On April 25, 2013, FDI wired $350,000 to FDII. That same day, Jaffe wired
               $480,000 to FDII. That same day, FDII wired $812,030 to Diagems.

       (vi)    On May 6, 2013, FDI wired $652,239 to FDII. That same day, FDII wired
               $463,389 to Tri Color. The next day, FDII wired $280,005 to Empire.

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     (vii)    On June 18, 2013, FDI wired $1,525,000 to FDII. That same day, Bhavesh
              Patel emailed Gandhi the confirmation for this wire, stating “Please find
              attached wires as per instructions.” That same day, FDII wired
              $1,615,463.93 to Fancy Creations. On June 17, 2018, Bhavesh Patel emailed
              Gandhi wire documents for this transfer. Gandhi forwarded them to Mihir
              Bhansali to sign and return.

     (viii)   On July 9, 2013, FDI wired $600,000 to FDII. That same day, FDII wired
              $600,024 to Fancy Creations. That same day, Bhavesh Patel emailed the
              wire confirmation for this transfer to Gandhi.

      (ix)    On October 23, 2013, Firestar transferred $123,744 to Synergies. On October
              24, 2013, Synergies transferred $125,000 to Brilliant. On October 23, 2013,
              Gandhi emailed Bhavesh Patel instructions to make these transfers.
       (x)    On March 18, 2014, Firestar transferred $123,097 to Synergies. That same
              day, Synergies transferred $123,000 to Brilliant. That same day, Gandhi
              emailed Bhavesh Patel instructions to make these wires.
      (xi)    On February 20, 2015, Firestar transferred $186,871 to Synergies. That same
              day, Synergies transferred $180,000 to Brilliant. That same day, Gandhi
              emailed instructions to Arpan Doshi and Avinash Oza to make these wires.
     (xii)    On September 29, 2015, Jaffe wired $950,000 to FDII. That same day, FDII
              wired $943,827 to SDC Designs. That same day, Gandhi emailed Avinash
              Oza and Arpan Doshi instructions to make these transfers.
     (xiii)   On March 9, 2016, FDI transferred $247,551 to Synergies. That same day,
              Synergies transferred $250,000 to Brilliant. That same day, Gandhi emailed
              Avinash Oza and Arpan Doshi instructions to make these wires.
     (xiv)    On March 25, 2016, Jaffe transferred $1,400,000 to NMI. That same day,
              NMI transferred $613,069 to Auragem and $787,000 to Nirav Modi Ltd.
              That same day, Gandhi sent an email to Avinash Oza and Arpan Doshi
              instructing them to make these wires.
      (xv)    On March 20, 2017, Firestar transferred $246,871 to Synergies. That same
              day, Gandhi emailed Avinash Oza instructions to make this wire. On
              March 22, 2017, Synergies transferred $240,000 to Brilliant. That same day,
              Gandhi emailed Avinash Oza and Kunal Patel instructions to make this
              wire.




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                                      Schedule A - Transfers from Debtors for the Benefit of CPRE



                                         Property
    Date           Transferor           Transferred           Value                         Transferee         Beneficiary                          Description
3/1/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/8/2012     Firestar Diamond, Inc.        Cash        $           6,598.62   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
4/2/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/6/2012     Firestar Diamond, Inc.        Cash        $           6,598.62   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
5/1/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/10/2012    Firestar Diamond, Inc.        Cash        $           6,644.99   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/1/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/14/2012    Firestar Diamond, Inc.        Cash        $           8,046.37   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/22/2012    Firestar Diamond, Inc.        Cash        $          13,314.91   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
7/2/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/1/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/10/2012    Firestar Diamond, Inc.        Cash        $          11,701.80   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
8/16/2012    Firestar Diamond, Inc.        Cash        $              65.32   TOW STUDIOS ARCHITECT PLLC         CPRE        Expense Recorded to FGI/CP
9/4/2012     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/19/2012    Firestar Diamond, Inc.        Cash        $           7,301.48   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
10/1/2012    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/26/2012   Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/1/2012    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
11/16/2012   Firestar Diamond, Inc.        Cash        $          27,000.00   VICHIHEL RESTORATION INC.          CPRE        Expense Recorded to FGI/CP
11/16/2012   Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/3/2012    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/21/2012   Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
1/2/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
1/24/2013    Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
2/1/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/1/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/21/2013    Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
4/1/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/11/2013    Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
5/3/2013     Firestar Diamond, Inc.        Cash        $           9,145.50   VICHIHEL RESTORATION INC.          CPRE        Expense Recorded to FGI/CP
5/8/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/20/2013    Firestar Diamond, Inc.        Cash        $           6,749.40   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/3/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/4/2013     Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/19/2013    Firestar Diamond, Inc.        Cash        $           3,593.04   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
6/19/2013    Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
7/1/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
7/19/2013    Firestar Diamond, Inc.        Cash        $           6,675.17   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
8/1/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/14/2013    Firestar Diamond, Inc.        Cash        $           6,668.63   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
9/3/2013     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/5/2013     Firestar Diamond, Inc.        Cash        $          13,453.38   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
9/20/2013    Firestar Diamond, Inc.        Cash        $          12,698.87   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
10/1/2013    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/17/2013   Firestar Diamond, Inc.        Cash        $           6,982.54   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/1/2013    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
11/14/2013   Firestar Diamond, Inc.        Cash        $           6,982.54   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/2/2013    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/12/2013   Firestar Diamond, Inc.        Cash        $           6,982.54   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
1/2/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
1/21/2014    Firestar Diamond, Inc.        Cash        $           6,996.72   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
2/3/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
2/13/2014    Firestar Diamond, Inc.        Cash        $           6,982.54   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
3/4/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/25/2014    Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
4/1/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/1/2014     Firestar Diamond, Inc.        Cash        $             250.00   DELAWARE SECRETARY OF STATE        CPRE        Expense Recorded to FGI/CP
4/25/2014    Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
5/1/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/20/2014    Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/2/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/26/2014    Firestar Diamond, Inc.        Cash        $           9,593.02   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/27/2014    Firestar Diamond, Inc.        Cash        $           4,585.52   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
7/1/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
7/25/2014    Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
8/1/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/25/2014    Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
8/28/2014    Firestar Diamond, Inc.        Cash        $          13,799.77   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
9/2/2014     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/1/2014    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/21/2014   Firestar Diamond, Inc.        Cash        $          15,244.16   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/3/2014    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/2/2014    Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/19/2014   Firestar Diamond, Inc.        Cash        $          15,244.16   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/19/2014   Firestar Diamond, Inc.        Cash        $           2,500.00   TOW STUDIOS ARCHITECT PLLC         CPRE        Expense Recorded to FGI/CP
1/2/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
1/12/2015    Firestar Diamond, Inc.        Cash        $           7,626.66   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
2/2/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
2/9/2015     Firestar Diamond, Inc.        Cash        $           7,622.08   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
3/2/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/1/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/2/2015     Firestar Diamond, Inc.        Cash        $             300.00   DELAWARE SECRETARY OF STATE        CPRE        Expense Recorded to FGI/CP
4/14/2015    Firestar Diamond, Inc.        Cash        $           7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
4/22/2015    Firestar Diamond, Inc.        Cash        $           7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
5/1/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/12/2015    Firestar Diamond, Inc.        Cash        $           7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/1/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/12/2015    Firestar Diamond, Inc.        Cash        $          18,495.62   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
7/1/2015     Firestar Diamond, Inc.        Cash        $          10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
7/9/2015     Firestar Diamond, Inc.        Cash        $          18,730.79   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
7/10/2015    Firestar Diamond, Inc.        Cash        $             109.00   KLESTADT WINTERS JURELLER          CPRE        Expense Recorded to FGI/CP




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    Date            Transferor          Transferred       Value                             Transferee     Beneficiary                           Description
8/1/2015      Firestar Diamond, Inc.       Cash       $          163.00   KLESTADT WINTERS JURELLER          CPRE        Expense Recorded to FGI/CP
8/3/2015      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/1/2015      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/15/2015     Firestar Diamond, Inc.       Cash       $        7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
10/5/2015     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/13/2015    Firestar Diamond, Inc.       Cash       $        2,555.11   TOW STUDIOS ARCHITECT PLLC         CPRE        Expense Recorded to FGI/CP
10/20/2015    Firestar Diamond, Inc.       Cash       $       15,281.76   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/3/2015     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
11/24/2015    Firestar Diamond, Inc.       Cash       $        7,736.69   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/3/2015     Firestar Diamond, Inc.       Cash       $       22,646.00   VICHIHEL RESTORATION INC.          CPRE        Expense Recorded to FGI/CP
12/4/2015     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/15/2015    Firestar Diamond, Inc.       Cash       $        7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/22/2015    Firestar Diamond, Inc.       Cash       $           40.41   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
1/4/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
1/15/2016     Firestar Diamond, Inc.       Cash       $        7,640.88   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
2/2/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/2/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/17/2016     Firestar Diamond, Inc.       Cash       $       13,727.04   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
4/4/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
4/21/2016     Firestar Diamond, Inc.       Cash       $          300.00   DELAWARE SECRETARY OF STATE        CPRE        Expense Recorded to FGI/CP
5/3/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/11/2016     Firestar Diamond, Inc.       Cash       $       13,743.75   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/2/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/8/2016      Firestar Diamond, Inc.       Cash       $        1,482.51   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/13/2016     Firestar Diamond, Inc.       Cash       $        5,217.13   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
7/5/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
7/28/2016     Firestar Diamond, Inc.       Cash       $        6,930.46   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
8/2/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/10/2016     Firestar Diamond, Inc.       Cash       $        6,841.29   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
9/2/2016      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/8/2016      Firestar Diamond, Inc.       Cash       $        5,217.13   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
9/19/2016     Firestar Diamond, Inc.       Cash       $        6,841.29   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
10/4/2016     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/6/2016     Firestar Diamond, Inc.       Cash       $        4,463.88   VICHIHEL RESTORATION INC.          CPRE        Expense Recorded to FGI/CP
10/14/2016    Firestar Diamond, Inc.       Cash       $        6,841.29   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/2/2016     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
11/9/2016     Firestar Diamond, Inc.       Cash       $        6,841.29   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/1/2016     Firestar Diamond, Inc.       Cash       $        5,224.41   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
12/2/2016     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/14/2016    Firestar Diamond, Inc.       Cash       $       30,000.00   Firestar Group Inc.                CPRE        Expense Recorded to FGI/CP
12/19/2016    Firestar Diamond, Inc.       Cash       $        6,841.29   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/19/2016    Firestar Diamond, Inc.       Cash       $        7,362.50   KLESTADT WINTERS JURELLER          CPRE        Expense Recorded to FGI/CP
1/4/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
2/2/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
2/8/2017      Firestar Diamond, Inc.       Cash       $        6,854.56   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
2/16/2017     Firestar Diamond, Inc.       Cash       $        4,078.21   KLESTADT WINTERS JURELLER          CPRE        Expense Recorded to FGI/CP
3/2/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
3/9/2017      Firestar Diamond, Inc.       Cash       $        7,000.82   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
3/24/2017     Firestar Diamond, Inc.       Cash       $        5,224.41   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
3/24/2017     Firestar Diamond, Inc.       Cash       $        2,064.00   ROBINSON & COLE LLP                CPRE        Expense Recorded to FGI/CP
4/4/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/2/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
5/3/2017      Firestar Diamond, Inc.       Cash       $        7,861.53   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
5/12/2017     Firestar Diamond, Inc.       Cash       $          300.00   DELAWARE SECRETARY OF STATE        CPRE        Expense Recorded to FGI/CP
5/26/2017     Firestar Diamond, Inc.       Cash       $       75,000.00   Firestar Group Inc.                CPRE        Transfer to FGI for Payment to Marks Paneth
6/2/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
6/8/2017      Firestar Diamond, Inc.       Cash       $       11,627.60   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/12/2017     Firestar Diamond, Inc.       Cash       $        8,000.00   Firestar Group Inc.                CPRE        Transfer to FGI for Payment to MR Valuation Consulting
6/20/2017     Firestar Diamond, Inc.       Cash       $        7,861.53   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
6/26/2017     Firestar Diamond, Inc.       Cash       $        5,948.14   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
7/5/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/1/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
8/18/2017     Firestar Diamond, Inc.       Cash       $        7,861.53   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
9/5/2017      Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
9/20/2017     Firestar Diamond, Inc.       Cash       $        5,948.14   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
9/26/2017     Firestar Diamond, Inc.       Cash       $       32,592.00   UNITED STATES TREASURY             CPRE        Expense Recorded to FGI/CP
10/3/2017     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
10/5/2017     Firestar Diamond, Inc.       Cash       $       15,723.06   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
10/19/2017    Firestar Diamond, Inc.       Cash       $        7,861.53   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
11/2/2017     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
11/9/2017     Firestar Diamond, Inc.       Cash       $        8,054.55   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Essex House Apartment Maintenance Fees
12/4/2017     Firestar Diamond, Inc.       Cash       $       10,622.18   HSBC MORTGAGE CORPORATION (USA     CPRE        Essex House Mortgage Payment
12/5/2017     Firestar Diamond, Inc.       Cash       $    3,000,642.00   HSBC MORTGAGE CORPORATION (USA     CPRE        Pay-off of Essex House Apartment Mortgage
12/5/2017     Firestar Diamond, Inc.       Cash       $        5,788.51   NYC DEPARTMENT OF FINANCE          CPRE        Expense Recorded to FGI/CP
1/24/2018     Firestar Diamond, Inc.       Cash       $       15,828.35   JW MARRIOTT ESSEX HOUSE N.Y        CPRE        Unknown JW Marriott Essex House Payment


             Total Two-Year CPRE Transfers            $    3,603,683.69
             Total Six-Year CPRE Transfers            $    4,594,559.78




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               Schedule B - Transfers from Debtors to Auragem


                                       Property
   Date            Transferor         Transferred       Value                    Transferee
10/11/2012 Firestar Diamond, Inc.     Cash          $ 500,000.00 Auragem Company Limited
 9/24/2015 Firestar Diamond, Inc.     Cash          $ 1,840,968.94 Auragem Company Limited



            Total Auragem Transfers                 $ 2,340,968.94
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                Schedule C - Transfers from Debtors to Brilliant


                                        Property
  Date               Transferor        Transferred        Value                        Transferee
 3/25/2014   Firestar Diamond, Inc.    Cash          $   4,058,500.00 Brilliant Diamonds Limited
 6/23/2015   Firestar Diamond, Inc.    Inventory     $   1,168,389.98   Brilliant Diamonds Ltd.
 6/27/2016   Firestar Diamond, Inc.    Inventory     $     840,533.18   Brilliant Diamonds Ltd.
 7/15/2016   Firestar Diamond, Inc.    Inventory     $   1,001,354.75   Brilliant Diamonds Ltd.
 7/27/2016   Firestar Diamond, Inc.    Inventory     $     762,432.12   Brilliant Diamonds Ltd.
 9/12/2017   Firestar Diamond, Inc.    Inventory     $     534,095.01   Brilliant Diamonds Ltd.
10/11/2017   Firestar Diamond, Inc.    Inventory     $     864,587.57   Brilliant Diamonds Ltd.
11/15/2017   Firestar Diamond, Inc.    Inventory     $     574,980.95   Brilliant Diamonds Ltd.
11/20/2017   Firestar Diamond, Inc.    Inventory     $     686,413.55   Brilliant Diamonds Ltd.



             Total Two-Year Brilliant Transfers      $   5,264,397.13
             Total Six-Year Brilliant Transfers      $ 10,491,287.11
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                Schedule D - Transfers from Debtors to Diagems


                                        Property
  Date               Transferor        Transferred        Value                       Transferee
12/14/2012   Firestar Diamond, Inc.    Cash          $     552,133.10   Diagems FZC
12/18/2012   Firestar Diamond, Inc.    Cash          $   1,325,000.00   Diagems FZC
12/21/2012   Firestar Diamond, Inc.    Cash          $     119,000.00   Diagems FZC
 3/15/2013   Firestar Diamond, Inc.    Cash          $     322,841.00   Diagems FZC
 3/20/2013   Firestar Diamond, Inc.    Cash          $     647,432.05   Diagems FZC



             Total Diagems Transfers                 $   2,966,406.15
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                 Schedule E - Transfers from Debtors to Empire


                                       Property
  Date               Transferor       Transferred        Value                        Transferee
 3/14/2012   Firestar Diamond, Inc.   Cash          $    733,000.00    Empire Gems FZE
 7/26/2012   A. Jaffe, Inc.           Inventory     $   2,611,263.60   Empire Gems FZE
  8/3/2012   A. Jaffe, Inc.           Inventory     $   1,819,967.35   Empire Gems FZE
 11/6/2012   Firestar Diamond, Inc.   Inventory     $   1,086,315.83   Empire Gems FZE
11/30/2012   Firestar Diamond, Inc.   Inventory     $   1,933,090.60   Empire Gems FZE
12/11/2012   Firestar Diamond, Inc.   Cash          $   1,185,025.05   Empire Gems FZE
 6/20/2013   A. Jaffe, Inc.           Inventory     $     673,432.57   Empire Gems FZE
 1/30/2015   Fantasy, Inc.            Inventory     $   1,002,025.50   Empire Gems FZE
 3/31/2016   Firestar Diamond, Inc.   Inventory     $   1,014,951.07   Empire Gems FZE
 8/12/2016   A. Jaffe, Inc.           Inventory     $      11,150.00   Empire Gems FZE
  9/2/2016   A. Jaffe, Inc.           Inventory     $      42,905.00   Empire Gems FZE



             Total Two-Year Empire Transfers        $   1,069,006.07
             Total Six-Year Empire Transfers        $ 12,113,126.57
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                Schedule F - Transfers from Debtors to Eternal


                                       Property
  Date              Transferor        Transferred        Value                         Transferee
2/20/2015   Firestar Diamond, Inc.   Cash           $    300,000.00    Eternal Diamond Corporation Ltd.
3/16/2016   A. Jaffe, Inc.           Inventory      $    218,354.22    Eternal Diamonds Corporation Ltd.
1/23/2018   Firestar Diamond, Inc.   Inventory      $    426,320.97    Eternal Diamonds Corporation Ltd.
 2/6/2018   Firestar Diamond, Inc.   Inventory      $    789,140.42    Eternal Diamonds Corporation Ltd.



            Total Two-Year Eternal Transfers        $   1,433,815.61
            Total Six-Year Eternal Transfers        $   1,733,815.61
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                   Schedule G - Transfers from Debtors to Fancy Creations



  Date               Transferor        Property Transferred       Value                            Transferee
  6/8/2012   Firestar Diamond, Inc.   Cash                    $    1,000,000.00   Fancy Creations Company Limited
12/13/2013   Firestar Diamond, Inc.   Inventory               $    1,545,774.87   Fancy Creations Company Limited
 7/23/2014   Firestar Diamond, Inc.   Inventory               $    1,800,879.99   Fancy Creations Company Limited
  9/1/2015   Firestar Diamond, Inc.   Inventory               $    1,180,230.78   Fancy Creations Company Limited
 9/24/2015   Firestar Diamond, Inc.   Cash                    $    1,400,000.00   Fancy Creations Company Limited
 5/18/2016   Firestar Diamond, Inc.   Inventory               $    1,031,353.43   Fancy Creations Company Limited
 5/20/2016   Firestar Diamond, Inc.   Inventory               $       81,455.50   Fancy Creations Company Limited
 7/18/2016   Firestar Diamond, Inc.   Cash                    $    1,809,528.00   Fancy Creations Company Limited
 7/21/2016   A. Jaffe, Inc.           Cash                    $      200,000.00   Fancy Creations Company Limited
 7/21/2016   Firestar Diamond, Inc.   Cash                    $      715,000.00   Fancy Creations Company Limited
 6/27/2017   Firestar Diamond, Inc.   Inventory               $       63,580.00   Fancy Creations Company Limited



             Total Two-Year Fancy Creations Transfers         $    3,900,916.93
             Total Six-Year Fancy Creations Transfers         $   10,827,802.57
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                  Schedule H - Transfers from Debtors to Pacific


                                        Property
  Date               Transferor        Transferred        Value                         Transferee
 2/28/2012   Firestar Diamond, Inc.   Inventory      $     251,379.68   Pacific Diamonds FZE
  3/1/2012   Firestar Diamond, Inc.   Inventory      $   1,628,433.50   Pacific Diamonds FZE
  3/2/2012   Firestar Diamond, Inc.   Inventory      $     177,350.07   Pacific Diamonds FZE
  3/5/2012   A. Jaffe, Inc.           Inventory      $     280,334.62   Pacific Diamonds FZE
 3/15/2012   A. Jaffe, Inc.           Inventory      $      69,981.60   Pacific Diamonds FZE
  5/2/2012   Firestar Diamond, Inc.   Inventory      $     762,528.95   Pacific Diamonds FZE
 5/31/2012   Firestar Diamond, Inc.   Inventory      $     256,657.25   Pacific Diamonds FZE
  6/7/2012   Firestar Diamond, Inc.   Inventory      $   1,977,768.60   Pacific Diamonds FZE
 9/28/2012   Firestar Diamond, Inc.   Inventory      $   1,912,840.00   Pacific Diamonds FZE
12/21/2012   Firestar Diamond, Inc.   Cash           $     560,000.00   Pacific Diamonds FZE
 2/22/2013   Firestar Diamond, Inc.   Cash           $     503,501.41   Pacific Diamonds FZE
 3/15/2013   Firestar Diamond, Inc.   Cash           $     670,000.00   Pacific Diamonds FZE
 3/26/2013   Firestar Diamond, Inc.   Cash           $     407,120.00   Pacific Diamonds FZE
 3/26/2013   Firestar Diamond, Inc.   Cash           $     407,120.00   Pacific Diamonds FZE
 8/30/2013   Firestar Diamond, Inc.   Inventory      $   1,768,423.08   Pacific Diamonds FZE
 9/30/2013   A. Jaffe, Inc.           Inventory      $     985,843.04   Pacific Diamonds FZE
10/10/2013   A. Jaffe, Inc.           Inventory      $   1,047,311.70   Pacific Diamonds FZE
10/10/2013   A. Jaffe, Inc.           Inventory      $   1,374,201.60   Pacific Diamonds FZE
10/23/2013   Firestar Diamond, Inc.   Cash           $     150,000.00   Pacific Diamonds FZE
10/25/2013   A. Jaffe, Inc.           Inventory      $     731,846.66   Pacific Diamonds FZE
10/30/2013   A. Jaffe, Inc.           Cash           $   2,455,036.00   Pacific Diamonds FZE
 4/11/2014   Firestar Diamond, Inc.   Inventory      $   1,301,133.90   Pacific Diamonds FZE
 1/23/2015   Fantasy, Inc.            Inventory      $   1,552,482.90   Pacific Diamonds FZE
 3/20/2015   Firestar Diamond, Inc.   Inventory      $   1,666,072.46   Pacific Diamonds FZE
 6/23/2015   Firestar Diamond, Inc.   Cash           $   1,138,270.60   Pacific Diamonds FZE
 6/26/2015   Firestar Diamond, Inc.   Cash           $   1,438,270.60   Pacific Diamonds FZE
 9/25/2015   Firestar Diamond, Inc.   Cash           $      54,000.00   Pacific Diamonds FZE
 9/28/2015   Firestar Diamond, Inc.   Cash           $   1,017,000.00   Pacific Diamonds FZE
 10/7/2015   Firestar Diamond, Inc.   Cash           $   1,071,000.00   Pacific Diamonds FZE
11/13/2015   Firestar Diamond, Inc.   Cash           $     560,741.52   Pacific Diamonds FZE
 2/23/2016   A. Jaffe, Inc.           Cash           $   1,100,000.00   Pacific Diamonds FZE
 2/26/2016   Firestar Diamond, Inc.   Inventory      $     296,659.46   Pacific Diamonds FZE
  3/3/2016   Firestar Diamond, Inc.   Cash           $     873,996.50   Pacific Diamonds FZE
  3/3/2016   Firestar Diamond, Inc.   Cash           $      53,863.40   Pacific Diamonds FZE
 3/15/2016   A. Jaffe, Inc.           Cash           $     700,000.00   Pacific Diamonds FZE
 3/21/2016   A. Jaffe, Inc.           Cash           $   1,000,000.00   Pacific Diamonds FZE
 3/23/2016   A. Jaffe, Inc.           Cash           $     900,000.00   Pacific Diamonds FZE
 3/24/2016   A. Jaffe, Inc.           Cash           $   1,000,000.00   Pacific Diamonds FZE
  4/5/2016   A. Jaffe, Inc.           Cash           $     500,000.00   Pacific Diamonds FZE
  5/6/2016   A. Jaffe, Inc.           Cash           $   2,000,000.00   Pacific Diamonds FZE
  6/1/2016   A. Jaffe, Inc.           Cash           $     815,000.00   Pacific Diamonds FZE




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                                       Property
  Date             Transferor         Transferred        Value                         Transferee
6/17/2016   Firestar Diamond, Inc.   Inventory      $     693,348.24   Pacific Diamonds FZE
3/28/2017   Firestar Diamond, Inc.   Inventory      $     459,508.55   Pacific Diamonds FZE
 1/3/2018   A. Jaffe, Inc.           Cash           $     530,000.00   Pacific Diamonds FZE
 1/3/2018   Firestar Diamond, Inc.   Cash           $     483,620.05   Pacific Diamonds FZE
 1/3/2018   Firestar Diamond, Inc.   Cash           $   2,188,769.43   Pacific Diamonds FZE



            Total Two-Year Pacific Transfers        $ 12,494,765.63
            Total Six-Year Pacific Transfers        $ 41,771,415.37




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                 Schedule I - Transfers from Debtors to Tri Color


                                        Property
  Date              Transferor         Transferred        Value                          Transferee
  3/1/2012   Firestar Diamond, Inc.   Inventory      $   1,805,720.16   Tri Color Gems FZE
 3/18/2013   Firestar Diamond, Inc.   Cash           $   1,000,000.00   Tri Color Gems FZE
 3/19/2013   Firestar Diamond, Inc.   Cash           $     200,024.90   Tri Color Gems FZE
 3/21/2013   Firestar Diamond, Inc.   Cash           $   1,013,165.00   Tri Color Gems FZE
  5/1/2013   Firestar Diamond, Inc.   Cash           $     600,000.00   Tri Color Gems FZE
  5/6/2013   Firestar Diamond, Inc.   Cash           $   1,600,000.00   Tri Color Gems FZE
10/10/2013   A. Jaffe, Inc.           Inventory      $   1,914,721.20   Tri Color Gems FZE
 7/11/2014   Firestar Diamond, Inc.   Cash           $     414,405.20   Tri Color Gems FZE
 9/29/2015   Firestar Diamond, Inc.   Inventory      $   1,610,088.00   Tri Color Gems FZE
 2/24/2016   Firestar Diamond, Inc.   Inventory      $     743,312.85   Tri Color Gems FZE
 2/26/2016   Firestar Diamond, Inc.   Cash           $   1,192,105.55   Tri Color Gems FZE
 3/30/2016   Fantasy, Inc.            Cash           $    301,540.00    Tri Color Gems FZE



             Total Two-Year Tri Color Transfers      $   1,493,645.55
             Total Six-Year Tri Color Transfers      $ 12,395,082.86
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                 Schedule J - Transfers from Debtors to Unique


                                       Property
  Date              Transferor        Transferred        Value                        Transferee
 3/29/2012   Firestar Diamond, Inc.   Inventory     $   3,144,477.38   Unique Diamond & Jewellery FZC
 7/13/2012   A. Jaffe, Inc.           Inventory     $     874,867.52   Unique Diamond & Jewellery FZC
 9/12/2012   Firestar Diamond, Inc.   Cash          $     150,000.00   Unique Diamond & Jewellery FZC
12/13/2012   Firestar Diamond, Inc.   Cash          $     231,000.00   Unique Diamond & Jewellery FZC
 9/24/2013   Firestar Diamond, Inc.   Inventory     $    921,027.10    Unique Diamond & Jewellery FZC
 3/18/2014   Firestar Diamond, Inc.   Cash          $    150,000.00    Unique Diamond & Jewellery FZC
 1/19/2015   Firestar Diamond, Inc.   Inventory     $    125,590.00    Unique Diamond & Jewellery FZC
  3/2/2015   Firestar Diamond, Inc.   Cash          $    300,000.00    Unique Diamond & Jewellery FZC
 9/30/2015   Firestar Diamond, Inc.   Inventory     $   2,122,401.60   Unique Diamond & Jewellery FZC
  3/4/2016   Firestar Diamond, Inc.   Cash          $     300,000.00   Unique Diamond & Jewellery FZC
 6/17/2016   Firestar Diamond, Inc.   Inventory     $    331,028.54    Unique Diamond & Jewellery FZC
 3/22/2017   Firestar Diamond, Inc.   Cash          $    300,000.00    Unique Diamond & Jewellery FZC
 5/23/2017   Firestar Diamond, Inc.   Inventory     $     638,934.23   Unique Diamond & Jewellery FZC
 7/17/2017   Firestar Diamond, Inc.   Inventory     $   1,905,068.65   Unique Diamond & Jewellery FZC



             Total Two-Year Unique Transfers        $   3,475,031.42
             Total Six-Year Unique Transfers        $ 11,494,395.02
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                 Schedule K - Transfers from Debtors to World Diamond



  Date              Transferor        Property Transferred        Value                     Transferee
  5/2/2012   A. Jaffe, Inc.           Inventory              $   1,454,821.45   World Diamond Distribution FZE
 3/28/2013   Firestar Diamond, Inc.   Inventory              $     959,097.55   World Diamond Distribution FZE
  5/2/2013   Firestar Diamond, Inc.   Inventory              $     548,718.30   World Diamond Distribution FZE
 6/21/2013   Firestar Diamond, Inc.   Inventory              $   1,479,565.30   World Diamond Distribution FZE
 7/26/2013   Firestar Diamond, Inc.   Inventory              $     480,487.13   World Diamond Distribution FZE
 9/24/2013   Firestar Diamond, Inc.   Inventory              $     522,483.15   World Diamond Distribution FZE
10/25/2013   Firestar Diamond, Inc.   Inventory              $     911,408.98   World Diamond Distribution FZE
 2/21/2014   Firestar Diamond, Inc.   Inventory              $   1,968,839.60   World Diamond Distribution FZE
 10/6/2015   Firestar Diamond, Inc.   Inventory              $     682,219.05   World Diamond Distribution FZE
 10/7/2015   Firestar Diamond, Inc.   Inventory              $     285,071.95   World Diamond Distribution FZE
12/10/2015   Firestar Diamond, Inc.   Inventory              $   1,275,300.30   World Diamond Distribution FZE
  9/7/2016   Firestar Diamond, Inc.   Inventory              $     647,031.88   World Diamond Distribution FZE
10/18/2016   Firestar Diamond, Inc.   Inventory              $     946,397.24   World Diamond Distribution FZE
 1/20/2017   Firestar Diamond, Inc.   Inventory              $     984,058.12   World Diamond Distribution FZE
 2/15/2017   Firestar Diamond, Inc.   Inventory              $     633,111.89   World Diamond Distribution FZE
  3/3/2017   Firestar Diamond, Inc.   Inventory              $     687,520.22   World Diamond Distribution FZE
 4/27/2017   Firestar Diamond, Inc.   Inventory              $     821,671.50   World Diamond Distribution FZE
 5/12/2017   Firestar Diamond, Inc.   Inventory              $   1,122,083.08   World Diamond Distribution FZE
 5/31/2017   Firestar Diamond, Inc.   Inventory              $     790,999.16   World Diamond Distribution FZE
  6/1/2017   Firestar Diamond, Inc.   Inventory              $     945,911.45   World Diamond Distribution FZE
 7/11/2017   Firestar Diamond, Inc.   Inventory              $     819,420.00   World Diamond Distribution FZE
 7/28/2017   Firestar Diamond, Inc.   Inventory              $     577,087.91   World Diamond Distribution FZE
 12/5/2017   Firestar Diamond, Inc.   Inventory              $   1,632,500.53   World Diamond Distribution FZE



             Total Two-Year World Diamond Transfers          $ 10,607,792.98
             Total Six-Year World Diamond Transfers          $ 21,175,805.74
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                Schedule L - Transfers from Debtors to Twin Fields


                                        Property
    Date            Transferor         Transferred         Value                 Transferee
  2/1/2013   A. Jaffe, Inc.           Cash            $     400,000.00   Twin Fields Investment
 3/14/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 4/10/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 5/17/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 5/28/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 5/29/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 7/26/2013   A. Jaffe, Inc.           Cash                  100,000.00   Twin Fields Investment
  8/5/2013   A. Jaffe, Inc.           Cash                  300,000.00   Twin Fields Investment
  9/4/2013   A. Jaffe, Inc.           Cash                  450,000.00   Twin Fields Investment
 9/12/2013   A. Jaffe, Inc.           Cash                  750,000.00   Twin Fields Investment
 9/25/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 10/1/2013   A. Jaffe, Inc.           Cash                  300,000.00   Twin Fields Investment
10/17/2013   A. Jaffe, Inc.           Cash                   50,000.00   Twin Fields Investment
10/30/2013   A. Jaffe, Inc.           Cash                  100,000.00   Twin Fields Investment
11/12/2013   A. Jaffe, Inc.           Cash                  610,000.00   Twin Fields Investment
 12/3/2013   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
  3/3/2014   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 4/21/2014   A. Jaffe, Inc.           Cash                  400,000.00   Twin Fields Investment
 5/22/2014   A. Jaffe, Inc.           Cash                  200,000.00   Twin Fields Investment
  6/9/2014   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 6/12/2014   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 7/25/2014   A. Jaffe, Inc.           Cash                  600,000.00   Twin Fields Investment
  8/4/2014   A. Jaffe, Inc.           Cash                  255,000.00   Twin Fields Investment
 8/20/2014   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 9/26/2014   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
11/19/2014   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 2/10/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
  4/7/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 4/21/2015   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 5/22/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
  6/3/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 6/22/2015   Firestar Diamond, Inc.   Cash                   31,542.28   Twin Fields Investment
 6/22/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
  7/1/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 7/15/2015   A. Jaffe, Inc.           Cash                1,000,000.00   Twin Fields Investment
 7/29/2015   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 8/26/2015   A. Jaffe, Inc.           Cash                  350,000.00   Twin Fields Investment
 9/16/2015   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 9/29/2015   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
10/26/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 11/6/2015   A. Jaffe, Inc.           Cash                  500,000.00   Twin Fields Investment
 12/3/2015   A. Jaffe, Inc.           Cash                  200,000.00   Twin Fields Investment
  2/2/2016   A. Jaffe, Inc.           Cash                1,000,000.00   Twin Fields Investment
 4/14/2016   A. Jaffe, Inc.           Cash                  150,000.00   Twin Fields Investment
  6/8/2016   A. Jaffe, Inc.           Cash                  250,000.00   Twin Fields Investment
 6/14/2016   A. Jaffe, Inc.           Cash                  150,000.00   Twin Fields Investment



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                                         Property
    Date             Transferor         Transferred        Value                 Transferee
 7/14/2016   A. Jaffe, Inc.          Cash                   140,000.00   Twin Fields Investment
10/11/2016   A. Jaffe, Inc.          Cash                   250,000.00   Twin Fields Investment
 1/18/2017   A. Jaffe, Inc.          Cash                   300,000.00   Twin Fields Investment
  2/1/2017   A. Jaffe, Inc.          Cash                   500,000.00   Twin Fields Investment
 2/10/2017   A. Jaffe, Inc.          Cash                   500,000.00   Twin Fields Investment
  3/1/2017   A. Jaffe, Inc.          Cash                   250,000.00   Twin Fields Investment
 3/10/2017   A. Jaffe, Inc.          Cash                   250,000.00   Twin Fields Investment
 3/16/2017   A. Jaffe, Inc.          Cash                   250,000.00   Twin Fields Investment
 3/30/2017   A. Jaffe, Inc.          Cash                   150,000.00   Twin Fields Investment
  5/4/2017   A. Jaffe, Inc.          Cash                   125,000.00   Twin Fields Investment



             Total Two-Year Twin Fields Transfers     $   3,265,000.00
             Total Six-Year Twin Fields Transfers     $ 21,361,542.28




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    FIRESTAR DIAMOND, INC., et al.                            No. 18-10509 (SHL)

                          Debtors. 1                          (Jointly Administered)

    RICHARD LEVIN, Chapter 11 Trustee of
    FIRESTAR DIAMOND, INC., FANTASY, INC.,
    and OLD AJ, INC. f/k/a A. JAFFE, INC.,

                          Plaintiff,

             v.                                            Adv. Proc. No. 20-1054 (SHL)

    AMI JAVERI (A/K/A AMI MODI); PURVI
    MEHTA (A/K/A PURVI MODI); NEHAL
    MODI; NEESHAL MODI; CENTRAL PARK
    REAL ESTATE, LLC; CENTRAL PARK SOUTH
    50 PROPERTIES, LLC; TRIDENT TRUST
    COMPANY (SOUTH DAKOTA) INC., solely as
    Trustee of THE ITHACA TRUST; TWIN FIELDS
    INVESTMENTS LTD.; AURAGEM COMPANY
    LTD.; BRILLIANT DIAMONDS LTD.; ETERNAL
    DIAMONDS CORPORATION LTD.; FANCY
    CREATIONS COMPANY LTD.; HAMILTON
    PRECIOUS TRADERS LTD.; SINO TRADERS
    LTD.; SUNSHINE GEMS LTD.; UNIQUE
    DIAMOND AND JEWELLERY FZC; WORLD
    DIAMOND DISTRIBUTION FZE; VISTA
    JEWELRY FZE; EMPIRE GEMS FZE;
    UNIVERSAL FINE JEWELRY FZE; DIAGEMS
    FZC; TRI COLOR GEMS FZE; PACIFIC
    DIAMONDS FZE; HIMALAYAN TRADERS
    FZE; UNITY TRADING FZE; FINE CLASSIC
    FZE; DG BROTHERS FZE,

                  Defendants.




1 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Firestar Diamond, Inc. (2729), Fantasy, Inc. (1673), and Old AJ, Inc. f/k/a A. Jaffe, Inc. (4756).
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                  ORDER (I) DIRECTING ISSUANCE OF AN ADDITIONAL
                    SUMMONS; (II) SETTING FOREIGN DEFENDANTS’
                TIME TO RESPOND TO THE COMPLAINT; (III) ADJOURNING
            THE PRETRIAL CONFERENCE; AND (IV) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”) 2 of Richard Levin, not individually but solely in his

capacity as chapter 11 trustee (the “Trustee”) for Firestar Diamond, Inc. (“Firestar”) for an order

(i) directing the Clerk of Court to issue an additional summons under Bankruptcy Rule 7004(e),

(ii) authorizing service of the Complaint [Dkt. 1] on the UAE Defendants by international

registered mail under Civil Rule 4(f)(3), made applicable in this adversary proceeding by

Bankruptcy Rule 7004(a), (iii) setting each Foreign Defendant’s deadline to respond to the

Complaint to 45 days from the date the Trustee effects service on each respective Defendant under

Bankruptcy Rule 7012(a), (iv) adjourning sine die the initial pretrial conference, and (v) granting

related relief; and the Court having conducted a hearing on the Motion on April 7, 2020 (the

“Hearing”); and the Court having considered the Motion, all responses filed thereto, if any,

as well as any evidence presented at the hearing; and the Court having jurisdiction to consider

and determine the Motion in accordance with 28 U.S.C. §§ 157 and 1334; and appropriate notice

under the circumstances of the Motion having been provided, and it appearing that no other or

further notice need be provided; and after due deliberation and sufficient cause appearing

therefor; and recognizing that service may be substantially delayed on account of the COVID-19

pandemic,

          IT IS ORDERED:

          1.      The Clerk of Court shall issue an additional summons in accordance with

Bankruptcy Rule 7004(e).




2   Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.

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       2.      The deadline for the Foreign Defendants to file with the clerk of the bankruptcy

court a response to the Complaint is 60 days after the Trustee effects service of the Complaint and

Summons.

       3.      The Pretrial Conference in this adversary proceeding, currently scheduled for

April 30, 2020 at 10:00 a.m., is adjourned sine die.

       4.      A hearing on the portion of the Motion requesting authority to serve the

Complaint and Summons on the UAE Defendants is adjourned to April 30, 2020.



Dated: April 10, 2020                                       /s/ Sean H. Lane
                                                            The Honorable Sean H. Lane
                                                            United States Bankruptcy Judge




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                      :                      Chapter 11
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FIRESTAR DIAMOND, INC. et al.                               :                      Case No. 18-10509 (SHL)
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                           Debtors. 1                       :                      (Jointly Administered)
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RICHARD LEVIN, Chapter 11 Trustee of                        :
FIRESTAR DIAMOND, INC.,                                     :                      Adv. Proc. No. 20-01054 (SHL)
                                                            :
                            Plaintiff,                      :
          v.
                                                            :
                                                            :
AMI JAVERI (A/K/A AMI MODI); PURVI
MEHTA (A/K/A PURVI MODI); NEHAL                             :
MODI; NEESHAL MODI; CENTRAL PARK                            :
REAL ESTATE, LLC; CENTRAL PARK SOUTH :
50 PROPERTIES, LLC; TRIDENT TRUST                           :
COMPANY (SOUTH DAKOTA) INC., solely as
Trustee of the ITHACA TRUST; TWIN FIELDS
INVESTMENTS LTD.; AURAGEM COMPANY
LTD.; BRILLIANT DIAMONDS LTD.; ETERNAL
DIAMONDS CORPORATION LTD.; FANCY
CREATIONS COMPANY LTD.; HAMILTON
PRECIOUS TRADERS LTD.; SINO TRADERS
LTD.; SUNSHINE GEMS LTD.; UNIQUE
DIAMOND AND JEWELLERY FZC; WORLD
DIAMOND DISTRIBUTION FZE; VISTA
JEWELRY FZE; EMPIRE GEMS FZE;
UNIVERSAL FINE JEWELRY FZE; DIAGEMS
FZC; TRI COLOR GEMS FZE; PACIFIC
DIAMONDS FZE; HIMALAYAN TRADERS
FZE; UNITY TRADING FZE; FINE CLASSIC
FZE; DG BROTHERS FZE,

                            Defendants.
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                                              AFFIDAVIT OF SERVICE

        I, Colin Linebaugh, am employed in the county of Los Angeles, State of California. I hereby certify that on
April 23, 2020, at my direction and under my supervision, employees of Omni Management Group caused true and
correct copies of the following document to be served via first-class mail, postage pre-paid, to the parties listed in
Exhibit A attached hereto:



1
 The Debtors in these jointly administered chapter 11 cases, along with each Debtor’s respective chapter 11 case number and the last four
digits of each Debtor’s federal tax identification number are: (i) Firestar Diamond, Inc. (Case No. 18-10509) (2729); (ii) A. Jaffe, Inc. (Case
No. 18-10510) (4756); and (iii) Fantasy, Inc. (Case No. 18-10511) (1673).
20-01054-shl   Doc 61
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                                         2 of 4
                                              229
20-01054-shl   Doc 61
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                                  EXHIBIT A
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                                         3 of 4
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Firestar Diamond, Inc., et al. - U.S. Mail                                                                              Served 4/23/2020
                                                           PgPg206
                                                                 4 of 4
                                                                      229
AMI JAVERI                                       AMI JAVERI                                    CENTRAL PARK REAL ESTATE LLC
160 CENTRAL PARK SOUTH                           50 CENTRAL PARK SOUTH, UNIT 33,               160 CENTRAL PARK SOUTH
SUITE 3601                                       NEW YORK, NY 10019                            SUITE 3601
NEW YORK, NY 10019                                                                             NEW YORK, NY 10019




CENTRAL PARK REAL ESTATE LLC                     CENTRAL PARK SOUTH 50 PROPERTIES LLC          CENTRAL PARK SOUTH 50 PROPERTIES LLC
C/O CORPORATE SERVICE COMPANY                    ATTN: OFFICER OR GENERAL/MANAGING AGENT       C/O DAY PITNEY LLP
251 LITTLE FALLS DRIVE                           50 CENTRAL PARK SOUTH, UNIT 33                7 TIMES SQUARE, 20TH FLOOR
WILMINGTON, DE 19808                             NEW YORK, NY 10019                            NEW YORK, NY 10036




NEHAL MODI                                       NEHAL MODI                                    TRIDENT TRUST COMPANY (SOUTH DAKOTA) INC., AS
5 GEORGE LANGELOH COURT,                         7702 SANDIA LOOP                              ATTN: ALICE ROKAHR, PRESIDENT
RYE, NY 10580                                    AUSTIN, TX 78735                              200 NORTH PHILIPS AVENUE
                                                                                               SIOUX FALLS, SD 57104




TWIN FIELDS INVESTMENTS LTD.
ATTN: OFFICER OR GENERAL/MANAGING AGENT
40 E. DIVISION STREET, APARTMENT #A,
DOVER, DELAWARE 19901



                                                                                           Parties Served: 10




Page 1 of 1
20-01054-shl   Doc 61
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20-01054-shl   Doc 61
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                                         1 of 2
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                                         1 of 2
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20-01054-shl   Doc 61   Filed 12/21/20 Entered 12/21/20 20:20:38   Main Document
                                   Pg 217 of 229



                                    Exhibit B




                                        7
        20-01054-shl      Doc 61     Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
                                                Pg 218 of 229
                                                                            2ndsumm, PENAP, MDisCs


                                        U.S. Bankruptcy Court
                               Southern District of New York (Manhattan)
                                 Adversary Proceeding #: 20-01054-shl

 Assigned to: Judge Sean H. Lane                                      Date Filed: 02/25/20
 Lead BK Case: 18-10509
 Lead BK Title: Firestar Diamond, Inc. and Fantasy, Inc.
 Lead BK Chapter: 11
 Demand:
 Nature[s] of Suit: 13 Recovery of money/property - 548 fraudulent transfer
                    02 Other (e.g. other actions that would have been brought in state court if unrelated to
                       bankruptcy)


Plaintiff
-----------------------
Richard Levin, Chapter 11 Trustee of Firestar           represented by Marc B. Hankin
Diamond, Inc., Fantasy, Inc., and Old AJ, Inc.                         Jenner & Block LLP
f/k/a A. Jaffe, Inc.                                                   919 Third Avenue
                                                                       39th Floor
                                                                       New York, NY 10022
                                                                       (212) 891-1647
                                                                       Fax : (212) 909-0864
                                                                       Email: mhankin@jenner.com

                                                                       Vincent Edward Lazar
                                                                       Jenner & Block LLP
                                                                       353 N. Clark Street
                                                                       Chicago, IL 60654
                                                                       (312) 923-2989
                                                                       Fax : (312) 840-7389
                                                                       Email: vlazar@jenner.com

                                                                       Richard B. Levin
                                                                       Jenner & Block LLP
                                                                       919 Third Avenue
                                                                       38th Floor
                                                                       New York, NY 10022
                                                                       (212) 891-1601
                                                                       Fax : (212) 891-1699
                                                                       Email: rlevin@jenner.com

                                                                       Carl N Wedoff
                                                                       Jenner & Block LLP
                                                                       919 Third Avenue
                                                                       New York, NY 10022
                                                                       (212)891-1600
                                                                       Fax : (212)891-1699
          20-01054-shl    Doc 61   Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
                                              Pg 219 of 229   Email: cwedoff@jenner.com


V.

Defendant
-----------------------
Ami Javeri, A/K/A Ami Modi                       represented by Roger J Bernstein
                                                                Roger J Bernstein
                                                                535 Fifth Ave
                                                                23rd Floor
                                                                New York, NY 10017
                                                                212-748-7400
                                                                Email: rjblaw@gmail.com


Defendant
-----------------------
Purvi Mehta, A/K/A Purvi Modi                    represented by Frederick D. Hyman
                                                                Duane Morris LLP
                                                                1540 Broadway
                                                                New York, NY 10036
                                                                212-692-1000
                                                                Fax : 212-692-1020
                                                                Email: RHyman@duanemorris.com

                                                              Evangelos Michailidis
                                                              Duane Morris LLP
                                                              1540 Broadway
                                                              New York, NY 10036
                                                              212-471-1864
                                                              Email: emichailidis@duanemorris.com

                                                              Sarah Fehm Stewart
                                                              Duane Morris LLP
                                                              One Riverfront Plaza
                                                              1037 Raymond Blvd.
                                                              Suite 1800
                                                              Newark, NJ 07102
                                                              973-424-2061
                                                              Fax : 973-556-1464
                                                              Email: sfstewart@duanemorris.com

                                                              Mauro Wolfe
                                                              Duane Morris LLP
                                                              1540 Broadway
                                                              New York, NY 10036
                                                              212-692-1017
                                                              Email: mmwolfe@duanemorris.com


Defendant
-----------------------
       20-01054-shl       Doc 61   Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
Nehal Modi                                    Pg 220 of 229   Roger J Bernstein
                                                 represented by (See above for address)


Defendant
-----------------------
Neeshal Modi                                     represented by Benjamin Suess
                                                                Paykin Krieg & Adams, LLP
                                                                2500 Westchester Avenue
                                                                Suite 107
                                                                Purchase, NY 10577
                                                                917-400-2984
                                                                Email: bsuess@pka-law.com


Defendant
-----------------------
Central Park Real Estate, LLC                    represented by Beth L. Kaufman
                                                                Schoeman Updike Kaufman & Gerber LLP
                                                                551 Fifth Avenue
                                                                New York, NY 10176
                                                                212-661-5030
                                                                Email: ksaletto@schoeman.com

                                                               Patricia O'Prey
                                                               Schoeman Updike Kaufman & Gerber LLP
                                                               551 Fifth Avenue
                                                               New York, NY 10176
                                                               212-661-5030
                                                               Email: poprey@schoeman.com


Defendant
-----------------------
Central Park South 50 Properties, LLC            represented by Beth L. Kaufman
                                                                (See above for address)

                                                               Patricia O'Prey
                                                               (See above for address)


Defendant
-----------------------
Trident Trust Company (South Dakota) Inc.,       represented by Marc Rowin
solely as Trustee of the Ithaca Trust                           Lynch Rowin LLP
                                                                50 Main Street, Suite 1000
                                                                White Plains, NY 10606
                                                                212-682-4001
                                                                Email: mrowin@lynchrowin.com


Defendant
-----------------------
        20-01054-shl Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
Twin Fields Investments Ltd.                Pg 221 of 229   Twin Fields Investments Ltd.
                                               represented by PRO SE




Defendant
-----------------------
Auragem Company Ltd.                           represented by Auragem Company Ltd.
                                                              PRO SE




Defendant
-----------------------
Brilliant Diamonds Ltd.                        represented by Brilliant Diamonds Ltd.
                                                              PRO SE




Defendant
-----------------------
Eternal Diamonds Corporation Ltd.              represented by Eternal Diamonds Corporation Ltd.
                                                              PRO SE




Defendant
-----------------------
Fancy Creations Company Ltd.                   represented by Fancy Creations Company Ltd.
                                                              PRO SE




Defendant
-----------------------
Hamilton Precious Traders Ltd.                 represented by Hamilton Precious Traders Ltd.
                                                              PRO SE




Defendant
-----------------------
Sino Traders Ltd.                              represented by Sino Traders Ltd.
                                                              PRO SE
          20-01054-shl    Doc 61   Filed 12/21/20 Entered 12/21/20 20:20:38    Main Document
                                              Pg 222 of 229
Defendant
-----------------------
Sunshine Gems Ltd.                                represented by Sunshine Gems Ltd.
                                                                 PRO SE




Defendant
-----------------------
Unique Diamond and Jewellery FZC                  represented by Unique Diamond and Jewellery FZC
                                                                 PRO SE




Defendant
-----------------------
World Diamond Distribution FZE                    represented by World Diamond Distribution FZE
                                                                 PRO SE




Defendant
-----------------------
Vista Jewelry FZE                                 represented by Vista Jewelry FZE
                                                                 PRO SE




Defendant
-----------------------
Empire Gems FZE                                   represented by Empire Gems FZE
                                                                 PRO SE




Defendant
-----------------------
Universal Fine Jewelry FZE                        represented by Universal Fine Jewelry FZE
                                                                 PRO SE




Defendant
-----------------------
Diagems FZC                                       represented by Diagems FZC
                                                                 PRO SE
          20-01054-shl    Doc 61   Filed 12/21/20 Entered 12/21/20 20:20:38       Main Document
                                              Pg 223 of 229




Defendant
-----------------------
Tri Color Gems FZE                                represented by Tri Color Gems FZE
                                                                 PRO SE




Defendant
-----------------------
Pacific Diamonds FZE                              represented by Pacific Diamonds FZE
                                                                 PRO SE




Defendant
-----------------------
Himalayan Traders FZE                             represented by Himalayan Traders FZE
                                                                 PRO SE




Defendant
-----------------------
Unity Trading FZE                                 represented by Unity Trading FZE
                                                                 PRO SE




Defendant
-----------------------
Fine Classic FZE                                  represented by Fine Classic FZE
                                                                 PRO SE




Defendant
-----------------------
DG Brothers FZE                                   represented by DG Brothers FZE
                                                                 PRO SE



    Filing Date               #                                     Docket Text
       20-01054-shl   Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
02/25/2020              1                    Pg 224 of
                                             Adversary    229
                                                       case 20-01054. Complaint against Ami Javeri, Purvi Mehta,
                        (190 pgs; 3 docs)     Nehal Modi, Neeshal Modi, Central Park Real Estate, LLC, Central Park
                                              South 50 Properties, LLC, Trident Trust Company (South Dakota) Inc.,
                                              Twin Fields Investments Ltd., Auragem Company Ltd., Brilliant
                                              Diamonds Ltd., Eternal Diamonds Corporation Ltd., Fancy Creations
                                              Company Ltd., Hamilton Precious Traders Ltd., Sino Traders Ltd.,
                                              Sunshine Gems Ltd., Unique Diamond and Jewellery FZC, World
                                              Diamond Distribution FZE, Vista Jewelry FZE, Empire Gems FZE,
                                              Universal Fine Jewelry FZE, Diagems FZC, Tri Color Gems FZE,
                                              Pacific Diamonds FZE, Himalayan Traders FZE, Unity Trading FZE,
                                              Fine Classic FZE, DG Brothers FZE (Fee Amount $ 350.). Nature(s) of
                                              Suit: (13 (Recovery of money/property - 548 fraudulent transfer)), (02
                                              (Other (e.g. other actions that would have been brought in state court if
                                              unrelated to bankruptcy))) Filed by Vincent Edward Lazar on behalf of
                                              Richard Levin. (Attachments: # 1 Appendix A # 2 Schedules) (Lazar,
                                              Vincent) (Entered: 02/25/2020)

                                              Receipt of Complaint( 20-01054-shl) [cmp,cmp] ( 350.00) Filing Fee.
                                              Receipt number AXXXXXXXX. Fee amount 350.00. (Re: Doc # 1) (U.S.
02/25/2020                                    Treasury) (Entered: 02/25/2020)

                        2                     Summons with Notice of Pre-Trial Conference issued by Clerk's Office
                        (2 pgs)               with Pre-Trial Conference set for 4/30/2020 at 10:00 AM at Courtroom
                                              701 (SHL), Answer due by 3/27/2020, (Ortiz, Carmen) (Entered:
02/26/2020                                    02/26/2020)

                        3                     Application for Pro Hac Vice Admission of Angela M. Allen filed by
                        (4 pgs; 2 docs)       Vincent Edward Lazar on behalf of Richard Levin. (Attachments: # 1
02/28/2020                                    Proposed Order) (Lazar, Vincent) (Entered: 02/28/2020)

                        4                     Application for Pro Hac Vice Admission of William A. Williams filed by
                        (4 pgs; 2 docs)       Vincent Edward Lazar on behalf of Richard Levin. (Attachments: # 1
02/28/2020                                    Proposed Order) (Lazar, Vincent) (Entered: 02/28/2020)

                                              Receipt of Application for Pro Hac Vice Admission( 20-01054-shl)
                                              [motion,122] ( 200.00) Filing Fee. Receipt number AXXXXXXXX. Fee
02/28/2020                                    amount 200.00. (Re: Doc # 3) (U.S. Treasury) (Entered: 02/28/2020)

                                              Receipt of Application for Pro Hac Vice Admission( 20-01054-shl)
                                              [motion,122] ( 200.00) Filing Fee. Receipt number AXXXXXXXX. Fee
02/28/2020                                    amount 200.00. (Re: Doc # 4) (U.S. Treasury) (Entered: 02/28/2020)

                        5                     Order Signed On 3/10/2020, Granting Application For Pro Hac Vice Re:
                        (2 pgs)               Angela M. Allen. (Related Doc # 3) (Ebanks, Liza) (Entered:
03/10/2020                                    03/10/2020)

                        6                     Order Signed On 3/10/2020, Granting Application For Pro Hac Vice Re:
                        (2 pgs)               William A. Williams. (Related Doc # 4) (Ebanks, Liza) (Entered:
03/10/2020                                    03/10/2020)

03/24/2020              7                     Motion to Authorize /Notice of Chapter 11 Trustee's Motion for Entry of
                        (16 pgs; 2 docs)      an Order (I) Directing Issuance of an Additional Summons; (II)
                                              Authorizing Service on the UAE Defendants by International Registered
                                              Mail; (III) Setting Foreign Defendants' Time to Respond to the
                                              Complaint; (IV) Adjourning the Pretrial Conference; and (V) Granting
                                              Related Relief (related document(s)1) filed by Vincent Edward Lazar on
                                              behalf of Richard Levin with hearing to be held on 4/7/2020 at 02:00 PM
       20-01054-shl   Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
                                             atPg 225 of 229
                                                Courtroom 701 (SHL) Responses due by 3/31/2020,. (Attachments: #
                                              1 Exhibit A - Proposed Order) (Lazar, Vincent) (Entered: 03/24/2020)

                        8                     Order Signed On 4/10/2020, (I) Directing Issuance of an Additional
                        (3 pgs)               Summons; (II) Setting Foreign Defendants' Time to Respond to the
                                              Complaint; (III) Adjourning the Pretrial Conference; and (IV) Granting
                                              Related Relief (Related Doc 7) (Ebanks, Liza) Docket Text Modified on
04/10/2020                                    4/10/2020 (Bush, Brent) (Entered: 04/10/2020)

                                              Request for a Second Summons filed by Vincent Edward Lazar on behalf
04/20/2020                                    of Richard Levin. (Lazar, Vincent) (Entered: 04/20/2020)

                        9                     SecondSummons with Notice of Pre-Trial Conference issued by Clerk's
                        (2 pgs)               Office with Pre-Trial Conference set for 6/23/2020 at 10:00 AM at
                                              Courtroom 701 (SHL), Answer due by 5/22/2020, (Ortiz, Carmen)
04/22/2020                                    (Entered: 04/22/2020)

                        10                    Affidavit of Service re: Complaint to Avoid and Recover Actual
                        (4 pgs)               Fraudulent Transfers and for Damages for Conspiracy to Violate the
                                              Racketeering Influenced Corrupt Organizations Act [Adv. Docket No. 1]
                                              and Second Summons and Notice of Pretrial Conference in an Adversary
                                              Proceeding [Adv. Docket No. 9] (related document(s)1, 9) filed by Omni
04/28/2020                                    Agent Solutions.(Osborne, Brian) (Entered: 04/28/2020)

                        11                    Certificate of Service re: Fancy Creations Company Limited (related
                        (2 pgs)               document(s)1, 8, 9) filed by Carl N Wedoff on behalf of Richard Levin.
05/13/2020                                    (Wedoff, Carl) (Entered: 05/13/2020)

                        12                    Certificate of Service re: Auragem Company Limited (related
                        (2 pgs)               document(s)1, 8, 9) filed by Carl N Wedoff on behalf of Richard Levin.
05/13/2020                                    (Wedoff, Carl) (Entered: 05/13/2020)

                        13                    Certificate of Service re: Brilliant Diamonds Limited (related
                        (2 pgs)               document(s)1, 8, 9) filed by Carl N Wedoff on behalf of Richard Levin.
05/13/2020                                    (Wedoff, Carl) (Entered: 05/13/2020)

                        14                    Certificate of Service re: Eternal Diamonds Corporation Limited (related
                        (2 pgs)               document(s)1, 8, 9) filed by Carl N Wedoff on behalf of Richard Levin.
05/13/2020                                    (Wedoff, Carl) (Entered: 05/13/2020)

                        15                    Certificate of Service re: Purvi Mehta (Also Known As Purvi Modi)
                        (2 pgs)               (related document(s)1, 8, 9) filed by Carl N Wedoff on behalf of Richard
05/13/2020                                    Levin. (Wedoff, Carl) (Entered: 05/13/2020)

                        16                    Certificate of Service re: Sunshine Gems Limited (related document(s)1,
                        (2 pgs)               8, 9) filed by Carl N Wedoff on behalf of Richard Levin. (Wedoff, Carl)
05/13/2020                                    (Entered: 05/13/2020)

                        17                    Certificate of Service re: Sino Traders Limited (related document(s)1, 8,
                        (2 pgs)               9) filed by Carl N Wedoff on behalf of Richard Levin. (Wedoff, Carl)
05/13/2020                                    (Entered: 05/13/2020)

                        18                    Answer to Complaint (Related Doc # 1) filed by Marc Rowin on behalf
                        (5 pgs)               of Trident Trust Company (South Dakota) Inc.. (Rowin, Marc) (Entered:
05/20/2020                                    05/20/2020)
       20-01054-shl   Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
05/20/2020              19                   Pg 226 Ownership
                                             Corporate of 229 Statement . Filed by Marc Rowin on behalf of
                        (2 pgs)              Trident Trust Company (South Dakota) Inc.. (Rowin, Marc) (Entered:
                                             05/20/2020)

                                             Request for a Third Summons as to Central Park Real Estate, LLC filed
                                             by Vincent Edward Lazar on behalf of Richard Levin. (Lazar, Vincent)
05/21/2020                                   (Entered: 05/21/2020)

                        20                   ThirdSummons with Notice of Pre-Trial Conference issued by Clerk's
                        (2 pgs)              Office with Pre-Trial Conference set for 7/13/2020 at 10:00 AM at
                                             Courtroom 701 (SHL), Answer due by 6/22/2020, (Ortiz, Carmen)
05/22/2020                                   (Entered: 05/22/2020)

                        21                   Notice of Adjournment of Hearing /Pretrial Conference filed by Vincent
                        (2 pgs)              Edward Lazar on behalf of Richard Levin. (Lazar, Vincent) (Entered:
05/22/2020                                   05/22/2020)

                        22                   Corporate Ownership Statement Amended Corporate Ownership
                        (2 pgs)              Statement. Filed by Marc Rowin on behalf of Trident Trust Company
05/22/2020                                   (South Dakota) Inc.. (Rowin, Marc) (Entered: 05/22/2020)

                        23                   Affidavit of Service re: Third Summons and Notice of Pretrial
                        (4 pgs)              Conference in an Adversary Proceeding [Adv. Docket No. 20] (related
                                             document(s)20) filed by Omni Agent Solutions.(Osborne, Brian)
05/28/2020                                   (Entered: 05/28/2020)

                        24                   Affidavit of Service re: Notice of Adjournment of Pretrial Conference
                        (5 pgs)              [Adv. Docket No. 21] (related document(s)21) filed by Omni Agent
05/28/2020                                   Solutions.(Osborne, Brian) (Entered: 05/28/2020)

                        25                   Notice of Presentment / Chapter 11 Trustee's Application for Issuance of
                        (494 pgs; 3 docs)    a Letter Rogatory for Judicial Assistance in Service of Process filed by
                                             Vincent Edward Lazar on behalf of Richard Levin. with presentment to
                                             be held on 6/5/2020 at 12:00 PM at Courtroom 701 (SHL) Objections
                                             due by 6/5/2020, (Attachments: # 1 Exhibit A # 2 Exhibit B)(Lazar,
05/29/2020                                   Vincent) (Entered: 05/29/2020)

                        26                   Amended Answer to Complaint filed by Marc Rowin on behalf of
                        (6 pgs)              Trident Trust Company (South Dakota) Inc..(Rowin, Marc) (Entered:
06/09/2020                                   06/09/2020)

                        30                   Answer to Complaint (Related Doc # 1) filed by Brilliant Diamonds Ltd..
06/10/2020              (5 pgs)              (Braithwaite, Kenishia) (Entered: 06/15/2020)

                        27                   Notice of Appearance in Adversary Proceeding filed by Beth L.
                        (1 pg)               Kaufman on behalf of Central Park Real Estate, LLC, Central Park South
06/12/2020                                   50 Properties, LLC. (Kaufman, Beth) (Entered: 06/12/2020)

                        28                   Notice of Appearance in Adversary Proceeding filed by Patricia O'Prey
                        (1 pg)               on behalf of Central Park Real Estate, LLC, Central Park South 50
06/12/2020                                   Properties, LLC. (O'Prey, Patricia) (Entered: 06/12/2020)

                        29                   Stipulation and Order Extending Time to Respond to Complaint Filed by
                        (2 pgs)              Beth L. Kaufman on behalf of Central Park Real Estate, LLC, Central
06/12/2020                                   Park South 50 Properties, LLC. (Kaufman, Beth) (Entered: 06/12/2020)
       20-01054-shl   Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
06/15/2020              31                   Pg 227
                                             Answer to of 229 (Related Doc # 1) filed by Sunshine Gems Ltd..
                                                       Complaint
                        (5 pgs)              (Braithwaite, Kenishia) (Entered: 06/15/2020)

                        32                   Order Signed On 6/17/2020, Issuing Request For Judicial Assistance In
                        (2 pgs)              Service Of Process (Letter Rogatory) (related document(s)25) (Ebanks,
06/17/2020                                   Liza) (Entered: 06/17/2020)

                        33                   So Ordered Stipulation And Order Signed On 7/1/2020, Regarding
07/01/2020              (2 pgs)              Scheduling Of Briefing. (Ebanks, Liza) (Entered: 07/01/2020)

                        34                   So Ordered Stipulation And Order Signed On 7/2/2020, Extending Time
                        (2 pgs)              To Respond To Complaint Re: CPRE And CPS50 (Ebanks, Liza)
07/02/2020                                   (Entered: 07/02/2020)

                        35                   Notice of Appearance filed by Roger J Bernstein on behalf of Ami
07/13/2020              (1 pg)               Javeri, Nehal Modi. (Bernstein, Roger) (Entered: 07/13/2020)

                        36                   So Ordered Stipulation And Order Signed On 7/14/2020, Extending
                        (2 pgs)              Time To Respond To Complaint Re: Javeri And Nehal Modi. (Ebanks,
07/14/2020                                   Liza) (Entered: 07/14/2020)

                        37                   Certificate of Service (related document(s)1, 8, 9) filed by Marc B.
                        (4 pgs)              Hankin on behalf of Richard Levin. (Hankin, Marc) (Entered:
08/04/2020                                   08/04/2020)

                        38                   First Motion to Dismiss Adversary Proceeding (related document(s)1)
                        (2 pgs)              filed by Frederick D. Hyman on behalf of Purvi Mehta. (Hyman,
09/15/2020                                   Frederick) (Entered: 09/15/2020)

                        39                   Memorandum of Law (related document(s)38) filed by Frederick D.
                        (49 pgs)             Hyman on behalf of Purvi Mehta. (Hyman, Frederick) (Entered:
09/15/2020                                   09/15/2020)

                        40                   Declaration of Purvi Modi a/k/a Purvi Mehta (related document(s)38)
                        (3 pgs)              filed by Frederick D. Hyman on behalf of Purvi Mehta. (Hyman,
09/15/2020                                   Frederick) (Entered: 09/15/2020)

                        41                   Certificate of Service (related document(s)38) filed by Frederick D.
                        (3 pgs; 2 docs)      Hyman on behalf of Purvi Mehta. (Attachments: # 1 Exhibit Proposed
09/15/2020                                   Order) (Hyman, Frederick) (Entered: 09/15/2020)

                        42                   Motion to Dismiss Adversary Proceeding filed by Beth L. Kaufman on
                        (41 pgs; 4 docs)     behalf of Central Park Real Estate, LLC, Central Park South 50
                                             Properties, LLC. (Attachments: # 1 Memorandum of Law in Support of
                                             the Motion to Dismiss of Defendants Central Park Real Estate LLC and
                                             Central Park South 50 Properties LLC # 2 Declaration of Beth L.
09/15/2020                                   Kaufman # 3 Proposed Order) (Kaufman, Beth) (Entered: 09/15/2020)

                        43                   Motion to Dismiss Case (Counts 1 and 2) filed by Roger J Bernstein on
09/15/2020              (4 pgs)              behalf of Ami Javeri. (Bernstein, Roger) (Entered: 09/15/2020)

                        44                   Motion to Dismiss Case -Memorandum of Law In Support of Ami
                        (21 pgs)             Javeri's Motion to Dismiss (related document(s)43) filed by Roger J
                                             Bernstein on behalf of Ami Javeri. (Bernstein, Roger) (Entered:
09/15/2020                                   09/15/2020)
       20-01054-shl   Doc 61      Filed 12/21/20 Entered 12/21/20 20:20:38 Main Document
09/15/2020              45                   Pg 228
                                             Motion    of 229 Case - Proposed Order Granting Motion (related
                                                    to Dismiss
                        (2 pgs)               document(s)43, 44) filed by Roger J Bernstein on behalf of Ami Javeri.
                                              (Bernstein, Roger) (Entered: 09/15/2020)

                        46                    Motion to Dismiss Case for Failure to State Claim filed by Roger J
                        (3 pgs; 2 docs)       Bernstein on behalf of Nehal Modi. (Attachments: # 1 Exhibit Proposed
09/15/2020                                    Order Granting Motion) (Bernstein, Roger) (Entered: 09/15/2020)

                        47                    Memorandum of Law i/s/o Nehal Modi's Motion to Dismiss filed by
                        (23 pgs)              Roger J Bernstein on behalf of Nehal Modi. (Bernstein, Roger) (Entered:
09/15/2020                                    09/15/2020)

                        48                    Notice of Appearance in Adversary Proceeding filed by Sarah Fehm
09/17/2020              (1 pg)                Stewart on behalf of Purvi Mehta. (Stewart, Sarah) (Entered: 09/17/2020)

                        49                    Certificate of Service of Motion to Dismiss (related document(s)42) Filed
                        (1 pg)                by Beth L. Kaufman on behalf of Central Park Real Estate, LLC, Central
09/17/2020                                    Park South 50 Properties, LLC. (Kaufman, Beth) (Entered: 09/17/2020)

                        50                    Notice of Appearance filed by Benjamin Suess on behalf of Neeshal
09/21/2020              (1 pg)                Modi. (Suess, Benjamin) (Entered: 09/21/2020)

                        51                    Notice of Appearance in Adversary Proceeding filed by Mauro Wolfe on
09/23/2020              (1 pg)                behalf of Purvi Mehta. (Wolfe, Mauro) (Entered: 09/23/2020)

                        52                    Notice of Appearance in Adversary Proceeding filed by Evangelos
                        (1 pg)                Michailidis on behalf of Purvi Mehta. (Michailidis, Evangelos) (Entered:
09/23/2020                                    09/23/2020)

                        53                    So Ordered Stipulation And Order Signed On 10/2/2020, Extending
                        (2 pgs)               Time For Neeshal Modi To Respond To Complaint. (Ebanks, Liza)
10/02/2020                                    (Entered: 10/02/2020)

                        54                    So Ordered Stipulation Signed On 10/2/2020, Regarding Scheduling Of
10/02/2020              (4 pgs)               Briefing. (Ebanks, Liza) (Entered: 10/02/2020)

                        55                    Motion to Dismiss Case filed by Benjamin Suess on behalf of Neeshal
                        (2 pgs)               Modi Responses due by 12/4/2020,. (Suess, Benjamin) (Entered:
10/15/2020                                    10/15/2020)

                        56                    Motion to Dismiss Adversary Proceeding filed by Benjamin Suess on
                        (410 pgs; 9 docs)     behalf of Neeshal Modi. Responses due by 12/4/2020, (Attachments: # 1
                                              Exhibit Proposed Order # 2 Exhibit Neeshal Declaration # 3 Exhibit Ex
                                              A - Complaint # 4 Exhibit Ex B - resignation letters and resolutions # 5
                                              Exhibit Ex C - VDK Forensic # 6 Exhibit Ex D - PWC Forensic # 7
                                              Exhibit Ex E - CBI email # 8 Memorandum of Law) (Suess, Benjamin)
10/15/2020                                    (Entered: 10/15/2020)

                        57                    Certificate of Service (related document(s)1, 8, 9) filed by Marc B.
                        (7 pgs)               Hankin on behalf of Richard Levin. (Hankin, Marc) (Entered:
10/23/2020                                    10/23/2020)

11/25/2020              58                    Motion to Allow- Trustee's Motion For Leave To Exceed Page Limit For
                        (6 pgs; 2 docs)       Omnibus Brief In Opposition To Defendants' Motions To Dismiss filed by
                                              Vincent Edward Lazar on behalf of Richard Levin. (Attachments: # 1
                                              Exhibit A - Proposed Order) (Lazar, Vincent) (Entered: 11/25/2020)
       20-01054-shl   Doc 61       Filed 12/21/20 Entered 12/21/20 20:20:38                Main Document
                                              Pg 229 of 229
                         59                     Order Signed On 12/2/2020, Granting Trustee's Motion For Leave To
                         (2 pgs)                Exceed Page Limit For Omnibus Brief In Opposition To Defendants'
                                                Motion To Dismiss. (Related Doc # 58) (Ebanks, Liza) (Entered:
12/02/2020                                      12/02/2020)

                         60                     Omnibus Opposition / Trustee's Omnibus Opposition to Defendants'
                         (96 pgs)               Motions to Dismiss (related document(s)47, 56, 39, 44, 42) filed by
                                                Richard B. Levin on behalf of Richard Levin. (Levin, Richard) (Entered:
12/04/2020                                      12/04/2020)




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